                                        Case 8:21-bk-10513-ES       Doc 114 Filed 01/27/22 Entered 01/27/22 15:41:21             Desc
                                                                     Main Document    Page 1 of 117



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                                          6
                                                                       UNITED STATES BANKRUPTCY COURT
                                          7
                                                          CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
                                          8
                                              In re                                              Case. No. 8:21-bk-10513-ES
                                          9
                                              ROSA A. FRIDMAN,                                   Chapter 7
                                         10
             TELEPHONE (951) 888-3300




                                                                Debtor.                          DEBTOR’S OPPOSITION TO
              2900 ADAMS ST STE C225




                                         11
                RIVERSIDE, CA 92504




                                                                                                 AVETOOM’S OBJECTION TO
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                                         12                                                      HOMESTEAD EXEMPTION;
                                                                                                 DECLARATIONS OF SCOTT TALKOV
                                         13                                                      AND ROSA FRIDMAN

                                         14                                                      Hearing on Avetoom’s Objection to Homestead
                                                                                                 Exemption:
                                         15                                                      Date:       February 10, 2022
                                                                                                 Time:       2:00 p.m.
                                         16                                                      Courtroom: Courtroom 5A
                                                                                                             411 W. Fourth Street
                                         17
                                                                                                             Santa Ana, CA 92701
                                         18                                                                  Virtual appearance by Zoom.gov

                                         19

                                         20           TO THE HONORABLE ERITHE A. SMITH, UNITED STATES BANKRUPTCY

                                         21 JUDGE, CREDITOR KARL AVETOOM, THE U.S. TRUSTEE, AND ALL PARTIES IN

                                         22 INTEREST:

                                         23           Rosa A. Fridman (“Ms. Fridman”), Debtor in the above-captioned matter, hereby submits

                                         24 the following opposition to objection of Creditor Karl Avetoom (“Avetoom”) to the homestead

                                         25 exemption of Ms. Fridman (the “Objection to Homestead Exemption” filed as BK Doc. 93) and

                                         26 supplement thereto (“Supplement” filed as BK Doc. 112) as follows:

                                         27

                                                      DEBTOR’S OPPOSITION TO AVETOOM’S OBJECTION TO HOMESTEAD EXEMPTION;
                                                                DECLARATIONS OF SCOTT TALKOV AND ROSA FRIDMAN
                                                                                             1
                                        Case 8:21-bk-10513-ES               Doc 114 Filed 01/27/22 Entered 01/27/22 15:41:21                                                  Desc
                                                                             Main Document    Page 2 of 117



                                          1                                                     TABLE OF CONTENTS

                                          2 I.       INTRODUCTION ................................................................................................................. 3

                                          3 II.      AVETOOM’S OBJECTION TO THE HOMESTEAD EXEMPTION DOES NOT
                                                     STATE A CLAIM ................................................................................................................. 4
                                          4          A.         Avetoom is Mistaken that the Debtor Did Not Claim the Automatic
                                                                Homestead Exemption .............................................................................................. 4
                                          5
                                                     B.         The Objection Fails to State Any Recognized Objection to the California
                                          6
                                                                Homestead Exemption .............................................................................................. 6
                                          7
                                              III.   AVETOOM’S ALLEGED “CONTRACT” IS IRRELEVANT TO AN
                                          8          OBJECTION TO A CALIFORNIA HOMESTEAD EXEMPTION .................................... 8
                                                     A.         The Case Relied Upon by Avetoom Found Consensual Liens of Relevance
                                          9
                                                                Only to Determining Whether a Judgment Impairs a Homestead Under
                                         10                     522(f) ......................................................................................................................... 8
             TELEPHONE (951) 888-3300
              2900 ADAMS ST STE C225




                                         11          B.         The Unrecorded “Contract” is Not a “Lien” ............................................................. 9
                RIVERSIDE, CA 92504
TALKOV LAW




                                         12          C.         Avetoom’s Own Declaration Admits the Alleged “Contract,” Even if
                                                                Relevant, is Unenforceable as it was Never Delivered as Required for
                                         13                     Contract Formation ................................................................................................... 9

                                         14          D.         Sadly, the “Contract” is Yet Another Fabricated Document, This Time with
                                                                a Forged Signature of the Debtor ............................................................................ 10
                                         15
                                              IV.    AVETOOM’S NEW THEORIES IN HIS “SUPPLEMENT” DO NOT FARE ANY
                                         16          BETTER .............................................................................................................................. 11
                                         17          A.         The Automatic Homestead Claimed by the Debtor Controls Over the
                                                                Outdated Limits on the Declared Homestead ......................................................... 12
                                         18
                                                     B.         Avetoom’s Reading of Law v. Siegel Merely Created a Waste of Judicial
                                         19                     Resources in the case Cited by Avetoom ................................................................ 14
                                         20          C.         First Alleged “Affirmative Defense” of Unclean Hands Doesn’t Pan Out as
                                                                Mr. Avetoom Fails to Draw the Required Connection to the Homestead
                                         21
                                                                Exemption ............................................................................................................... 14
                                         22
                                                     D.         The Alleged “Contract” Does Not Support the Alleged Second “Affirmative
                                         23                     Defense” of Equitable Estoppel .............................................................................. 16

                                         24          E.         Third Alleged “Affirmative Defense” of Fraud Based on the Alleged
                                                                “Contract” is Another Non Sequitur ........................................................................ 17
                                         25
                                              V.     CONCLUSION ................................................................................................................... 18
                                         26
                                              VI.    DECLARATION OF SCOTT TALKOV ........................................................................... 20
                                         27 VII.     DECLARATION OF ROSA FRIDMAN ........................................................................... 22

                                                     DEBTOR’S OPPOSITION TO AVETOOM’S OBJECTION TO HOMESTEAD EXEMPTION;
                                                               DECLARATIONS OF SCOTT TALKOV AND ROSA FRIDMAN
                                                                                                                    2
                                        Case 8:21-bk-10513-ES       Doc 114 Filed 01/27/22 Entered 01/27/22 15:41:21               Desc
                                                                     Main Document    Page 3 of 117



                                          1                                      I.     INTRODUCTION

                                          2          On April 28, 2021, this Court granted the Debtor’s 522(f) motion to avoid Avetoom’s liens

                                          3 as impairing her homestead exemption (“Order Granting 522(f) Motion”), overruling Mr.

                                          4 Avetoom’s claims that the 2020 judgment is not a judicial lien that can be avoided. (Decl. Talkov,

                                          5 Ex. 1 (BK Doc. 45).)

                                          6          On July 22, 2021, the state court rejected Avetoom’s motion for “a modification of the

                                          7 Judgment to add and reflect that, through the settlement agreement within the present lawsuit, that

                                          8 defendant Rosa Fridman, voluntarily consented to the creation of a lien against her 68.3% interest

                                          9 in the subject real property (on Blackbeard Lane in Huntington Beach, CA),” finding that the

                                         10 “Court must DENY Plaintiff Avetoom’s Motion to correct or modify the judgment.” (Decl.
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                                         11 Talkov, Ex. 2 (BK Doc. 86).)
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                                         12          On May 28, 2021, Shulman Bastian Friedman & Bui filed an application to be employed

                                         13 as counsel for Karl Anderson to “analyz[e] potential objections to the Homestead Exemption in

                                         14 the Property.” (Decl. Talkov, Ex 3 (BK Doc. 75).)

                                         15          On September 1, 2021, Karl Anderson, the Trustee hand-picked by Karl Avetoom, assisted

                                         16 by counsel from Shulman Bastian Friedman & Bui, issued a no-asset report after hours of

                                         17 examination of the 90-year-old widow without any objection to the Debtor’s homestead

                                         18 exemption. (Decl. Talkov, Ex. 4 (BK Doc. Entry Dated Sep. 1, 2021).)

                                         19          On September 27, 2021, the Debtor filed her appellee’s brief in Avetoom’s appeal the

                                         20 Order Granting 522(f) Motion explaining that none of Mr. Avetoom’s litany of alleged issues on

                                         21 appeal could ever result in reversal of this Court’s Order Granting 522(f) Motion. (Decl. Talkov,

                                         22 Ex. 5 (BAP Doc. 11).)

                                         23          Just three days later, on September 30, 2021, Avetoom filed his Objection to Debtor’s

                                         24 Claimed Homestead Exemptions (“Objection to Homestead Exemption”), setting forth numerous

                                         25 grounds upon which he believes the Debtor’s homestead in her fractional interest in a modest

                                         26 condo should not apply. (BK Doc. 93.)

                                         27

                                                    DEBTOR’S OPPOSITION TO AVETOOM’S OBJECTION TO HOMESTEAD EXEMPTION;
                                                              DECLARATIONS OF SCOTT TALKOV AND ROSA FRIDMAN
                                                                                              3
                                        Case 8:21-bk-10513-ES          Doc 114 Filed 01/27/22 Entered 01/27/22 15:41:21               Desc
                                                                        Main Document    Page 4 of 117



                                          1             Then, on January 20, 2022, Avetoom filed his supplement to the Objection to Homestead

                                          2 Exemption (“Supplement to Objection to Homestead Exemption”) raising another batch of issues.

                                          3 (BK Doc. 112.)

                                          4             The Objection to Homestead Exemption and Supplement thereto reflect that the Creditor

                                          5 has no “ability to weed out claims that have no likelihood of success, instead of throwing in a

                                          6 kitchen sink full of arguments with the hope that some argument will persuade the court.” Pollard

                                          7 v. White, 119 F.3d 1430, 1435 (9th Cir. 1997).

                                          8             As explained below, none of Mr. Avetoom’s theories pan out factually or legally. Instead,

                                          9 Avetoom appears to be hoping that this Court spots some theory he has not already briefed.

                                         10 Unfortunately, there is no such theory as the Debtor residing in the property on the petition date
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                                         11 with an intent to remain was sufficient to claim the automatic homestead, which easily covers her
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                                         12 modest, fractional interest in the small Orange County condo. 1

                                         13       II.     AVETOOM’S OBJECTION TO THE HOMESTEAD EXEMPTION DOES NOT

                                         14                                            STATE A CLAIM

                                         15             The essence of Mr. Avetoom’s concerns are that he is having trouble understanding the

                                         16 interplay between the automatic homestead, relevant for the amount of the homestead on the date

                                         17 of the forced sale via the bankruptcy petition date, and the declared homestead, the latter relevant

                                         18 only for the burden of proof largely irrelevant in this case, as explained below.

                                         19             A.     Avetoom is Mistaken that the Debtor Did Not Claim the Automatic

                                         20             Homestead Exemption

                                         21             “Under California law, two species of homestead protection are available to judgment

                                         22 debtors, the ‘automatic’ (or Article 4) homestead exemption and the ‘declared’ (or Article 5)

                                         23 homestead protection, respectively. These protections are available under different circumstances,

                                         24

                                         25   1
                                              Due to the disjointed and voluminous nature of the objections, this opposition attempts to
                                         26 respond in a coherent matter to all of the concerns of Mr. Avetoom. If the Court believes any
                                            concerns were not addressed, counsel for Debtor is glad to address them.
                                         27

                                                        DEBTOR’S OPPOSITION TO AVETOOM’S OBJECTION TO HOMESTEAD EXEMPTION;
                                                                  DECLARATIONS OF SCOTT TALKOV AND ROSA FRIDMAN
                                                                                                 4
                                        Case 8:21-bk-10513-ES       Doc 114 Filed 01/27/22 Entered 01/27/22 15:41:21                Desc
                                                                     Main Document    Page 5 of 117



                                          1 they serve different purposes and they confer different rights on debtors.” In re Pass, 553 B.R.

                                          2 749, 756–57 (B.A.P. 9th Cir. 2016). Pass goes on to cite to the Ninth Circuit BAP ruling in In re

                                          3 Diaz, 547 B.R. 329, 334 (B.A.P. 9th Cir. 2016), which found that: “The automatic homestead

                                          4 exemption protects a debtor from a forced sale and requires that the debtor reside in the homestead

                                          5 property at the time of a forced sale… Cal.Civ.Proc.Code §§ 704.710(a)-(c), 704.720, 704.730,

                                          6 704.740. The filing of a bankruptcy petition constitutes a forced sale for purposes of the automatic

                                          7 homestead exemption.” As the Ninth Circuit BAP made clear in 2020: “Cal. Code of Civil

                                          8 Procedure (‘C.C.P.’) § 704.730 [is] also known as California's automatic…homestead exemption.”

                                          9 In re Schaefers, 623 B.R. 777, 781 (B.A.P. 9th Cir. 2020).

                                         10          Contrary to this well-established rule of law, Avetoom’s Objection to Homestead
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                                         11 Exemption sets forth its false premise as follows: “At no time in the history of this bankruptcy
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                                         12 case has Rosa Fridman ever claimed her Property was exempt under Article IV’s ‘automatic’

                                         13 homestead exemption. Rather, Rosa Fridman has, at all times, asserted her rights to a ‘declared

                                         14 homestead’ pursuant to Code of Civil Procedure § 704.930.” (BK Doc. 93, p. 5, lns. 7-9.)

                                         15          Avetoom is simply mistaken. Indeed, Ms. Fridman’s one and only Schedule C listing her

                                         16 exemptions accompanied her petition as BK Doc. 1, page 15, claiming her homestead exemption

                                         17 in her fractional interest in the modest Blackbeard Lane condo under “704.730(a)(2)” as shown

                                         18 below and attached as Exhibit 6:

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                                                     DEBTOR’S OPPOSITION TO AVETOOM’S OBJECTION TO HOMESTEAD EXEMPTION;
                                                               DECLARATIONS OF SCOTT TALKOV AND ROSA FRIDMAN
                                                                                              5
                                        Case 8:21-bk-10513-ES        Doc 114 Filed 01/27/22 Entered 01/27/22 15:41:21               Desc
                                                                      Main Document    Page 6 of 117



                                          1          Mr. Avetoom’s belief that the Debtor did not claim the automatic homestead exemption is

                                          2 simply a mistake of law.

                                          3          In fact, Mr. Avetoom doubles down on his misunderstanding in claiming that: “Under 9th

                                          4 Circuit law, the declared homestead grants Rosa Fridman no benefit in a bankruptcy.” (BK Doc.

                                          5 93, p. 7, ln. 13.) Rutter draws a contrary conclusion in finding that “homeowners who create a

                                          6 ‘declared homestead’ by recording a homestead declaration and satisfying the residency

                                          7 requirement receive certain benefits in addition to those provided by the ‘automatic’ homestead

                                          8 exemption. [See Calif. CCP § 704.910(a)]” Rutter, Specific Exemptions, Cal. Prac. Guide

                                          9 Bankruptcy Ch. 7-D, 7:506.

                                         10          As to these benefits, Judge Clarkson explained these well in Nolan as follows: “Generally,
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                                         11 ‘the exemption claimant has the burden of proof.’ Cal. Civ. Proc. Code § 703.580(b). ‘A more
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                                         12 nuanced burden governs homestead exemptions.’ Tallerico, 532 B.R. at 780. Pursuant to Cal. Civ.

                                         13 Proc. Code § 704.780(a), the burden to show a debtor's entitlement to a homestead exemption rests

                                         14 with the debtor, unless a declared homestead has been recorded. Cal. Civ. Proc. Code §

                                         15 704.780(a).” In re Nolan, 618 B.R. 860, 865 (Bankr. C.D. Cal. 2020), aff'd, No. 5:20-CV-01496-

                                         16 MCS, 2021 WL 528679 (C.D. Cal. Feb. 12, 2021).

                                         17          Accordingly, the Debtor properly claimed the automatic homestead and gained the benefit

                                         18 of shifting the burden of proof to Mr. Avetoom to show that she is not entitled to the automatic

                                         19 homestead. As such, Mr. Avetoom’s misreading of the facts and the law appear to be at the center

                                         20 of his Objection to Homestead Exemption, not any reasoned view of the law.

                                         21          B.     The Objection Fails to State Any Recognized Objection to the California

                                         22          Homestead Exemption

                                         23          “Thus, the automatic homestead exemption…is an ‘exemption’ in the familiar bankruptcy

                                         24 law sense: it prevents the judgment creditor (or the bankruptcy trustee) from forcing a sale of the

                                         25 homestead unless there is sufficient equity to pay the debtor the amount of the exemption. The

                                         26 debtor is entitled to be paid ahead of the judgment creditor or trustee. CCP § 704.850(a)(1)-(4).

                                         27 The exemption protects a ‘homestead,’ defined as a dwelling in which the debtor or the debtor’s

                                                     DEBTOR’S OPPOSITION TO AVETOOM’S OBJECTION TO HOMESTEAD EXEMPTION;
                                                               DECLARATIONS OF SCOTT TALKOV AND ROSA FRIDMAN
                                                                                              6
                                        Case 8:21-bk-10513-ES        Doc 114 Filed 01/27/22 Entered 01/27/22 15:41:21                Desc
                                                                      Main Document    Page 7 of 117



                                          1 spouse resided on the date the judgment creditor’s lien attached (in bankruptcy, the petition date)

                                          2 and has resided continuously until the court’s determination that the dwelling is a homestead. CCP

                                          3 § 704.710(c). Thus, this protection is available in bankruptcy if the debtor was living in the home

                                          4 on the petition date. The exemption is ‘automatic’ in the sense that it requires no affirmative act by

                                          5 the debtor to make it effective; rather, it applies automatically to any dwelling that meets the

                                          6 definition.” In re Pass, 553 B.R. 749, 757 (B.A.P. 9th Cir. 2016).

                                          7          There are generally two common grounds for an objection to a California homestead

                                          8 exemption. First: “The homestead exemption applies to the principal ‘dwelling’ in which the

                                          9 debtor or debtor's spouse resided on the date the bankruptcy petition was filed. [See Calif. CCP §

                                         10 704.710(c); In re Kelley (9th Cir. BAP 2003) 300 BR 11, 21—debtor who did not reside at
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                                         11 property on petition date not entitled to homestead exemption….]” Rutter, Specific Exemptions,
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                                         12 Cal. Prac. Guide Bankruptcy Ch. 7-D, 7:494.

                                         13          However, Avetoom’s Objection to Homestead Exemption makes no allegation that the

                                         14 Blackbeard Property was not the principal dwelling in which Ms. Fridman resided on the date the

                                         15 bankruptcy petition was filed. Indeed, the Debtor declared just the opposite. (Decl. Talkov, Ex. 7

                                         16 (BK Doc. 27, p. 26, ¶ 5).)

                                         17          The second common ground for an objection to a California homestead exemption that the

                                         18 debtor’s interest in the property exceeds the monetary cap: “Effective January 1, 2021, the

                                         19 homestead exemption amount is…the countywide median sale price for a single-family home in

                                         20 the calendar year prior to the year in which the judgment debtor claims the exemption, not to

                                         21 exceed $600,000.” Rutter, Specific Exemptions, Cal. Prac. Guide Bankruptcy Ch. 7-D, 7:512.

                                         22          However, Avetoom’s Objection to Exemption makes no allegation that the Debtor’s 68.3%

                                         23 interest in the Blackbeard Property with a total value of $337,687 could possible be worth more

                                         24 than $600,000. (See BK Doc. 13, p. 71, ¶ 6.)

                                         25          Given that Avetoom’s Objection to Homestead Exemption makes no objections on any

                                         26 recognized grounds, a close reading of the Objection suggests it should simply be denied out of

                                         27 hand as failing to state any claim upon which this Court could grant relief.

                                                     DEBTOR’S OPPOSITION TO AVETOOM’S OBJECTION TO HOMESTEAD EXEMPTION;
                                                               DECLARATIONS OF SCOTT TALKOV AND ROSA FRIDMAN
                                                                                               7
                                        Case 8:21-bk-10513-ES         Doc 114 Filed 01/27/22 Entered 01/27/22 15:41:21                  Desc
                                                                       Main Document    Page 8 of 117



                                          1   III.    AVETOOM’S ALLEGED “CONTRACT” IS IRRELEVANT TO AN OBJECTION

                                          2                         TO A CALIFORNIA HOMESTEAD EXEMPTION

                                          3          Luckily for this Court, it need not delve into the “Contract” alleged by the Debtor to be,

                                          4 sadly, another fabrication. Rather, the document, even if valid, is wholly irrelevant to an objection

                                          5 to homestead exemption, contrary to Mr. Avetoom’s belief.

                                          6          A.       The Case Relied Upon by Avetoom Found Consensual Liens of Relevance

                                          7          Only to Determining Whether a Judgment Impairs a Homestead Under 522(f)

                                          8          The essence of Avetoom’s Objection to Homestead Exemption is under the heading “A

                                          9 Debtor Cannot Exempt Real Property She Has Fullly [sic] Impaired Voluntarily.” (BK Doc. 93, p.

                                         10 8, lns. 15-16.)
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                                         11          In support of this argument, Avetoom cites two cases addressing only 522(f) lien
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                                         12 avoidance motions as follows: “The Court in In re Keenan (Bankr. D. Colo. 1989) 106 B.R. 239,

                                         13 243 held ‘A debtor is not allowed to exempt real property which he has voluntarily impaired.’

                                         14 Citing, In re Grosso, 51 B.R. 266 (Bankr.D.N.M.1984) (debtor was not entitled to the homestead

                                         15 exemption that he had fully impaired through a consensual lien)”. The Court in In re Grosso, 51

                                         16 B.R. at 271, explained ‘If the amount of the consensual lien is equal to or exceeds the allowed

                                         17 exemption, the debtor will be found to have fully impaired his exemption and will not be allowed

                                         18 to avoid judgment liens in order to reclaim it. Accord In re Murray (Bankr. C.D. Cal. 1989) 105

                                         19 B.R. 576, 582.” (BK Doc. 93, p. 9, lns. 13-19.)

                                         20          Unfortunately for Mr. Avetoom, he is simply quoting cases relating to 522(f) motions to

                                         21 avoid liens. Notably, the quote from In re Keenan, 106 B.R. 239, 243 (Bankr. D. Colo. 1989)

                                         22 merely relates to the issue of “whether the debtor is entitled to void this creditor's judicial lien

                                         23 pursuant to § 522(f).” In fact, Keenan made clear that the case did not relate to any objection to

                                         24 exemption, instead finding that “a judicial lien creditor does not have a burden to object to a

                                         25 homestead exemption claim within the time allowed under Rule 4003 and may raise an objection

                                         26 to the exemption claimed as a defense to the § 522(f) lien avoidance proceeding.” In re Keenan,

                                         27 106 B.R. 239, 243 (Bankr. D. Colo. 1989).

                                                     DEBTOR’S OPPOSITION TO AVETOOM’S OBJECTION TO HOMESTEAD EXEMPTION;
                                                               DECLARATIONS OF SCOTT TALKOV AND ROSA FRIDMAN
                                                                                                 8
                                        Case 8:21-bk-10513-ES        Doc 114 Filed 01/27/22 Entered 01/27/22 15:41:21                Desc
                                                                      Main Document    Page 9 of 117



                                          1          In fact, Grosso is also another 522(f) case, which found that: “If the amount of the

                                          2 consensual lien is equal to or exceeds the allowed exemption, the debtor will be found to have

                                          3 fully impaired his exemption and will not be allowed to avoid judgment liens [under 522(f)] in

                                          4 order to reclaim it.” In re Grosso, 51 B.R. 266, 271 (Bankr. D.N.M. 1984)

                                          5          Even further, Murray merely rated to the “Lien Avoidance Claim of Debtor, 11 U.S.C. §

                                          6 522(f).” In re Murray, 105 B.R. 576, 580 (Bankr. C.D. Cal. 1989).

                                          7          Avetoom’s citations to Keenan, Grosso, and Murray are to cases related to lien avoidance

                                          8 under 522(f), not to objections to exemption under FRBP 4003(b). Since the authorities have

                                          9 nothing to do with this area of law, the argument about voluntary liens being relevant to a

                                         10 homestead exemption should be summarily rejected.
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                                         11          B.     The Unrecorded “Contract” is Not a “Lien”
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                                         12          While the Objection to Homestead Exemption refers to the unrecorded “Contract” as a

                                         13 lien, the law provides otherwise. “A lien to enforce a simple contractual obligation, however,

                                         14 cannot be created unless the party has reduced the obligation to a judgment and an abstract of

                                         15 judgment is filed in the County Recorder's Office.” Isaac vs. City of Los Angeles (1998) 66 Cal.

                                         16 App. 4th 586, 598. Since Mr. Avetoom did not perfect his “Contract” in advance of bankruptcy,

                                         17 there is no reason to indulge the argument of whether a lien was created under some extraordinary

                                         18 exception to the general rule of perfection.

                                         19          C.     Avetoom’s Own Declaration Admits the Alleged “Contract,” Even if Relevant,

                                         20          is Unenforceable as it was Never Delivered as Required for Contract Formation

                                         21          In attempting to provide a believable story as to why no one other than Mr. Avetoom has

                                         22 ever seen the “Contract,” Avetoom accidentally admitted that the “Contract” is missing an element

                                         23 needed for contract formation.

                                         24          Specifically, Mr. Avetoom’s declaration sets forth (at ¶ 9) that: “Attached to my

                                         25 declaration as Exhibit “7” is a true and correct copy of the Contract entered into between myself

                                         26 and Rosa Fridman on or around October 3, 2019 after Rosa Fridman” at the Orange County

                                         27 Superior Courthouse – Central Justice Center. He continues that: “On that day, Rosa Fridman’s

                                                    DEBTOR’S OPPOSITION TO AVETOOM’S OBJECTION TO HOMESTEAD EXEMPTION;
                                                              DECLARATIONS OF SCOTT TALKOV AND ROSA FRIDMAN
                                                                                               9
                                        Case 8:21-bk-10513-ES        Doc 114 Filed 01/27/22 Entered 01/27/22 15:41:21                  Desc
                                                                     Main Document    Page 10 of 117



                                          1 son… demanded he take the ‘Contract’ for two weeks, without explaining why. I refused to give

                                          2 the Contract to him….” Reading between the lines, Mr. Avetoom is stating that he never provided

                                          3 the Debtor or anyone acting as her agent, i.e., her son, with the “Contract.”

                                          4          Unfortunately for Mr. Avetoom, the law would treat any document not provided to both

                                          5 parties as a mere draft. “It is, of course, elementary that delivery of an instrument is a prerequisite

                                          6 to its validity and its binding effect upon the party signing the same. Without delivery, it is a mere

                                          7 scrap of paper, and is ineffective for any purpose.” Hudemann v. Dodson, 215 Cal. 3, 6 (Cal.

                                          8 1932).

                                          9          Since Mr. Avetoom admits that he merely placed the “Contract” in his back pocket and

                                         10 never provided it to the Debtor at any time prior to the Petition Date, the document is a mere piece
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                                         11 of paper, ineffective for any purpose. Ergo, this Court can simply ignore the section that follows
                RIVERSIDE, CA 92504
TALKOV LAW




                                         12 alleging that, once again, a preponderance of the evidence suggests that the “Contract” is yet

                                         13 another manufactured document intended to interfere with the truth seeking function of the Court.

                                         14          D.      Sadly, the “Contract” is Yet Another Fabricated Document, This Time with a

                                         15          Forged Signature of the Debtor

                                         16          Luckily for this Court, the lack of authenticity of the alleged “Contract” is wholly

                                         17 irrelevant to the Debtor’s entitlement to a homestead exemption. However, if this Court finds the

                                         18 document relevant to any established rule of law, it should rest assured that the document is a mere

                                         19 fabrication, which explains why it has magically appeared in this case with no evidence that it ever

                                         20 existed prior to Avetoom (mistakenly) believing the document would be relevant.

                                         21          Notably, the alleged “Contract” is dated the same day as a minute order of the Court where

                                         22 no mention is made of this allegedly important document having been signed, despite the minute

                                         23 order reflecting the far less important payment of “$59” by the Debtor to Mr. Avetoom. (Decl.

                                         24 Talkov, Ex. 8.) This Court can rest assured that Mr. Avetoom, a law school graduate, would have

                                         25 been sure to place on the record the more important fact of the alleged “Contract” being signed, if

                                         26 it was really signed on that day.

                                         27

                                                     DEBTOR’S OPPOSITION TO AVETOOM’S OBJECTION TO HOMESTEAD EXEMPTION;
                                                               DECLARATIONS OF SCOTT TALKOV AND ROSA FRIDMAN
                                                                                               10
                                        Case 8:21-bk-10513-ES        Doc 114 Filed 01/27/22 Entered 01/27/22 15:41:21                Desc
                                                                     Main Document    Page 11 of 117



                                          1          Most telling of all is Mr. Avetoom’s trademark for his forged (or at least questioned)

                                          2 documents: He always goes overboard to produce a document that, if real, is so beyond question

                                          3 that is becomes a “smoking gun.” In typical fashion, the alleged “Contract” goes overboard in

                                          4 trying to prove that Rosa Fridman signed the document by including not one but two witnesses-

                                          5 mere “bystanders” who allegedly just happened to have been watching.

                                          6          As it turns out, both signatures are mere accomplices of Avetoom’s forgery ring centered

                                          7 around “Litigation Investigators” (https://www.litigationinvestigators.com/), an outfit that appears

                                          8 to provide any witness that Mr. Avetoom may need in litigation (apparently, once the

                                          9 “investigation” runs dry). Indeed, the signature of “Amy Stanton” is a mere associate of Litigation

                                         10 Investigators who has signed countless proofs of service claiming to have served Rosa Fridman.
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                                         11 (Decl. Talkov, Ex. 9 and ¶ 10.)
                RIVERSIDE, CA 92504
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                                         12          Even more unfortunate is that Mr. Avetoom is having trouble keeping his story straight

                                         13 about the other supposed witness, “Herbert Conrad,” a “former” LAPD officer. This Court should

                                         14 not be required to determine whether Mr. Avetoom was being less than candid in his state court

                                         15 action to set aside his criminal conviction for forgery by claiming that he received in the mail in

                                         16 July 2020 a document signed by Mr. Conrad in 1996 that proves his innocence just to find this

                                         17 document to be potentially admissible. (Decl. Talkov, Ex. 10 (Adv. Doc. 78) (fully explaining this

                                         18 issue).) Rather, the “Contract” should simply be excluded as both legally irrelevant and

                                         19 inadmissible based on a lack of foundation.

                                         20          Luckily for this Court, it need not weigh in on whether the document is a mere forgery

                                         21 bearing backdated signatures of supposed witnesses who never witnessed this non-existent event.

                                         22 Rather, this Court can simply deny the motion because the “Contract” is totally irrelevant to an

                                         23 objection to homestead.

                                         24    IV.     AVETOOM’S NEW THEORIES IN HIS “SUPPLEMENT” DO NOT FARE ANY

                                         25                                               BETTER

                                         26

                                         27

                                                     DEBTOR’S OPPOSITION TO AVETOOM’S OBJECTION TO HOMESTEAD EXEMPTION;
                                                               DECLARATIONS OF SCOTT TALKOV AND ROSA FRIDMAN
                                                                                              11
                                        Case 8:21-bk-10513-ES        Doc 114 Filed 01/27/22 Entered 01/27/22 15:41:21                Desc
                                                                     Main Document    Page 12 of 117



                                          1          In what appears to be a tacit admission that the Objection to Homestead Exemption does

                                          2 not state a claim, Avetoom filed a Supplement to the Objection to Homestead Exemption.

                                          3 However, none of these new theories pan out, either.

                                          4          A.     The Automatic Homestead Claimed by the Debtor Controls Over the

                                          5          Outdated Limits on the Declared Homestead

                                          6          Recycling an argument that has been long rejected the Ninth Circuit BAP, the Supplement

                                          7 to Objection to Homestead Exemption argues that: “Under the declared homestead California law,

                                          8 since there were liens in place before the January 1, 2021 increase in the homestead value, Debtor

                                          9 is subject to a statutory limitation under C.C.P. § 704.965. By statute Debtor is not subject to the

                                         10 increased value she now claims.” (BK. Doc. 112, p. 5, lns. 21-24.)
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                                         11          The Ninth Circuit BAP wholly rejected this theory in In re Zall, No. BAP.EC-05-1476-
                RIVERSIDE, CA 92504
TALKOV LAW




                                         12 MOSB, 2006 WL 6811022, at *4 (B.A.P. 9th Cir., Sept. 5, 2006), finding that:

                                         13          Creditor relies primarily on two cases to make its argument. In In re Morgan, 157 B.R. 467
                                                     (Bankr.C.D.Cal.1993), the bankruptcy court relied on state court decisions and language in
                                         14          CCP § 704.965 to hold that the debtor was only eligible for the lesser, earlier declared
                                                     homestead exemption amount. Id. at 469, 470. The second case, Bernhanu v. Metzger, 12
                                         15          Cal.App. 4th 445 (Cal.Ct.App.1992), does not address the application of the section 522
                                         16          exemption laws. In Bernhanu, the court limited the debtor to the lower exemption amount
                                                     that was in effect at the date the judgment lien was fixed, relying also on CCP § 704.965.
                                         17          Id. at 448.

                                         18          Unlike the present case, neither In re Morgan nor Bernhanu pertained to the automatic
                                                     homestead exemption statute. Further, both cases were decided prior to the 1994 revisions
                                         19          of the Bankruptcy Code that altered section 522. Most importantly, since these cases were
                                                     decided, this panel has issued In re Mayer[, 167 B.R. 186, 188–189 (B.A.P. 9th Cir. 1994)]
                                         20          and held that the date for the determination of the homestead exemption amount is the date
                                         21          on which debtors file a bankruptcy petition.

                                         22          Creditor asserts that because California opted out of the federal bankruptcy scheme as
                                                     permitted under section 522(b)(2)(A), California exemption rules alone should apply.
                                         23          Indeed, CCP § 703.050 states that the exemption amount is determined “by application of
                                                     the exemption statutes in effect (1) at the time the judgment creditor’s lien on the property
                                         24          was created.” The policy, however, of allowing states to opt out of the federal exemption
                                                     scheme is not absolute. Rather, courts must apply state exemption statutes “along with
                                         25          whatever other competing or limiting policies the statute contains.” Owen, 500 U.S. at 315.
                                         26          Essentially, the state law exemption statutes must not conflict with the general policies
                                                     underlying the Bankruptcy Code, or section 522 specifically. In re Charnock, 318 B.R. at
                                         27          727. “To the extent that the California exemption law attempts to establish a procedure that

                                                     DEBTOR’S OPPOSITION TO AVETOOM’S OBJECTION TO HOMESTEAD EXEMPTION;
                                                               DECLARATIONS OF SCOTT TALKOV AND ROSA FRIDMAN
                                                                                              12
                                        Case 8:21-bk-10513-ES        Doc 114 Filed 01/27/22 Entered 01/27/22 15:41:21                  Desc
                                                                     Main Document    Page 13 of 117



                                          1          overrides the well-settled bankruptcy law regarding the date for determining an exemption,
                                                     it is preempted.” In re Kim, 257 at 687.
                                          2

                                          3          The Ninth Circuit BAP also rejected this theory in the case of In re Mayer, 167 B.R. 186,
                                          4 188–189 (B.A.P. 9th Cir. 1994), reaching the same conclusion that:

                                          5          Exemptions are determined as of the date the bankruptcy petition was filed. In re
                                                     Herman, 120 B.R. 127, 130 (9th Cir. BAP 1990), Owen v. Owen, 500 U.S. 305, 111 S.Ct.
                                          6          1833, 114 L.Ed.2d 350 (1991), § 522(b)(2)(A).
                                          7
                                                     Mayer relied on Cal.Civ.Proc.Code §§ 704.710 and 704.730(a)(3)(C) to claim a homestead
                                          8          exemption of $100,000 in the property…. Mayer fulfilled all the requirements for the
                                                     homestead exemption which he claimed. He lived on the property on the date he filed
                                          9          bankruptcy, he was over 55, married, and his household income was under $20,000.
                                                     Therefore, on the date the petition was filed, he qualified for a homestead exemption in the
                                         10          property in the amount of $100,000 under Cal.Civ.Proc.Code § 704.730(a)(3)(C).
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                                         11
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                                                     The Nadels’ judgment lien is not relevant in determining whether Mayer is entitled to the
TALKOV LAW




                                         12          homestead exemption listed in his schedules. The filing of the petition constitutes an
                                                     attempt by the trustee to levy on the property. It is this hypothetical levy the court must
                                         13          focus on in analyzing Mayer’s entitlement to a homestead exemption. See, Morgan, 149
                                                     B.R. at 153. The existence of the Nadels’ judgment lien may impact a trustee’s decision to
                                         14          abandon or sell property of the estate, but it does not affect the exemption that Mayer is
                                                     entitled to claim.
                                         15

                                         16          In re Mayer relied upon the Ninth Circuit BAP in In re Thomas K. Morgan, 149 B.R. 147,
                                         17 153 (B.A.P. 9th Cir. 1993) to reach the same conclusion in finding that “the court must essentially

                                         18 treat the judicial lien as non-existent until the date of the bankruptcy at which time there is a

                                         19 hypothetical attempt to levy on the property by the trustee.”

                                         20          Even the California Court of Appeal in Webb v. Trippet, 235 Cal.App.3d 647, 651 (Cal.
                                         21 App. 1991) reached the same conclusion in finding that: “The declared homestead provisions and

                                         22 the automatic exemption law each confer different rights on the homesteader, and there is no

                                         23 overlap between these rights. One may have rights under the declared homestead law, or rights

                                         24 under the automatic exemption law, or both, or neither. (See In re Anderson (9th Cir.1987) 824

                                         25 F.2d 754, 756.) However, the fact that one set of statutes refers to the other in some manner does

                                         26 not blur the distinctions between the rights each confers on the homesteader.”

                                         27

                                                     DEBTOR’S OPPOSITION TO AVETOOM’S OBJECTION TO HOMESTEAD EXEMPTION;
                                                               DECLARATIONS OF SCOTT TALKOV AND ROSA FRIDMAN
                                                                                               13
                                        Case 8:21-bk-10513-ES       Doc 114 Filed 01/27/22 Entered 01/27/22 15:41:21                Desc
                                                                    Main Document    Page 14 of 117



                                          1          This Court should reject Avetoom’s invitation to reversable error by ignoring that the

                                          2 automatic homestead controls in bankruptcy even if a debtor has previously recorded a declared

                                          3 homestead.

                                          4          B.     Avetoom’s Reading of Law v. Siegel Merely Created a Waste of Judicial

                                          5          Resources in the case Cited by Avetoom

                                          6          The essence of Avetoom’s supposed “affirmative defenses” to a homestead are that “the

                                          7 Supreme Court, the Ninth Circuit and Ninth Circuit Bankruptcy Appellate Panel have instructed

                                          8 [that] this court can apply California state law to determine whether the Debtor’s homestead

                                          9 exemption may be disallowed based on the equitable doctrines asserted by the Creditor.” (BK.

                                         10 Doc. 112, p. 6, lns. 20-22.) Specifically, he claims that: “The Ninth Circuit Bankruptcy Appellate
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                                         11 Panel has…held that after Law v. Siegel, bankruptcy courts must look to state law and not section
                RIVERSIDE, CA 92504
TALKOV LAW




                                         12 105(a) in determining whether there is a basis to disallow an exemption,” claiming as “instructive”

                                         13 the case of “In re Gilman (9th Cir. 2018) 887 F.3d 956, 966,” which Avetoom describes as

                                         14 “allowing a bankruptcy court to apply state based equitable defenses against a state based

                                         15 exemption.” (BK Doc. 112, p. 6, lns. 15-19.)

                                         16          However, Gillman was merely another creditor with theories that didn’t pan out, as Judge

                                         17 Kaufman of the Central District of California Bankruptcy Court held “that the equitable theories

                                         18 set forth by Creditors do not prevent Debtor from claiming a homestead exemption under CCP §

                                         19 704.730. The Court will overrule the Objection.” In re Gilman, 608 B.R. 714, 730 (Bankr. C.D.

                                         20 Cal. 2019), aff'd, No. 1:11-BK-11603-VK, 2020 WL 7087703 (C.D. Cal. Oct. 28, 2020).

                                         21          This Court need not indulge Avetoom in a waste of judicial resources on “affirmative

                                         22 defenses” that do not state a claim.

                                         23          C.     First Alleged “Affirmative Defense” of Unclean Hands Doesn’t Pan Out as

                                         24          Mr. Avetoom Fails to Draw the Required Connection to the Homestead Exemption

                                         25          In the adversary, this Court showed a particular reluctance to engage in an unclean hands

                                         26 defense upon the allegation that Mr. Avetoom had submitted fabricated documents in that

                                         27

                                                    DEBTOR’S OPPOSITION TO AVETOOM’S OBJECTION TO HOMESTEAD EXEMPTION;
                                                              DECLARATIONS OF SCOTT TALKOV AND ROSA FRIDMAN
                                                                                              14
                                        Case 8:21-bk-10513-ES        Doc 114 Filed 01/27/22 Entered 01/27/22 15:41:21                 Desc
                                                                     Main Document    Page 15 of 117



                                          1 adversary. (See Adv. Doc. 35 (Debtor’s motion to amend answer to allege unclean hands; Denied

                                          2 by Court).)

                                          3          However, Avetoom seeks to apply unclean hands in this homestead exemption by alleging

                                          4 facts that do not meet the law. (BK Doc. 112, p. 7, lns. 1-3.)

                                          5          Even in the case cited by Avetoom, Judge Kaufman found that “none of the cases cited by

                                          6 Creditors involved a court disallowing a homestead exemption based on a debtor's ‘unclean

                                          7 hands.’” In re Gilman, 608 B.R. 714, 724–25 (Bankr. C.D. Cal. 2019), aff'd, No. 1:11-BK-11603-

                                          8 VK, 2020 WL 7087703 (C.D. Cal. Oct. 28, 2020). Instead, Judge Kaufman in Gilman cited “the

                                          9 general legal standard for the doctrine of unclean hands” as showing that the claim had no merit as

                                         10 follows:
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                                         11          The misconduct that brings the unclean hands doctrine into play must relate directly to the
                RIVERSIDE, CA 92504
TALKOV LAW




                                                     cause at issue. Past improper conduct or prior misconduct that only indirectly affects the
                                         12          problem before the court does not suffice. The determination of the unclean hands defense
                                                     cannot be distorted into a proceeding to try the general morals of the parties. Courts have
                                         13          expressed this relationship requirement in various ways. The misconduct “must relate
                                         14          directly to the transaction concerning which the complaint is made, i.e., it must pertain to
                                                     the very subject matter involved and affect the equitable relations between the litigants.”
                                         15          “[T]here must be a direct relationship between the misconduct and the claimed injuries ...
                                                     so that it would be inequitable to grant [the requested] relief.” “The issue is not that the
                                         16          plaintiff's hands are dirty, but rather that the manner of dirtying renders inequitable the
                                                     assertion of such rights against the defendant.” The misconduct must “prejudicially affect
                                         17          ... the rights of the person against whom the relief is sought so that it would be inequitable
                                                     to grant such relief.’’
                                         18

                                         19          Here, Avetoom draws no connection between the Debtor’s miniscule homestead worth
                                         20 about $230,000 purchased with the Debtor’s homestead from her prior bankruptcy where her

                                         21 home was sold by the Chapter 7 Trustee and any alleged bad acts. Instead, Avetoom offers his

                                         22 interpretation of the Debtor’s pre-bankruptcy counseling course responses to argue that there must

                                         23 be unscheduled assets, none of which he can identify and none of which the Trustee located before

                                         24 declaring this case to be “no asset.” (BK Doc. 112, p. 7, lns. 5-8.) Avetoom also cites his state

                                         25 court orders obtained through his persistent litigation as supposedly showing that the Debtor must

                                         26 be an awful person. (BK Doc. 112, p. 7, lns. 9-12.) None of this is relevant to unclean hands.

                                         27

                                                     DEBTOR’S OPPOSITION TO AVETOOM’S OBJECTION TO HOMESTEAD EXEMPTION;
                                                               DECLARATIONS OF SCOTT TALKOV AND ROSA FRIDMAN
                                                                                               15
                                        Case 8:21-bk-10513-ES        Doc 114 Filed 01/27/22 Entered 01/27/22 15:41:21                  Desc
                                                                     Main Document    Page 16 of 117



                                          1          This Court should reject Avetoom’s invitation to try the general moral of the parties by

                                          2 denying this alleged affirmative defense, to the extent it even exists as a matter of law.

                                          3          D.      The Alleged “Contract” Does Not Support the Alleged Second “Affirmative

                                          4          Defense” of Equitable Estoppel

                                          5          Avetoom’s Supplement to Objection to Homestead Objection claims that the alleged

                                          6 “Contract” also supports an affirmative defense of equable estoppel.

                                          7          Even in the case cited by Avetoom, Judge Kaufman found that: “Once again, Creditors do

                                          8 not present California law applying the doctrine of equitable estoppel to bar a debtor's claim of a

                                          9 homestead exemption.” In re Gilman, 608 B.R. 714, 727 (Bankr. C.D. Cal. 2019), aff'd, No. 1:11-

                                         10 BK-11603-VK, 2020 WL 7087703 (C.D. Cal. Oct. 28, 2020). Ultimately, Judge Kaufman found
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                                         11 that: “Creditors' equitable estoppel theory does not serve to bar Debtor's claim of a homestead
                RIVERSIDE, CA 92504
TALKOV LAW




                                         12 exemption.”

                                         13          “The doctrine of equitable estoppel…provides that a person may not deny the existence of

                                         14 a state of facts if he intentionally led another to believe a particular circumstance to be true and to

                                         15 rely upon such belief to his detriment. The elements of the doctrine are that (1) the party to be

                                         16 estopped must be apprised of the facts; (2) he must intend that his conduct shall be acted upon, or

                                         17 must so act that the party asserting the estoppel has a right to believe it was so intended; (3) the

                                         18 other party must be ignorant of the true state of facts; and (4) he must rely upon the conduct to his

                                         19 injury.” Alameda Cty. Deputy Sheriff's Ass'n v. Alameda Cty. Employees' Ret. Ass'n, 9 Cal. 5th

                                         20 1032, 1072 (Cal. 2020).

                                         21          Here, Avetoom claims the Debtor signed the alleged “Contract,” that the “Contract” called

                                         22 for Avetoom not to initiate foreclosure, and that it also represents that the Debtor would not file

                                         23 for bankruptcy protection. (BK Doc. 112, p. 8, lns. 4-12.) However, the alleged “Contract” doesn’t

                                         24 contain any representations about not filing for bankruptcy. Rather, the document sets forth that

                                         25 Avetoom will not “initiate any foreclosure” so long as certain conditions have not occurred. In

                                         26 turn, it provides that the Debtor will pay the taxes, HOA dues, etc. (BK Doc. 93, p. 77.) In fact,

                                         27

                                                     DEBTOR’S OPPOSITION TO AVETOOM’S OBJECTION TO HOMESTEAD EXEMPTION;
                                                               DECLARATIONS OF SCOTT TALKOV AND ROSA FRIDMAN
                                                                                               16
                                        Case 8:21-bk-10513-ES        Doc 114 Filed 01/27/22 Entered 01/27/22 15:41:21                Desc
                                                                     Main Document    Page 17 of 117



                                          1 seemingly, any alleged “Contract” would be superseded by the 2020 judgment entered into one

                                          2 year later. (BK Doc. 93, p. 72-74.)

                                          3          Even if the alleged “Contract” did say what Avetoom thinks it says, there are no facts to

                                          4 support Avetoom’s claim that “Rosa Fridman planned on filing bankruptcy as far back as July

                                          5 2019 concealing this fact while entering into a Settlement Agreement on July 9, 2019 and a

                                          6 contract to form a consensual lien on October 3, 2019. Rosa Fridman signed up for a bankruptcy

                                          7 class in July 2019 establishing her intent to use bankruptcy to avoid the Settlement Agreement and

                                          8 consensual lien.” (BK. Doc. 112, p. 8, lns. 24-27.) If Avetoom had any evidence in support of this

                                          9 theory, he would have attached it to his motion. This failure is dispositive.

                                         10          There is simply no law, no facts, nor any plausible theory in support of this affirmative
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                                         11 defense. The Debtor, then age 88, did not outsmart Mr. Avetoom, a law school graduate, in the
                RIVERSIDE, CA 92504
TALKOV LAW




                                         12 negotiation of the alleged “Contract.” Rather, this theory should be wholly rejected.

                                         13          E.     Third Alleged “Affirmative Defense” of Fraud Based on the Alleged

                                         14          “Contract” is Another Non Sequitur

                                         15          In the last and final alleged “affirmative defense” in the Supplement to the Objection to

                                         16 Homestead Exemption, Avetoom claims that “fraud” can be the source of the denial of a

                                         17 homestead exemption without citation to any case that has ever accepted such a premise.

                                         18          Specifically, the Supplement claims that the Debtor “promised to perform [under the 2020

                                         19 stipulated judgment], with no intent on performing as she had already anticipated filing

                                         20 bankruptcy.” (BK Doc. 112, p. 9, lns. 18-23.)

                                         21          However, no evidence is provided supporting this theory that the Debtor “had already

                                         22 anticipated filing bankruptcy.” Rather, Avetoom made a strategic decision to hold off on a

                                         23 sheriff’s sale of the Debtor’s house due to the Debtor’s homestead exemption then of $175,000 as

                                         24 it would have produced little value from her interest worth perhaps $230,000. Instead, he hoped to

                                         25 execute only once the Debtor could not claim a homestead, e.g., after moving out of the property.

                                         26          Unfortunately for Avetoom, that strategic decision did not turn out well. Rather, on August

                                         27 13, 2020, Avetoom and the Debtor entered into a stipulated judgment. (BK Doc. 93, p. 72-74.)

                                                    DEBTOR’S OPPOSITION TO AVETOOM’S OBJECTION TO HOMESTEAD EXEMPTION;
                                                              DECLARATIONS OF SCOTT TALKOV AND ROSA FRIDMAN
                                                                                              17
                                        Case 8:21-bk-10513-ES       Doc 114 Filed 01/27/22 Entered 01/27/22 15:41:21               Desc
                                                                    Main Document    Page 18 of 117



                                          1 Just one month later on September 18, 2020, Governor Newsom signed AB 1885 into law 2,

                                          2 thereby increasing the homestead exemption to $600,000 for Orange County. This protected the

                                          3 entirety of the Debtor’s homestead interest.

                                          4          The change in the homestead law effective January 1, 2021, has been to the chagrin of

                                          5 many creditors, Mr. Avetoom included. However, this displeasure with the California legislature

                                          6 does not create a cause of action against every debtor in bankruptcy, or an affirmative defense to

                                          7 the use of the new homestead law.

                                          8          Indeed, Avetoom claims that “as part of the July 2019 Settlement Agreement,” the Debtor

                                          9 did “not disclos[e] that she would later use bankruptcy to claim the agreed upon creation of a

                                         10 judgment and its recordation as part of the Settlement would be claimed as an involuntary lien and
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                                         11 avoided in a bankruptcy case.” (BK Doc. 112, pp. 9:27-10:2.) In reality, this is Avetoom’s way of
                RIVERSIDE, CA 92504
TALKOV LAW




                                         12 objecting to the decided law from In re Applebaum, 162 B.R. 548 (Bankr. E.D. Cal. 1993) that the

                                         13 2020 stipulated judgment is indeed a judicial lien that can be avoided in bankruptcy, as this Court

                                         14 already declared in granting the lien avoidance motion. (See BK Doc. 45.) The documents

                                         15 presented by Avetoom present no affirmative representation that the Debtor would never use

                                         16 bankruptcy, supposing such a representation would even give rise to any claim for relief.

                                         17          As explained above, the Supplement to Objection to Homestead Objection merely lists

                                         18 several theories, none of which pan out. The truth is that Mr. Avetoom is hoping this Court

                                         19 independently spots some wrongdoing that he has yet to find. Unfortunately for Mr. Avetoom,

                                         20 there is no such wrongdoing.

                                         21                                       V.       CONCLUSION

                                         22          The Objection to Homestead Exemption reflects Creditor Karl Avetoom’s is hoping for a

                                         23 do-over of this prolonged bankruptcy in which nothing has gone his way, including the following:

                                         24          1) The Debtor’s motion to avoid Karl Avetoom’s liens, which was granted in full.

                                         25

                                         26          2
                                                        The legislative history is online at:
                                              https://leginfo.legislature.ca.gov/faces/billHistoryClient.xhtml?bill_id=201920200AB1885
                                         27

                                                     DEBTOR’S OPPOSITION TO AVETOOM’S OBJECTION TO HOMESTEAD EXEMPTION;
                                                               DECLARATIONS OF SCOTT TALKOV AND ROSA FRIDMAN
                                                                                             18
                                        Case 8:21-bk-10513-ES          Doc 114 Filed 01/27/22 Entered 01/27/22 15:41:21               Desc
                                                                       Main Document    Page 19 of 117



                                          1          2) Avetoom’s initial motion to dismiss for bad faith, which was summarily rejected by

                                          2             this Court.

                                          3          3) Avetoom’s state court motion to enforce his judgment requesting a finding that the lien

                                          4             from the Debtor was a consensual lien, rather than being a judicial lien (to be avoided

                                          5             by §522(f)) - which the state court wholly rejected.

                                          6          4) Avetoom’s appeal of the Debtor’s motion to avoid the lien, which raises a litany of

                                          7             issues not raised in this Court along with other issues that do not change the outcome

                                          8             of the case.

                                          9          5) Despite Avetoom calling for the election of Karl Anderson as trustee, and that new

                                         10             Trustee hiring counsel, along with conducting numerous continued meetings of
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                                         11             creditors, the Debtor’s case has ultimately been declared no asset.
                RIVERSIDE, CA 92504
TALKOV LAW




                                         12          6) Avetoom’s second motion to dismiss, which was denied by this Court upon declaring

                                         13             that it represented “a new low” for the creditor’s litigation strategy.

                                         14          7) Avetoom’s adversary seeking nondischargeability, which is now the subject of a

                                         15             forthcoming motion for monetary sanctions for what the Debtor has alleged is

                                         16             Avetoom’s fabrication of documents in that adversary.

                                         17          It goes without saying that Mr. Avetoom is not pleased with the legislature’s decision to

                                         18 increase the homestead exemption, nor Debtor’s decision to file bankruptcy to utilize this new law.

                                         19 However, Avetoom’s Objection to Homestead Exemption fails to state a claim for relief.

                                         20          It is time for this base bankruptcy case to reach its natural conclusion. Based on the

                                         21 foregoing, Debtor respectfully requests that this Objection to Homestead Exemption be denied

                                         22 with prejudice.

                                         23 Date: January 27, 2022                             TALKOV LAW CORP

                                         24

                                         25                                                    Scott Talkov
                                                                                               Attorneys for Debtor Rosa A. Fridman
                                         26

                                         27

                                                    DEBTOR’S OPPOSITION TO AVETOOM’S OBJECTION TO HOMESTEAD EXEMPTION;
                                                              DECLARATIONS OF SCOTT TALKOV AND ROSA FRIDMAN
                                                                                               19
                                        Case 8:21-bk-10513-ES          Doc 114 Filed 01/27/22 Entered 01/27/22 15:41:21                  Desc
                                                                       Main Document    Page 20 of 117



                                          1                             VI.     DECLARATION OF SCOTT TALKOV

                                          2

                                          3          I, Scott Talkov, declare:

                                          4          1.        I am an attorney duly licensed to practice in all court of the State of California and

                                          5 am an Attorney with Talkov Law Corp., attorneys of record for Debtor, Rosa Fridman. The facts

                                          6 set forth herein are of my own personal knowledge and if sworn I could and would competently

                                          7 testify thereto.

                                          8          2.        Attached as Exhibit 1 is a true and correct copy of this Court’s order granting the

                                          9 Debtor’s motion to avoid liens under 522(f).

                                         10          3.        Attached as 2 is a true and correct copy of the lodgment of the state court order
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                                         11 denying Mr. Avetoom’s motion to declare that the 2020 judgment was not a judicial lien for which
                RIVERSIDE, CA 92504
TALKOV LAW




                                         12 Mr. Avetoom asked the Ninth Circuit BAP for additional time to allow this ruling to come out

                                         13 under the belief it would help his case.

                                         14          4.        Attached as Exhibit 3 is a true and correct copy of the application to employ

                                         15 counsel by Karl Anderson, the Chapter 7 trustee selected by Karl Avetoom in this action.

                                         16          5.        Attached as Exhibit 4 is a true and correct copy of the no asset report I received.

                                         17          6.        Attached as Exhibit 5 is a true and correct copy of the face page and table of

                                         18 contents of the briefing on appeal of the order granting the 522(f) motion to avoid liens reflecting

                                         19 the numerous issues raised by Karl Avetoom that were not raised in this Court.

                                         20          7.        Attached as Exhibit 6 is a true and correct copies of the portion of the Debtor’s

                                         21 schedules claiming the automatic homestead exemption up to $600,000.

                                         22          8.        Attached as Exhibit 7 is a true and correct copy of the declaration of the Debtor

                                         23 attesting to her intent to reside at the residence filed as BK Doc. 27, p. 26.

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                                                     DEBTOR’S OPPOSITION TO AVETOOM’S OBJECTION TO HOMESTEAD EXEMPTION;
                                                               DECLARATIONS OF SCOTT TALKOV AND ROSA FRIDMAN
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                                        Case 8:21-bk-10513-ES        Doc 114 Filed 01/27/22 Entered 01/27/22 15:41:21                 Desc
                                                                     Main Document    Page 21 of 117



                                          1          9.     Attached as Exhibit 8 is the minute order of the state court dated October 3, 2019,

                                          2 the same date as the alleged “Contract,” as filed by Karl Avetoom as BK Doc. 31, pp. 28-29. The

                                          3 minute order notes unimportant events, such as “Judgment Creditor was handed $59 in cash in

                                          4 open court,” but does not mention the alleged “Contract.”

                                          5          10.    The purported “Contract” supposedly bears the signature of “Amy Stanton.”

                                          6 Attached as Exhibit 9 is a true and correct copy of a proof of service as to Rosa Fridman filed

                                          7 post-petition by Karl Avetoom (in apparent violation of the automatic stay) that is signed by “Amy

                                          8 Stanton” of “Litigation Investigators.” As previously provided to this Court, Barry Brooks, a

                                          9 declarant used by Karl Avetoom, appeared on the website of Litigation Investigator. Further,

                                         10 Bryan Swezea, another declarant used by Karl Avetoom, also appeared on the website of
             TELEPHONE (951) 888-3300
              2900 ADAMS ST STE C225




                                         11 Litigation Investigator as its webmaster.
                RIVERSIDE, CA 92504
TALKOV LAW




                                         12          I declare under penalty of perjury under the laws of the State of California that the

                                         13 foregoing is true and correct. Executed on January 27, 2022 at Riverside, California.

                                         14

                                         15                                                         Scott Talkov

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                                                    DEBTOR’S OPPOSITION TO AVETOOM’S OBJECTION TO HOMESTEAD EXEMPTION;
                                                              DECLARATIONS OF SCOTT TALKOV AND ROSA FRIDMAN
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                               Case 8:21-bk-10513-ES                    Doc 114 Filed 01/27/22 Entered 01/27/22 15:41:21                               Desc
                                                                        Main Document    Page 22 of 117



                                 1                                      VII.        DECLARATION OF ROSA FRIDMAN

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              (951) 888-3300
                       C225




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             D , CA 92504
TALKOV LAW




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                                              DEBTOR S OPPOSITION TO AVETOOM S OBJECTION TO HOMESTEAD EXEMPTION;
                                                        DECLARATIONS OF SCOTT TALKOV AND ROSA FRIDMAN
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Case 8:21-bk-10513-ES   Doc 114 Filed 01/27/22 Entered 01/27/22 15:41:21   Desc
                        Main Document    Page 23 of 117




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                                            Case8:21-bk-10513-ES
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                                            1 SCOTT TALKOV, State Bar No. 264676

                                            2 TALKOV LAW CORP.                                                     FILED & ENTERED
                                              2900 Adams St Ste C225
                                            3 Riverside, California 92504
                                              Telephone: (951) 888-3300                                                  APR 28 2021
                                            4 Email: scott@talkovlaw.com

                                            5                                                                       CLERK U.S. BANKRUPTCY COURT
                                                                                                                    Central District of California

                                            6 Counsel for Debtor Rosa Fridman
                                                                                                                    BY duarte     DEPUTY CLERK



                                            7                              UNITED STATES BANKRUPTCY COURT
                                            8                               CENTRAL DISTRICT OF CALIFORNIA
                                            9                                         SANTA ANA DIVISION
                                           10

                                           11
             RIVERSIDE, CALIFORNIA 92504
               2900 ADAMS ST STE C225




                                                In re                                              Case No. 8:21-bk-10513-ES
                 PHONE (951) 888-3300




                                           12
TALKOV LAW




                                           13 ROSA A. FRIDMAN,                                     Chapter 7

                                           14 Debtor.
                                                                                                   ORDER GRANTING DEBTOR’S
                                           15                                                      MOTION TO AVOID LIEN UNDER 11
                                                                                                   U.S.C. § 522(f) (REAL PROPERTY)
                                           16

                                           17
                                                                                                   Hearing on Motion to Avoid Lien:
                                           18                                                      Date:       April 15, 2021
                                                                                                   Time:       10:30 a.m.
                                           19                                                      Courtroom:  5A
                                                                                                                411 West Fourth Street,
                                           20
                                                                                                                Santa Ana, CA 92701
                                           21

                                           22           On April 15, 2021, at 10:30 a.m., this matter came before the Court on the Debtor’s Motion to
                                           23 Avoid Lien Under 11 U.S.C. § 522(f) (REAL PROPERTY) [Dkt. No. 13] (the “Motion”) filed by

                                           24 Debtor Rosa M. Fridman (the “Debtor”).

                                           25           The Court having reviewed the Motion, the Notice of Opposition and Request for a Hearing
                                           26 (the “Notice of Opposition”) [Dkt. No. 16], the Opposition to Debtor Rosa Fridman’s Motion to Avoid
                                           27 Liens Pursuant to 11 U.S.C. § 522(f) (the “Opposition”) [Dkt. No. 22], the Objection and Opposition

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                                                 ORDER GRANTING DEBTOR’S MOTION TO AVOID LIEN UNDER 11 U.S.C. § 522(f) (REAL PROPERTY)
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                                            Case8:21-bk-10513-ES
                                                 8:21-bk-10513-ES Doc
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                                                                         Document Page
                                                                                     Page25
                                                                                          2 of 117
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                                            1 by Lien Holder Attorney Charles L. Murray III to Debtor’s Motion to Avoid Liens, Supporting

                                            2 Declaration of Attorney Charles L. Murray III (the “Murray Opposition”) [Dkt. No. 25]; the Debtor’s

                                            3 Reply to Opposition to Motion to Avoid Lien Under 11 U.S.C. 522(f); Declaration of Rosa Fridman;

                                            4 Declaration of Scott Talkov (the “Reply”) [Dkt. No. 27], the Objection to Case and Declaration

                                            5 Supporting Motion to Dismiss Bankruptcy Case and Lien Avoidance Motion (the “Balakin

                                            6 Opposition”) [Dkt. No. 30], and the Creditor Karl Avetoom’s Evidentiary Objections to Debtor Rosa

                                            7 Fridman’s Lien Avoidance Motion (the “Evidentiary Objections”) [Dkt. No. 33]; and the Court having

                                            8 considered the Motion, the Notice of Opposition, the Opposition, the Murray Opposition, the Reply,

                                            9 the Balakin Opposition, and the Evidentiary Objections, and all pleadings and papers filed in

                                           10 connection with the Motion; and it appearing that the relief requested in the Motion is in the best

                                           11 interests of the Debtor’s estate, its creditors, and all other parties in interest, and for good cause
             RIVERSIDE, CALIFORNIA 92504
               2900 ADAMS ST STE C225

                 PHONE (951) 888-3300




                                           12 appearing,
TALKOV LAW




                                           13          IT IS HEREBY ORDERED THAT:

                                           14          1.      The Motion is GRANTED;

                                           15          2.      The seven (7) judgment liens identified in Exhibit A hereto recorded in Orange County

                                           16 in favor of creditor Karl Avetoom comprising of Title Exception Nos. 14, 15 (Part 1), 15 (Part 2), 17,

                                           17 18, 21, and 22 as listed on Schedule B of Dkt. No. 13 (the “Avetoom Liens”) are AVOIDED and no

                                           18 longer encumber Debtor’s condominium located at 16542 Blackbeard Lane #304, Huntington Beach,
                                           19 CA 92649, Orange County Assessor’s Parcel Number: 937-71-030;

                                           20          3.      In accordance with 11 U.S.C. 522(c), the “property exempted under [11 U.S.C. 522(f)]

                                           21 is not liable during or after the case for any debt of the debtor that arose … before the commencement

                                           22 of the case” such that the exempted property at 16542 Blackbeard Lane #304, Huntington Beach, CA

                                           23 92649, APN: 937-71-030 is not liable during or after the instant bankruptcy case for any debt of

                                           24 Debtor Rosa Fridman which arose before the petition date of February 26, 2021 in the instant case.

                                           25 / / /

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                                                ORDER GRANTING DEBTOR’S MOTION TO AVOID LIEN UNDER 11 U.S.C. § 522(f) (REAL PROPERTY)
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                                                                                     Page26
                                                                                          3 of 117
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                                            1 Specifically, the property located at 16542 Blackbeard Lane #304, Huntington Beach, CA 92649,

                                            2 APN: 937-71-030 is not liable during or after the case for any wrongs committed by the Debtor Rosa

                                            3 Fridman before the February 26, 2021 petition date in the instant case as alleged in Orange County

                                            4 Superior Court Case No. 30-2010-00345490 and Orange County Superior Court Case No. 30-2015-

                                            5 00820760.

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             RIVERSIDE, CALIFORNIA 92504
               2900 ADAMS ST STE C225

                 PHONE (951) 888-3300




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TALKOV LAW




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                                                  Date: April 28, 2021
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                                                ORDER GRANTING DEBTOR’S MOTION TO AVOID LIEN UNDER 11 U.S.C. § 522(f) (REAL PROPERTY)
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                                                                                          4 of 117
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                                                                   Exhibit A – Liens Avoided by Bankruptcy Court Order
                                            1
                                                                 Re: 16542 Blackbeard Lane #304, Huntington Beach, CA 92649
                                            2

                                            3
                                                 Preliminary        Judgment      Judgment Official Records of          Court       Case
                                            4   Exception No.       Entry Date    Recording Orange County
                                                                                    Date       Instrument
                                            5                                                    Number
                                            6
                                                "Exception 14"       11/18/11       11/18/11         2011-000590354   OC         Avetoom v.
                                            7                                                                         Superior   Mosey and
                                                                                                                      Court         Rosa
                                            8                                                                                     Fridman
                                                                                                                                 (30-2010-
                                            9                                                                                      003454
                                                                                                                                 90) ("2010
                                           10                                                                                        IIED
                                                                                                                                  Action")
                                           11
             RIVERSIDE, CALIFORNIA 92504




                                                "Exception 15"       11/18/11       1/17/12      2012-000023845          Same     2010 IIED
               2900 ADAMS ST STE C225

                 PHONE (951) 888-3300




                                           12                                                                                          Action
TALKOV LAW




                                                "Exception 17"       8/13/14        9/30/14      2014-000398135          Same     2010 IIED
                                           13                                                                                          Action
                                                "Exception 15-       11/18/11       3/11/15      2015-000126500          Same     2010 IIED
                                           14    Amendment"                                                                            Action
                                                "Exception 18"        3/6/15        3/11/15      2015-000126507          Same     2010 IIED
                                           15                                                                                          Action
                                                "Exception 21"       8/13/20        11/19/20 2020-000673156              Same    Avetoom v.
                                           16                                                                                    Risbrough,
                                           17                                                                                     et al. (30-
                                                                                                                                    2015-
                                           18                                                                                      008207
                                                                                                                                      60)
                                           19                                                                                      ("2015
                                                                                                                                 Fraudulen
                                           20                                                                                          t
                                                                                                                                 Transfer
                                           21                                                                                    Action")
                                           22   "Exception 22"       10/6/20        11/19/20 2020-000673157              Same       2015
                                                                                                                                 Fraudulent
                                           23                                                                                     Transfer
                                                                                                                                    Action
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                                                ORDER GRANTING DEBTOR’S MOTION TO AVOID LIEN UNDER 11 U.S.C. § 522(f) (REAL PROPERTY)
Case 8:21-bk-10513-ES   Doc 114 Filed 01/27/22 Entered 01/27/22 15:41:21   Desc
                        Main Document    Page 28 of 117




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                                   Case8:21-bk-10513-ES
                                        8:21-bk-10513-ES Doc
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                                     1 SCOTT TALKOV, State Bar No. 264676
                                       TALKOV LAW CORP.
                                     2 2900 Adams St Ste C225
                                       Riverside, California 92504
                                     3 Telephone: (951) 888-3300

                                     4 Email: scott@talkovlaw.com

                                     5 Attorneys for Debtor Rosa A. Fridman

                                     6                             UNITED STATES BANKRUPTCY COURT

                                     7               CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION

                                     8 In re                                                   Case. No. 8:21-bk-10513-ES

                                     9 ROSA A. FRIDMAN,                                        Chapter 7
                                    10                      Debtor.                            LODGMENT OF STATE COURT ORDER
                                                                                               DENYING CREDITOR KARL
        TELEPHONE (951) 888-3300
         2900 ADAMS ST STE C225




                                    11
           RIVERSIDE, CA 92504




                                                                                               AVETOOM’S STATE COURT MOTION TO
TALKOV LAW




                                                                                               RECLASSIFY A JUDGMENT LIEN AS A
                                    12
                                                                                               CONSENSUAL LIEN
                                    13

                                    14

                                    15          TO THE HONORABLE ERITHE A. SMITH, UNITED STATES BANKRUPTCY

                                    16 JUDGE, CREDITOR KARL AVETOOM, THE U.S. TRUSTEE, AND ALL PARTIES IN

                                    17 INTEREST:

                                    18          Rosa A. Fridman (“Ms. Fridman”), Debtor in the above-captioned matter, submits the

                                    19 following Lodgment of State Court Order Denying Creditor Karl Avetoom’s State Court Motion

                                    20 to Reclassify a Previously Recorded Judgment Lien as a Consensual Lien.

                                    21          Creditor Karl Avetoom moved this Court for relief from the automatic stay so that he may

                                    22 move for the State Court which granted a judgment lien on Ms. Fridman’s homestead property for

                                    23 reclassification of the lien as a consensual, rather than judicial, lien. In this Court’s June 3, 2021

                                    24 tentative ruling on Avetoom’s Motion for relief from the automatic stay which was later adopted

                                    25 as the final ruling, this Court noted: “Nothing in any of the documents [relied upon by Avetoom]

                                    26 indicate that Debtor agreed to a consensual lien against the subject property, i.e., independent of

                                    27 the agreement to a judgment that may be enforced by the recordation of a lien against the subject
                                          LODGMENT OF STATE COURT ORDER DENYING CREDITOR KARL AVETOOM’S STATE COURT
                                                  MOTION TO RECLASSIFY A JUDGMENT LIEN AS A CONSENSUAL LIEN

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                                                                Document Page
                                                                            Page302of
                                                                                    of117
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                                     1 property. That said, this court shall defer to the state court to make that factual determination.”

                                     2 Thus, Avetoom continued to move the state court for a reclassification of the judicial lien as a

                                     3 consensual lien.

                                     4          In line with this Court’s review of the documents and facts relied upon by Avetoom, as is

                                     5 shown in the attached minute order, the Superior Court of Orange County vehemently denied

                                     6 Avetoom’s motion to reclassify the judgment lien as a consensual lien. As such, there is no doubt

                                     7 that the judicial lien held by Creditor Karl Avetoom was rightfully avoided against Ms. Fridman’s

                                     8 homestead property.

                                     9 Date: July 26, 2021                                TALKOV LAW CORP

                                    10                                                     Scott Talkov
        TELEPHONE (951) 888-3300
         2900 ADAMS ST STE C225




                                    11                                                    Scott Talkov
           RIVERSIDE, CA 92504




                                                                                          Attorneys for Debtor Rosa A. Fridman
TALKOV LAW




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                                          LODGMENT OF STATE COURT ORDER DENYING CREDITOR KARL AVETOOM’S STATE COURT
                                                  MOTION TO RECLASSIFY A JUDGMENT LIEN AS A CONSENSUAL LIEN

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                      Main
                       MainDocument
                             Document Page
                                         Page313of
                                                 of117
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           Case8:21-bk-10513-ES
                8:21-bk-10513-ES Doc
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                                                             of117
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                                   COUNTY OF ORANGE
                                 CENTRAL JUSTICE CENTER
                                           MINUTE ORDER
DATE: 07/22/2021                   TIME: 09:10:00 AM                  DEPT: C18
JUDICIAL OFFICER PRESIDING: Theodore Howard
CLERK: Kathy Peraza
REPORTER/ERM: None
BAILIFF/COURT ATTENDANT: None

CASE NO: 30-2015-00820760-CU-FR-NJC CASE INIT.DATE: 11/17/2015
CASE TITLE: Avetoom vs. Risbrough
CASE CATEGORY: Civil - Unlimited  CASE TYPE: Fraud

EVENT ID/DOCUMENT ID: 73572786
EVENT TYPE: Under Submission Ruling



APPEARANCES

There are no appearances by any party.

The Court, having taken the Plaintiff's Motion to Enforce Settlement under submission on 07/15/2021 and
having fully considered the arguments of all parties, both written and oral, as well as the evidence
presented, now rules as follows:

Plaintiff Avetoom’s Motion to Enforce Settlement (ROA 558) is DENIED.

Authority or Jurisdiction of the Court

While the Motion is labeled as one to enforce settlement pursuant to CCP 664.6, the cited statute
authorizes relief before a judgment has been entered. Here, however, the court is asked to issue relief,
post entry of judgment, the judgment having been entered here, some time ago [See ROA 484, judgment
entered 8/13/20; vs. ROA 558, present motion filed 6/2021].

The moving brief refers to Ames v. Paley which recognized the power of a trial court to correct a
judgment that was entered pursuant to CCP 664.6, that is, pursuant to the parties’ settlement. Such
power arises under a court’s inherent powers to make clerical corrections to its records, or by statute
such as CCP 473(d) which provides for the correction of clerical errors also. (See Ames v. Paley (2001)
89 Cal.App.4th 668, 672–673 (“A court of general jurisdiction has the power, after final judgment, and
regardless of lapse of time, to correct clerical errors or misprisions in its records, whether made by the
clerk, counsel or the court itself, so that the records will conform to and speak the truth…”).)

It appears that in an appropriate setting, a trial court does have power to correct a judgment that was
entered pursuant to a settlement of the parties under section 664.6, in order to include an omitted term of
the settlement. (See Ames v. Paley (2001) 89 Cal.App.4th 668, 674).

Plaintiff Avetoom’s Request to Correct or Modify the Judgment

Plaintiff Avetoom seeks a modification of the Judgment to add and reflect that, through the settlement




DATE: 07/22/2021                                MINUTE ORDER                                     Page 1
DEPT: C18                                                                                    Calendar No.
        Case
         Case8:21-bk-10513-ES
              8:21-bk-10513-ES Doc
                                 Doc114
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                                                           of  830-2015-00820760-CU-FR-NJC
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agreement within the present lawsuit, that defendant Rosa Fridman, voluntarily consented to the creation
of a lien against her 68.3% interest in the subject real property (on Blackbeard Lane in Huntington Beach,
CA). Plaintiff Avetoom argues that the creation of a lien was an important term of the oral settlement that
the parties reached and that was placed on the record on or about 7/9/19.

Under CCP 664.6, the court may only enter terms which the parties themselves agreed to. (See
Hernandez v. Board of Education (2004) 126 Cal. App. 4th 1161, 1176) (the power of a trial court under
§ 664.6 “is extremely limited”).) “‘Although a judge hearing a section 664.6 motion may receive evidence,
determine disputed facts, and enter the terms of a settlement agreement as a judgment, nothing in
section 664.6 authorizes a judge to create the material terms of a settlement, as opposed to deciding
what terms the parties themselves have previously agreed upon.’” (Id.; accord Leeman v. Adams
Extract & Spice, LLC (2015) 236 Cal.App.4th 1367, 1374-75.)

In the present case, the proceedings regarding the entry of judgment and determination of the
settlement, spanned several hearings ranging from approximately August of 2019 through June of 2020.
(See Register of Action herein, # 387, 389, 451). Considerable time was spent by the parties and the
Court in addressing the matter. Plaintiff Avetoom argues that it was intended that the declaratory terms
that constituted the oral settlement, would result in a lien. But the portion of the Reporter’s Transcript
wherein the terms of the settlement were read into the record (see 7/9/19 Reporter’s Transcript, pages 2
to 4 and 7 to 8) and which were then orally agreed to by Defendant Fridman and by Plaintiff Avetoom
(id.), did not appear to mention the creation of the “lien”.

It was rather the Court which construed the agreement of the parties as an agreement to create a lien.
(See 7/9/19 Reporter’s Transcript p. 11.) However, the Court is not a party which can create a
settlement term nor supply party consent. Pursuant to section 664.6, what is necessary, is evidence of
the party’s settlement terms and oral consent. (See, e.g., 1538 Cahuenga Partners, LLC v. Turmeko
Properties, Inc. (2009) 176 Cal.App.4th 139, 143.)

Plaintiff refers to the portion of the Transcript wherein Plaintiff’s counsel (Mr. Murray) stated that the
settlement terms – as had just been orally read into the record and agreed to by the litigants – would
then be reduced to a formal order of the court, which order would be recorded with the county recorder
thereafter. (See Transcript pp. 8-9 and 11.) This would provide support for Plaintiff Avetoom, indeed,
being able to record in the County Recorder, the Judgment entered in this case. However it is less clear
that this amounted to the Defendant having orally agreed to give any new or other or different lien on the
subject property.      The record is unclear about this, which generates ambiguity and precludes the
granting of the motion.

If a term on which the present case had been settled – was indeed that Defendant Fridman was giving a
new, further or different lien, it appears that the parties reasonably could have stated such a fact within
the terms that were recited (see Transcript p 2 to 4 and 7 to 8.)

According to the Civil Code section 2872, “A lien is a charge imposed in some mode other than by a
transfer in trust upon specific property by which it is made security for the performance of an act.” “A lien
is created: 1. By contract of the parties; or, 2. By operation of law.” ( Civil Code 2881.)

In the case law, there are examples of language in agreements which has been considered to amount to
a lien. (See, e.g., Hill v. Fricke (1936) 5 Cal.2d 320, 321–322 (“the appellant Arthur, who was informed
that he was free to bring his attorney with him, and the defendant Pearl Fricke met with Hill at the
attorney's office and there executed a written agreement fixing the amount of Edwin's advances, … and
declaring the same to be a lien upon the ranch property….In other words, the land alone was made
subject to the payment of the obligation…”). In re Smith's Estate (1927) 200 Cal. 654, 658 (language
within a court order read, “In order to secure the payments of said installments, … Walnut Park Bank …
be and …are hereby required to hold said trust deed for the security and payment of said support …”);




DATE: 07/22/2021                                 MINUTE ORDER                                      Page 2
DEPT: C18                                                                                      Calendar No.
        Case
         Case8:21-bk-10513-ES
              8:21-bk-10513-ES Doc
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                                  MainDocument      CASE
                                        Document Page
                                                    Page346NO:
                                                           of  830-2015-00820760-CU-FR-NJC
                                                            of117

In re Dickinson (Bankr. S.D. Cal. 1982) 24 B.R. 547, 549) (the agreement stated, “… I hereby further give
a lien on my case to said doctor against any and all proceeds of any settlement, judgment or verdict ....”).


In a case cited by Plaintiff Avetoom, the relevant document had similar words to the above, to support a
finding of a lien having been created. (In re County of Orange (Bankr. C.D. Cal. 1995) 179 B.R. 185,
193 n. 2, n.23 and 194179) (a public entity’s written resolution read, “As security for the payment of the
principal of and interest on the Notes the County hereby pledges and grants a first lien and charge
against [certain unrestricted revenues]....”).) Compare Raboff v. Albertson (1954) 122 Cal.App.2d 555,
556–557 (the defendant delivered to the plaintiff a writing stating, “‘I O U $7,500 Lee Albertson August
5th 1946 on my house”) (while “[i]t was the intent of Lee at the time he made the writing to encumber
said property with a lien in favor of plaintiff to secure said loan. The said writing was sufficient to create
such a lien.”)

Here, the terms that were orally recited and then orally consented to by the litigants, did not appear to
include similar language. Thus, the circumstances produce less certainty.

According to the records of the present case, there were several proposed judgments submitted to the
court during the time in which these parties were engaged in the proceedings on the settlement and entry
of judgment. Within the Plaintiff’s proposed judgments, the terms consistently did not include the words
that a lien on the real property is being given, as an express term of the settlement. (See Proposed
Judgments herein, at ROA 389, 420, 483 and ROA 460, 479, 484.)

For these reasons, the Court must DENY Plaintiff Avetoom’s Motion to correct or modify the judgment.


Additional Matters

As for Plaintiff Avetoom’s position regarding the intentions of Defendant Fridman in settling the present
case, and thereafter pursuing bankruptcy relief, as well as other allegations of Plaintiff Avetoom
regarding the actions of the Defendant, these may well become the fodder of future litigation. However,
the Court does not find it necessary to engage with the allegations or accusations of mal-intent at this
time. The material in the reply (the Balakin Declaration) was therefore not considered. (See also Jay v.
Mahaffey (2013) 218 Cal.App.4th 1522, 1537-1538) (new evidence in reply is generally not permitted).

Therefore, Defendant Fridman’s objections to the Balakin declaration are SUSTAINED.

By the same token, the Defendant Fridman’s effort to raise an independent proceeding regarding
sanctions is procedurally improper and is unsupported. The request is therefore denied. (See Cal. Code
Civ. Proc. 128.5(f)(1)(a) and 1003, 1005, 1005.5; Cal. Rule of Court 3.1110, 3.1112, 3.1113(b).)    As
such, the declarations of Defendant Fridman and S. Talkov submitted in the 7/13/21 “Evidentiary
Objection and Request for OSC re Sanctions” (ROA 580) were not considered.

The additional evidentiary material, attached to Plaintiff Avetoom’s “Response” (Objection) filed 7/13/21,
was unnecessary to consider. (ROA 580.)

Defendant Fridman must remember in the future to adhere to the timeframes provided for in the Code for
court filings. A trial court may disregard late papers especially where good cause is not shown. (See
California Code of Civil Procedure section 1005; Rancho Mirage Country Club Homeowners Association
v. Hazelbaker (2016) 2 Cal.App.5th 252, 262 and see ROA 571.) Where the moving party here, plaintiff
Avetoom, filed a reply to the late opposition (see ROA 571, 573), the opposition was thus considered.
(See Mann v. Cracchiolo (1985) 38 Cal.3d 18, 30; Carlton v. Quint (2000) 77 Cal.App.4th 690, 698.)




DATE: 07/22/2021                                  MINUTE ORDER                                      Page 3
DEPT: C18                                                                                       Calendar No.
        Case
         Case8:21-bk-10513-ES
              8:21-bk-10513-ES Doc
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                                        Document Page
                                                    Page357NO:
                                                           of  830-2015-00820760-CU-FR-NJC
                                                            of117

The Clerk shall give notice.




DATE: 07/22/2021                          MINUTE ORDER                              Page 4
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                                   Case
                                   Case8:21-bk-10513-ES
                                        8:21-bk-10513-ES Doc
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                                                         Main
                                                          MainDocument
                                                                Document Page
                                                                            Page368of
                                                                                    of117
                                                                                       8



                                     1 PROOF OF SERVICE OF DOCUMENT

                                     2
                                       I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
                                     3 address is: 2900 Adams Street, Suite C225, Riverside, CA 92504

                                     4 A true and correct copy of the foregoing document entitled (specify): LODGMENT OF STATE
                                       COURT ORDER DENYING CREDITOR KARL AVETOOM’S STATE COURT MOTION TO
                                     5 RECLASSIFY A JUDGMENT LIEN AS A CONSENSUAL LIENwill be served or was served (a)
                                         on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
                                     6 below:

                                     7 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant
                                         to controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
                                     8 hyperlink to the document. On (date) July 26, 2021, I checked the CM/ECF docket for this bankruptcy case
                                         or adversary proceeding and determined that the following persons are on the Electronic Mail Notice List
                                     9 to receive NEF transmission at the email addresses stated below:

                                    10           Thomas H Casey (TR) msilva@tomcaseylaw.com, thc@trustesolutions.net
                                                 Donald W Reid don@donreidlaw.com, ecf@donreidlaw.com
        TELEPHONE (951) 888-3300
         2900 ADAMS ST STE C225




                                    11           United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
           RIVERSIDE, CA 92504
TALKOV LAW




                                    12                    Service information continued on attached page
                                    13 2. SERVED BY UNITED STATES MAIL:
                                         On (date) July 26, 2021, I served the following persons and/or entities at the last known addresses in this
                                    14 bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in
                                         the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
                                    15 constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
                                         document is filed.
                                    16
                                                 Hon. Erithe Smith, 411 West Fourth Street, Suite 5040, Santa Ana, CA 92701
                                    17
                                                          Service information continued on attached page
                                    18
                                       3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
                                    19
                                       EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
                                    20 on (date) July 26, 2021, I served the following persons and/or entities by personal delivery, overnight mail
                                       service, or (for those who consented in writing to such service method), by facsimile transmission and/or
                                    21 email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
                                       mail to, the judge will be completed no later than 24 hours after the document is filed.
                                    22
                                                          Service information continued on attached page
                                    23
                                         I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
                                    24
                                          July 26, 2021       Leilani Caspillo                                            /s/Leilani Caspillo
                                    25    Date                  Printed Name                                                  Signature

                                    26

                                    27
                                           LODGMENT OF STATE COURT ORDER DENYING CREDITOR KARL AVETOOM’S STATE COURT
                                                   MOTION TO RECLASSIFY A JUDGMENT LIEN AS A CONSENSUAL LIEN

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Case 8:21-bk-10513-ES   Doc 114 Filed 01/27/22 Entered 01/27/22 15:41:21   Desc
                        Main Document    Page 37 of 117




                               Exhibit 3
                  Case
                  Case8:21-bk-10513-ES
                       8:21-bk-10513-ES Doc
                                        Doc114
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                                        Main
                                         MainDocument
                                              Document PagePage38
                                                                3 of 21
                                                                     117



                       1 Leonard M. Shulman – Bar No. 126349
                         Melissa Davis Lowe – Bar No. 245521
                       2 SHULMAN BASTIAN FRIEDMAN & BUI LLP
                         100 Spectrum Center Drive, Suite 600
                       3 Irvine, California 92618
                         Telephone:      (949) 340-3400
                       4 Facsimile:      (949) 340-3000
                         Email:          lshulman@shulmanbastian.com
                       5                 mlowe@shulmanbastian.com

                       6 Proposed Attorneys for Karl T. Anderson,
                         Chapter 7 Trustee
                       7

                       8                                 UNITED STATES BANKRUPTCY COURT

                       9                   CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION

                     10

                     11      In re                                        Case No. 8:21-bk-10513-ES

                     12      ROSA M. FRIDMAN,                             Chapter 7

                     13      Debtor.                                      CHAPTER 7 TRUSTEE’S APPLICATION TO
                                                                          EMPLOY SHULMAN BASTIAN FRIEDMAN
                     14                                                   & BUI LLP AS GENERAL COUNSEL;
                                                                          DECLARATION OF LEONARD M. SHULMAN
                     15                                                   IN SUPPORT THEREOF

                     16                                                   [No Hearing Set Pursuant to Local Bankruptcy Rule
                                                                          2014-1(b)]
                     17

                     18 TO THE HONORABLE ERITHE A. SMITH, UNITED STATES BANKRUPTCY JUDGE,

                     19 THE OFFICE OF THE UNITED STATES TRUSTEE AND ALL INTERESTED PARTIES:

                     20              Karl T. Anderson (“Trustee”), the duly appointed, qualified and acting Chapter 7 trustee for
                     21 the bankruptcy estate (“Estate”) of Rosa M. Fridman (“Debtor”), brings this Application for an order

                     22 authorizing the employment of Shulman Bastian Friedman & Bui LLP (“Firm”) as general counsel

                     23 in this bankruptcy case effective as of April 27, 2021. In support thereof, the Trustee respectfully

                     24 represents as follows:

                     25                                   I.     NEED FOR LEGAL COUNSEL
                     26              The Debtor filed a voluntary petition under Chapter 7 of the Bankruptcy Code on February
                     27 26, 2021 (“Petition Date”). Thomas Casey was appointed as the interim Chapter 7 trustee. At the

                     28 initial Section 341(a) Meeting of Creditors held on April 5, 2021, a creditor appeared and called for
  SHULMAN BASTIAN
 FRIEDMAN & BUI LLP
100 Spectrum Center Drive
                                                                              1
        Suite 600           Employ App SBF&B (Fridman)
    Irvine, CA 92618        6371-000
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                                                                                 15:41:21 Desc
                                                                                          Desc
                                        Main
                                         MainDocument
                                              Document PagePage39
                                                                4 of 21
                                                                     117



                       1 the election of a different Chapter 7 trustee. On May 3, 2021, Karl T. Anderson was appointed as

                       2 the Chapter 7 trustee.

                       3             The continued Section 341(a) Meeting of Creditors is currently scheduled for June 29, 2021.

                       4             The deadline for the filing of proofs of claim in the case is August 23, 2021. As of the date

                       5 of the filing of this Application, one general unsecured claim has been filed in the amount of

                       6 $1,000,000.00. The Debtor’s Schedules indicate there are secured claims of $2,670,810.80, priority

                       7 claims of $0.00, and general unsecured claims of $100,315.81.

                       8             Based on the Trustee’s initial investigation into this case, he anticipates that after liquidating

                       9 available assets, there may be a meaningful distribution to unsecured creditors.                 In order to

                     10 accomplish this, however, the Trustee has determined that there is a need to retain counsel to advise

                     11 the Trustee on various matters affecting the recovery and liquidation of potential assets based on the

                     12 following:

                     13              •        On her Schedule A/B filed on the Petition Date (docket number 1), the Debtor lists a
                     14 “tenants in common” ownership interest in a condominium located at 16542 Blackbeard Lane, Unit

                     15 304, Huntington Beach, California 92649 (“Property”). The Debtor valued the Property at

                     16 $337,687.00 and valued her interest at $230,640.22. On her Schedule D, the Debtor listed seven

                     17 judgment liens in favor of Karl Avetoom in the amount of $2,670,810.80 (the “Avetoom Liens”).

                     18 On her Schedule C, the Debtor claimed an exemption against the Property under C.C.P. §

                     19 704.730(a)(2) in the amount of $600,000.00 (“Homestead Exemption”). Pursuant to Court Order

                     20 entered April 28, 2021, the Avetoom Liens were avoided and no longer encumber the Property. Mr.

                     21 Avetoom and the Debtor have been embroiled in litigation for over ten years. As reflected in the

                     22 Debtor’s Statement of Financial Affairs, there is litigation pending in the Orange County Superior

                     23 Court captioned, Avetoom v. Fridman, Case No. 30-2015-00820760.

                     24              •        The Trustee has learned that in May 2013, the Debtor and her now-deceased husband,
                     25 Moisey Fridman, and her son, Alex Fridman, took title to the Property as follows: “Moisy Fridman

                     26 and Rosa Fridman, Husband and Wife as to an undivided 68.3% interest and Alex Fridman, a Single

                     27 Man as to an undivided 31.7% interest, all as Tenants in Common” (the “Transfer”).

                     28 ///
  SHULMAN BASTIAN
 FRIEDMAN & BUI LLP
100 Spectrum Center Drive
                                                                                2
        Suite 600           Employ App SBF&B (Fridman)
    Irvine, CA 92618        6371-000
                  Case
                  Case8:21-bk-10513-ES
                       8:21-bk-10513-ES Doc
                                        Doc114
                                             75 Filed
                                                 Filed05/28/21
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                                                                         01/27/2212:54:14
                                                                                 15:41:21 Desc
                                                                                          Desc
                                        Main
                                         MainDocument
                                              Document PagePage40
                                                                5 of 21
                                                                     117



                       1             The Trustee needs assistance with legal matters related to the Property and the Transfer

                       2 which may include (i) investigating the Transfer, and possibly other transfers of assets, to determine

                       3 if the transfer(s) is/are avoidable and recoverable by the Trustee under his avoidance powers under

                       4 the Bankruptcy Code; (ii) if deemed appropriate, commencing an adversary proceeding to seek

                       5 recovery of the Transfer, any additional improper transfers, declaratory relief and/or recovery of

                       6 assets of the Estate; (iii) investigating the potential equity in the Property for benefit of the Estate

                       7 and its creditors; (iv) analyzing potential objections to the Homestead Exemption in the Property;

                       8 and (v) if necessary, the Trustee may need assistance in the sale of the Property. The sale of the

                       9 Property will likely not be a simple or “routine” sale as the Property is occupied by the Debtor and

                     10 the Trustee may need assistance to seek turnover of the Property to the Estate. Furthermore, based

                     11 on the Trustee’s information and experience, it is possible the Debtor (or any non-debtor occupants)

                     12 may oppose the sale of the Property and/or reach an agreement with the Trustee regarding the

                     13 Property, all of which the Trustee will need legal assistance with related to negotiations, preparation

                     14 of transactional documents and obtaining Court approval(s).

                     15              For obvious reasons, the Trustee is not able to disclose in this Application all possible

                     16 circumstances that can develop in a case, what he believes are all the potential assets or his entire

                     17 case strategy. However, based upon the foregoing, and in order to assist the Trustee in the

                     18 administration of the Chapter 7 case, the Trustee seeks to employ the Firm as his general counsel at

                     19 the Firm’s hourly billing rates, which may be subject to adjustment from time to time, plus costs.

                     20 The Trustee believes that employment of the Firm will be in the best interest of the Estate.

                     21            II.       PROPOSED EMPLOYMENT AND QUALIFICATIONS OF THE FIRM

                     22 A.           Services to be Performed
                     23              The Trustee seeks to employ the Firm as general counsel to render, among others, the
                     24 following types of professional services:

                     25              •        Consult with the Trustee concerning legal issues impacting the administration of the
                     26 bankruptcy case.

                     27              •        Investigate the acts, conduct, assets, liabilities and financial condition of the Debtor,
                     28 and any other matters relevant to the case or the preservation of assets for the benefit of creditors.
  SHULMAN BASTIAN
 FRIEDMAN & BUI LLP
100 Spectrum Center Drive
                                                                                 3
        Suite 600           Employ App SBF&B (Fridman)
    Irvine, CA 92618        6371-000
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Case8:21-bk-10513-ES
     8:21-bk-10513-ES Doc
                      Doc114
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                                                       01/27/2212:54:14
                                                               15:41:21 Desc
                                                                        Desc
                      Main
                       MainDocument
                            Document PagePage41
                                              9 of 21
                                                   117
Case 8:21-bk-10513-ES   Doc 114 Filed 01/27/22 Entered 01/27/22 15:41:21   Desc
                        Main Document    Page 42 of 117




                               Exhibit 4
1/10/22, 9:46Case
              PM    8:21-bk-10513-ES talkovlaw.com
                                         Doc 114Mail Filed   01/27/22Chapter
                                                     - 8:21-bk-10513-ES  Entered      01/27/22
                                                                             7 Trustee's            15:41:21
                                                                                         Report of No Distribution    Desc
                                         Main Document            Page 43 of 117

                                                                                            Scott Talkov <scott@talkovlaw.com>



  8:21-bk-10513-ES Chapter 7 Trustee's Report of No Distribution
  cmecfhelpdesk@cacb.uscourts.gov <cmecfhelpdesk@cacb.uscourts.gov>                                  Wed, Sep 1, 2021 at 12:00 PM
  To: Courtmail@cacb.uscourts.gov


    ***NOTE TO PUBLIC ACCESS USERS*** Judicial Conference of the United States policy permits attorneys of
    record and parties in a case (including pro se litigants) to receive one free electronic copy of all documents filed
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    avoid later charges, download a copy of each document during this first viewing. However, if the referenced
    document is a transcript, the free copy and 30-page limit do not apply.

                                                       U.S. Bankruptcy Court

                                                    Central District of California

    Notice of Electronic Filing

    The following transaction was received from Karl T Anderson (TR) entered on 9/1/2021 at 12:00 PM PDT and filed on
    9/1/2021
    Case Name:           Rosa A Fridman
    Case Number:         8:21-bk-10513-ES
    Document Number:

    Docket Text:
    Chapter 7 Trustee's Report of No Distribution: I, Karl T Anderson (TR), having been appointed trustee of the estate of the
    above-named debtor(s), report that I have neither received any property nor paid any money on account of this estate;
    that I have made a diligent inquiry into the financial affairs of the debtor(s) and the location of the property belonging to
    the estate; and that there is no property available for distribution from the estate over and above that exempted by law.
    Pursuant to Fed R Bank P 5009, I hereby certify that the estate of the above-named debtor(s) has been fully
    administered. I request that I be discharged from any further duties as trustee. Key information about this case as
    reported in schedules filed by the debtor(s) or otherwise found in the case record: This case was pending for 6 months.
    Assets Abandoned (without deducting any secured claims): $ 0.00, Assets Exempt: $ 605500.00, Claims Scheduled: $
    771126.61, Claims Asserted: Not Applicable, Claims scheduled to be discharged without payment (without deducting the
    value of collateral or debts excepted from discharge): $ 771126.61. Filed by Trustee Karl T Anderson (TR) (RE: related
    document(s)[85] Continuance of Meeting of Creditors (Rule 2003(e)) (Trustee's 341 Filings) 341(a) Meeting Continued to
    be held on 08/02/21 at 01:00 PM at TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS CONTACT THE TRUSTEE.
    Debtor appeared. (Anderson (TR), Karl)). (Anderson (TR), Karl)

    The following document(s) are associated with this transaction:


    8:21-bk-10513-ES Notice will be electronically mailed to:

    Karl T Anderson (TR)
    2edansie@gmail.com, kanderson@ecf.axosfs.com

    Michael J Hauser on behalf of U.S. Trustee United States Trustee (SA)
    michael.hauser@usdoj.gov

    Melissa Davis Lowe on behalf of Trustee Karl T Anderson (TR)
    mlowe@shulmanbastian.com, avernon@shulmanbastian.com

    Charles L Murray, III on behalf of Creditor CHARLES L MURRAY
    cmurray@cm3law.com, cm3esquire@gmail.com

    Scott Talkov on behalf of Debtor Rosa A Fridman
    scott@talkovlaw.com, talkovlaw@ecf.courtdrive.com


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1/10/22, 9:46Case
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                                          Doc 114Mail Filed   01/27/22Chapter
                                                      - 8:21-bk-10513-ES   Entered     01/27/22
                                                                              7 Trustee's            15:41:21
                                                                                          Report of No Distribution   Desc
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    Scott Talkov on behalf of Defendant Rosa Fridman               Page  44 of  117
    scott@talkovlaw.com, talkovlaw@ecf.courtdrive.com

    Scott Talkov on behalf of Interested Party Courtesy NEF
    scott@talkovlaw.com, talkovlaw@ecf.courtdrive.com

    United States Trustee (SA)
    ustpregion16.sa.ecf@usdoj.gov

    8:21-bk-10513-ES Notice will not be electronically mailed to:

    Karl Avetoom
    1100 Rutland Rd #9
    Newport Beach, CA 92660-4607

    Victor Balakin
    101 N Ocean Dr Ste 132
    Hollywood, CA 33019




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Case 8:21-bk-10513-ES   Doc 114 Filed 01/27/22 Entered 01/27/22 15:41:21   Desc
                        Main Document    Page 45 of 117




                               Exhibit 5
          Case: 21-1101, Doc
Case 8:21-bk-10513-ES    Document: 11, 01/27/22
                             114 Filed Filed: 09/27/2021    Page 115:41:21
                                                  Entered 01/27/22 of 29     Desc
                         Main Document     Page 46 of 117



                                No. CC-21-1101
                               ________________

              IN THE UNITED STATES COURT OF APPEALS

    FOR THE NINTH CIRCUIT BANKRUPTCY APPELLATE PANEL
               _________________________________

                         In re ROSA FRIDMAN, Debtor
                     _________________________________

                          KARL AVETOOM, Creditor,
                                 Appellant

                                       v.

                          ROSA FRIDMAN, Debtor, and
                     KARL T. ANDERSEN, Chapter 7 Trustee,
                                   Appellees
                      _________________________________

       APPEAL FROM THE UNITED STATES BANKRUPTCY COURT,
                CENTRAL DISTRICT OF CALIFORNIA

                      Bankruptcy Case No. 8:21-bk-10513-ES
                                  ___________

                       APPELLEE’S OPENING BRIEF
                     _________________________________

                                     SCOTT TALKOV (Cal. Bar 264676)
                                     Talkov Law Corp.
                                     2900 Adams St C225
                                     Riverside, CA 92504
                                     Phone: (951) 888-3300
                                     Email: scott@talkovlaw.com
September 27, 2021                   Attorneys for Appellee/Debtor Rosa
                                     Fridman



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          Case: 21-1101, Doc
Case 8:21-bk-10513-ES    Document: 11, 01/27/22
                             114 Filed Filed: 09/27/2021    Page 215:41:21
                                                  Entered 01/27/22 of 29                                                Desc
                         Main Document     Page 47 of 117



                                          TABLE OF CONTENTS

TABLE OF AUTHORITIES .....................................................................................4

I. INTRODUCTION ...............................................................................................6

II.     JURISDICTION ...............................................................................................7

III.    STATEMENT OF ISSUE PRESENTED ........................................................7

IV.     STANDARD OF REVIEW..............................................................................7

V.      STATEMENT OF THE CASE ........................................................................7

VI.     SUMMARY OF ARGUMENT........................................................................9

VII.      ARGUMENT ................................................................................................9

  a. Any Burden Was Appropriately Placed on the Creditor Based on the
  Recorded Homestead Exemption ...........................................................................9
  b.   Argument that Outdated Homestead Exemption Applies Has Been
  Repeatedly Rejected by This Court ......................................................................11
  c. The Bankruptcy Court Was Entitled to Reject the Creditor’s Speculative
  Theory that a 522(f) Motion is Wrongful Both Factually and Under Law vs.
  Siegel.....................................................................................................................13
  d.   The Bankruptcy Court Correctly Applied the Snapshot Approach to
  Determine Exemptions .........................................................................................14
  e. Creditor’s Claim that the Recording of the 2020 Judgment Referencing the
  2011 Money Judgment Does Not Constitute a Lien Was Rightfully Rejected by
  the Bankruptcy Court............................................................................................16
  f. Creditor’s Proclaimed Miscalculation of the Liens to Determine Impairment
  Was Never Raised Below, Presumably Because the Exemption is Greater than
  the Value of the Property ......................................................................................19
  g.   Creditor’s Argument that the 2011 Judgment (Exception 14) Was Not a
  “Lien” Cannot be Considered as Having Been Raised for the First Time on
  Appeal ...................................................................................................................20
VIII.     THIS COURT SHOULD DISMISS THIS APPEAL BASED ON
CREDITOR’S SUBMISSION OF ADMITTEDLY FABRICATED

                                                            2
          Case: 21-1101, Doc
Case 8:21-bk-10513-ES    Document: 11, 01/27/22
                             114 Filed Filed: 09/27/2021    Page 315:41:21
                                                  Entered 01/27/22 of 29                                      Desc
                         Main Document     Page 48 of 117



DOCUMENTS .........................................................................................................21

IX.     THIS APPEAL IS A REFLECTION OF THE CREDITOR’S ADDICTION
TO LITIGATION ....................................................................................................23

X.      CONCLUSION ..............................................................................................25

XI.     STATEMENT OF RELATED CASES .........................................................27

XII.       CERTIFICATE OF COMPLIANCE ..........................................................28

XIII.      CERTIFICATE OF SERVICE....................................................................29




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Case 8:21-bk-10513-ES   Doc 114 Filed 01/27/22 Entered 01/27/22 15:41:21   Desc
                        Main Document    Page 49 of 117




                               Exhibit 6
             Case
             Case 8:21-bk-10513-ES
                  8:21-bk-10513 DocDoc
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                                             Filed 01/27/22
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                                        Document Page Page1 50
                                                            of 50
                                                               of 117
 Fill in this information to identify your case:

     United States Bankruptcy Court for the:

     ____________________  District of _________________
     Central District of California      (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                       
                                                       ✔ Chapter 7
                                                                Chapter 11
                                                                Chapter 12
                                                                Chapter 13                                                Check if this is an
                                                                                                                              amended filing


Official Form 101
Volunt a r y Pe t it ion for I ndividua ls Filing for Ba nk rupt cy                                                                               04/20

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Pa rt 1 :     I de nt ify Yourse lf

                                        About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
       Write the name that is on your
       government-issued picture
                                         Rosa
                                        __________________________________________________           __________________________________________________
       identification (for example,     First name                                                   First name
       your driver’s license or          A
                                        __________________________________________________           __________________________________________________
       passport).                       Middle name                                                  Middle name

       Bring your picture                Fridman
                                        __________________________________________________           __________________________________________________
       identification to your meeting   Last name                                                    Last name
       with the trustee.                ___________________________                                  ___________________________
                                        Suffix (Sr., Jr., II, III)                                   Suffix (Sr., Jr., II, III)




2.    All other names you
      have used in the last 8
      years
       Include your married or
       maiden names.




3.    Only the last 4 digits of                           2    7    7    2
      your Social Security              xxx        – xx – ____ ____ ____ ____                        xxx   – xx – ____ ____ ____ ____
      number or federal                 OR                                                           OR
      Individual Taxpayer
      Identification number             9 xx – xx – ____ ____ ____ ____                              9 xx – xx – ____ ____ ____ ____
      (ITIN)


      Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                          page 1
Case
Case 8:21-bk-10513-ES
     8:21-bk-10513 DocDoc
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                           Document Page Page6 51
                                               of 50
                                                  of 117
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                                                             of of
                                                                50117

Fill in this information to identify your case and this filing:

                    Rosa A Fridman
Debtor 1
                    First Name               Middle Name                 Last Name

Debtor 2
(Spouse, if filing) First Name                  Middle Name                Last Name


United States Bankruptcy Court for the: Central District of
California
                                                                                                                                                                                                        Check if this is an
Case number                                                                                                                                                                                             amended filing
(if know)



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                                              12/15


In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category
where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for
supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and
case number (if known). Answer every question.


Part 1:            Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In
1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
         No. Go to Part 2
         Yes. Where is the property?


                                                                                 What is the property? Check all that apply
                                                                                                                                                                Do not deduct secured claims or exemptions. Put
    1.1 16542 Blackbeard Lane                                                      Single-family home
            Street address, if available, or other description                                                                                                  the amount of any secured claims on Schedule D:
                                                                                      Duplex or multi-unit building                                             Creditors Who Have Claims Secured by Property:
            Unit 304
                                                                                      Condominium or cooperative
                                                                                                                                                                Current value of the                Current value of the
                                                                                      Manufactured or mobile home                                               entire property?                    portion you own?
            Huntington Beach CA             92649
                                                                                      Land                                                                      $ 337,687.00                        $ 230,640.22
            City                  State     ZIP Code
                                                                                      Investment property
                                                                                                                                                                Describe the nature of your ownership
                                                                                      Timeshare                                                                 interest (such as fee simple, tenancy by the
            Orange County                                                             Other                                                                     entireties, or a life estate), if known.

            Country                                                              Who has an interest in the property? Check one                                 Tenants in Common
                                                                                   Debtor 1 only
                                                                                      Debtor 2 only                                                                  Check if this is community property
                                                                                      Debtor 1 and Debtor 2 only
                                                                                      At least one of the debtors and another

                                                                                 Other information you wish to add about this item, such as local
                                                                                 property identification number:

 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
     you have attached for Part 1. Write that number here...........................................................................................................................................➤         $ 230,640.22


Part 2:            Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
            No
            Yes

 4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
      Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
         No
         Yes

     Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
 5. you have attached for Part 2. Write that number here...........................................................................................................................................➤              $ 0.00



Part 3:            Describe Your Personal and Household Items


                                                                                                                                                                                                                page 1 of 5
            Case
            Case 8:21-bk-10513-ES
                 8:21-bk-10513 DocDoc
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                                       Document Page Page1553
                                                            of of
                                                               50117
 Fill in this information to identify your case:

                     Rosa A Fridman
 Debtor 1          __________________________________________________________________
                     First Name                  Middle Name                Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                  Middle Name                Last Name


                                         ______________________
 United States Bankruptcy Court for the: Central District of California District of __________
                                                                                         (State)
 Case number
  (If known)
                     ___________________________________________                                                                                        Check if this is an
                                                                                                                                                           amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                                  4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Pa rt 1 :       I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
     ✔ You are claiming state and federal nonbankruptcy exemptions.                     11 U.S.C. § 522(b)(3)
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on            Current value of the                      Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property                    portion you own                           exemption you claim

                                                                Copy the value from                       Check only one box
                                                                Schedule A/B                              for each exemption
                 16542 Blackbeard Lane                                                                                                   Cal. Civ. Proc. Code § 704.730 (a)(2)
 Brief
 description:
                                                                        230,640.22
                                                                       $________________           
                                                                                                   ✔ $ ____________
                                                                                                       600,000.00
                                                                                                     100% of fair market value, up to
 Line from                                                                                              any applicable statutory limit
 Schedule A/B:         1.1
                 Other - Pride- Victory Series 9 Medical Disability                                                                      Cal. Civ. Proc. Code § 704.050
 Brief
 description:
                 Scooter
                                                                       $________________
                                                                         1,500.00                   $ ____________
                                                                                                    ✔  1,500.00
                                                                                                     100% of fair market value, up to
 Line from                                                                                              any applicable statutory limit
 Schedule A/B:         14
                 Wells Fargo (Closed) (Checking)                                                                                         Cal. Civ. Proc. Code § 704.080(b)(4)
 Brief
 description:                                                          $________________
                                                                         0.00                      
                                                                                                   ✔ $ ____________
                                                                                                       2,000.00
                                                                                                     100% of fair market value, up to
 Line from                                                                                              any applicable statutory limit
 Schedule A/B:           17.1

 3. Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

          No
     
     ✔     Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes



Official Form 106C                                              Schedule C: The Property You Claim as Exempt                                                               2
                                                                                                                                                                 page 1 of __
Case 8:21-bk-10513-ES   Doc 114 Filed 01/27/22 Entered 01/27/22 15:41:21   Desc
                        Main Document    Page 54 of 117




                               Exhibit 7
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                                                                           Page55
                                                                                26of
                                                                                   of117
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                                         1
                                                                      VI.     DECLARATION OF ROSA FRIDMAN
                                         2
                                                    I, Rosa Fridman, declare:
                                         3
                                                    1.      I am the Debtor in the above-described case. The facts set forth herein are of my
                                         4
                                             own personal knowledge and, if sworn, I could and would competently testify thereto.
                                         5
                                                    2.      I own a 68.3% interest in the Homestead Reinvestment Property commonly known
                                         6
                                             as 16542 Blackbeard Lane, #304, Huntington Beach, CA 92649 with Assessor’s Parcel Number
                                         7
                                             937-71-030.
                                         8
                                                    3.      I acquired my interest in the Homestead Reinvestment Property by way of a Grant
                                         9
                                             Deed recorded in the Official Records of Orange County on May 21, 2015 with Instrument
                                        10
                                             Number 2013000308409. (Doc 13, p. 81-83.)
             TELEPHONE (951) 888-3300
              2900 ADAMS ST STE C225




                                        11
                RIVERSIDE, CA 92504
TALKOV LAW




                                                    4.      On May 23, 2013, I caused a Homestead Declaration to be recorded in the Orange
                                        12
                                             County Official Records with Instrument No. 2013000313820 where I declared that the
                                        13
                                             Homestead Reinvestment Property to be my homestead. (Doc. 19, p. 3-6.)
                                        14
                                                    5.      At all times after the acquisition of my interest in the Homestead Reinvestment
                                        15
                                             Property, I have lived and have always intended to live in it as my primary residence.
                                        16
                                                    6.      I have no intent of moving out of the Homestead Reinvestment Property and
                                        17
                                             discontinuing my use of it as my primary residence.
                                        18
                                                    7.      I intend to live in the Homestead Reinvestment Property for as long as my interest
                                        19
                                             in the same is held.
                                        20
                                                    I declare under penalty of perjury under the laws of the State of California that the
                                        21
                                             foregoing is true and correct.
                                        22
                                                    Executed on April 8, 2021 at Huntington Beach, California.
                                        23
                                                                                                          ______________________
                                        24                                                                Rosa Fridman
                                        25

                                        26

                                        27


                                                   DEBTOR’S REPLY TO OPPOSITION TO MOTION TO AVOID LIEN UNDER 11 U.S.C. 522(f)
                                                                                              26
Case 8:21-bk-10513-ES   Doc 114 Filed 01/27/22 Entered 01/27/22 15:41:21   Desc
                        Main Document    Page 56 of 117




                               Exhibit 8
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Case8:21-bk-10513-ES
     8:21-bk-10513-ES Doc
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                                        Page57
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                                        Page58
                                             29of
                                                of117
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Case 8:21-bk-10513-ES   Doc 114 Filed 01/27/22 Entered 01/27/22 15:41:21   Desc
                        Main Document    Page 59 of 117




                               Exhibit 9
              Electronically Filed by Superior Court of California, County of Orange, 02/26/2021 11:56:00 PM.
          Case  8:21-bk-10513-ES
30-2010-00345490-CU-PO-CJC                Doc
                                - ROA # 1225    114 H.
                                             - DAVID    Filed  01/27/22
                                                          YAMASAKI,    Clerk Entered  01/27/22
                                                                             of the Court        15:41:21
                                                                                          By James            Desc Clerk.
                                                                                                   M Haines, Deputy
                                          Main Document             Page 60 of 117                               POS-030
     ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                       FOR COURT USE ONLY

    Karl Avetoom
    1100 Rutland Road # 9
    Newport Beach, CA 92660

                           949.929.4787
              TELEPHONE NO.:                           FAX NO. (Optional):

                           kia002@att.net
     E-MAIL ADDRESS (Optional):

      ATTORNEY FOR (Name):Plaintiff and Judgment Creditor

     SUPERIOR COURT OF CALIFORNIA, COUNTY OF Orange
          STREET ADDRESS:700 Civic Center Drive West

          MAILING ADDRESS:700 Civic Center Drive West

         CITY AND ZIP CODE:Santa Ana, CA 92701

             BRANCH NAME:Central Justice Center

           PETITIONER/PLAINTIFF:
                                          Avetoom
      RESPONDENT/DEFENDANT:
                                         Arce, Fridman et al
                                                                                                      CASE NUMBER:
                            PROOF OF SERVICE BY FIRST-CLASS MAIL—CIVIL                                         30-2010-00345490
                                     RELATED TO ROA # 1215
                        (Do not use this Proof of Service to show service of a Summons and Complaint.)
    1. I am over 18 years of age and not a party to this action. I am a resident of or employed in the county where the mailing
       took place.

    2. My residence or business address is:

         Litigation Investigations OPR 7451 Warner Ave #E191 Huntington Bch, CA 92647
    3.   On (date):02/22/2021       I mailed from (city and state):Costa Mesa, CA
         the following documents (specify):
         (1) NOTICE OF RENEWAL OF JUDGMENT, (2) APPLICATION FOR AND RENEWAL OF
         JUDGMENT, (3) DECLARATION IN SUPPORT OF APPLICATION FOR RENEWAL OF JUDGMENT
         RE: MEMORANDUM OF FEES AND COSTS
                 The documents are listed in the Attachment to Proof of Service by First-Class Mail—Civil (Documents Served)
                 (form POS-030(D)).
    4. I served the documents by enclosing them in an envelope and (check one):
       a. X depositing the sealed envelope with the United States Postal Service with the postage fully prepaid.
       b.        placing the envelope for collection and mailing following our ordinary business practices. I am readily familiar with this
                 business’s practice for collecting and processing correspondence for mailing. On the same day that correspondence is
                 placed for collection and mailing, it is deposited in the ordinary course of business with the United States Postal Service in
                 a sealed envelope with postage fully prepaid.
    5. The envelope was addressed and mailed as follows:
       a. Name of person served: Rosa Fridman
       b. Address of person served:

            16542 Blackbeard Lane, # 304 Huntington Beach, CA 92649


                 The name and address of each person to whom I mailed the documents is listed in the Attachment to Proof of Service
                 by First-Class Mail—Civil (Persons Served) (POS-030(P)).
    I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.

    Date:02/22/2021

          Ami Stanton
              (TYPE OR PRINT NAME OF PERSON COMPLETING THIS FORM)                            (SIGNATURE OF PERSON COMPLETING THIS FORM)

    Form Approved for Optional Use
    Judicial Council of California             PROOF OF SERVICE BY FIRST-CLASS MAIL—CIVIL                              Code of Civil Procedure, §§ 1013, 1013a
                                                                                                                                          www.courtinfo.ca.gov
    POS-030 [New January 1, 2005]                            (Proof of Service)
                                                           RELATED TO ROA # 1215
Case 8:21-bk-10513-ES   Doc 114 Filed 01/27/22 Entered 01/27/22 15:41:21   Desc
                        Main Document    Page 61 of 117




                              Exhibit 10
                           Case
                           Case8:21-bk-10513-ES
                                8:21-ap-01023-ES Doc
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                                                       Document PagePage62
                                                                         1 of 56
                                                                              117



                             1 SCOTT TALKOV, State Bar No. 264676
                               TALKOV LAW CORP.
                             2 2900 Adams St Ste C225
                               Riverside, California 92504
                             3 Telephone: (951) 888-3300

                             4 Email: scott@talkovlaw.com

                             5 Attorney for Defendant Rosa A. Fridman

                             6                             UNITED STATES BANKRUPTCY COURT

                             7               CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION

                             8 In re                                                  Case. No. 8:21-bk-10513-ES

                             9 Rosa Fridman,                                          Adversary Case No. 8:21-ap-01023-ES
                            10 Debtor.                                                Chapter 7
TELEPHONE (951) 888-3300




                                                                                      Assigned To: Hon. Erithe A. Smith
 2900 ADAMS ST STE C225




                            11
   RIVERSIDE, CA 92504
       TALKOV LAW




                            12                                                        DEFENDANT’S REQUEST FOR JUDICIAL
                                 Karl Avetoom,                                        NOTICE OF KARL AVETOOM
                            13                                                        PLEADINGS SHOWING THAT AN
                                                   Plaintiff,                         ADDITIONAL, SUBSTANTIVE
                            14                                                        DOCUMENT IN KARL AVETOOM’S
                                 v.                                                   SUMMARY JUDGMENT WAS A
                            15                                                        FABRICATION; SUPPORTING
                                 Rosa Fridman,                                        DECLARATIONS OF SCOTT TALKOV
                            16                                                        AND LEILANI CASPILLO

                            17                    Defendant.
                                                                                      Hearing Set by Court on Defendant’s Motion for
                                                                                      Terminating Sanctions:
                            18                                                        Date:    December 16, 2021
                                                                                      Time:    2:00 P.M.
                            19
                                                                                               Courtroom 5A (via remote appearance)
                            20                                                                 411 W. Fourth St.
                                                                                               Santa Ana CA 92701
                            21                                                                 See ZoomGov Notice (Adv. Doc. 59)

                            22
                                        TO THE HONORABLE ERITHE SMITH, UNITED STATES BANKRUPTCY JUDGE,
                            23
                                 THE OFFICE OF THE UNITED STATES TRUSTEE, PLAINTIFF, AND ALL OTHER
                            24
                                 INTERESTED PARTIES:
                            25
                                        PLEASE TAKE NOTICE that Defendant Rosa Fridman (“Defendant”) will, and hereby
                            26
                                 does, request that this Court take judicial notice of pleadings filed by Karl Avetoom in his pending
                            27
                                  DEFENDANT’S REQUEST FOR JUDICIAL NOTICE OF KARL AVETOOM PLEADINGS SHOWING
                                 THAT AN ADDITIONAL, SUBSTANTIVE DOCUMENT IN KARL AVETOOM’S SUMMARY JUDGMENT
                                    WAS A FABRICATION; SUPPORTING DECLARATIONS OF SCOTT TALKOV AND LEILANI
                                                                    CASPILLO
                                                                                  1
                           Case
                           Case8:21-bk-10513-ES
                                8:21-ap-01023-ES Doc
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                                                 Main
                                                  MainDocument
                                                       Document PagePage63
                                                                         2 of 56
                                                                              117



                             1 state court motion and the factual assertion to be drawn therefrom that an additional, material

                             2 document submitted by Karl Avetoom as part of his motion for summary judgment in this

                             3 adversary was fabricated pursuant to Rule 201 of the Federal Rules of Evidence. This fabricated

                             4 document found as Adv. Doc. 25 at page 45 is in addition to the two bogus webpages alleged to be

                             5 falsely authenticated by Karl Avetoom as briefed in the motion for terminating sanctions. (Adv.

                             6 Doc. 59.) This additional, material document was only provable as a forgery after the motion for

                             7 terminating sanctions was filed on November 16, 2021, as Defendant’s counsel subsequently

                             8 obtained the state court documents establishing the fraud on November 23, 2021. (Decl. Leilani

                             9 Caspillo.)

                            10          As relevant to terminating sanctions, according to the Ninth Circuit: “Whether or not the
TELEPHONE (951) 888-3300
 2900 ADAMS ST STE C225




                            11 documents would have changed the outcome of the trial is not the issue in determining prejudice.”
   RIVERSIDE, CA 92504
       TALKOV LAW




                            12 Anheuser-Busch, Inc. v. Nat. Beverage Distributors, 69 F.3d 337, 354 (9th Cir. 1995). Rather:

                            13 “The prejudice inquiry looks to whether the [responding party’s] actions…threatened to interfere

                            14 with the rightful decision of the case.” Leon v. IDX Sys. Corp., 464 F.3d 951, 959 (9th Cir. 2006).

                            15          As set briefed in the reply on the motion for terminating sanctions as Doc. 71, pages 14

                            16 through 17, Mr. Avetoom relied upon the fraudulent “Contract” between himself and the

                            17 Defendant as material to his case to show that the Defendant did not waive any rights to the 2011

                            18 judgment that he sought to declare nondischargeable herein. Indeed, the Defendant had contended

                            19 in opposition to summary judgment that there was a waiver or novation. As it turns out, the

                            20 supposed contract is a pure work of fiction, just like the other bogus documents exposed through

                            21 Defendant’s pleadings herein.

                            22         I.     KARL AVETOOM FALSELY AUTHENTICATED HIS FRAUDULENT

                            23                  “CONTRACT” IN HIS REPLY TO SUMMARY JUDGMENT

                            24          After Defendant’s opposition to summary judgment raised the issue of waiver and

                            25 novation, Karl Avetoom submitted his reply attesting as follows about the bogus “Contract”:

                            26

                            27
                                  DEFENDANT’S REQUEST FOR JUDICIAL NOTICE OF KARL AVETOOM PLEADINGS SHOWING
                                 THAT AN ADDITIONAL, SUBSTANTIVE DOCUMENT IN KARL AVETOOM’S SUMMARY JUDGMENT
                                    WAS A FABRICATION; SUPPORTING DECLARATIONS OF SCOTT TALKOV AND LEILANI
                                                                    CASPILLO
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                                                                         3 of 56
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                             5 (Ex. 1 (Adv. Doc. 25), p. 20, ¶ 4.) Mr. Avetoom also authenticated the same “Contract” in his

                             6 objection to the Debtor’s homestead. (Ex. 3 (BK Doc. 93), p. 14, ¶ 9.)

                             7         The fraudulent “Contract” was in turn attached to his reply brief supposedly bearing the

                             8 signature of a witness “Herbert Conrad” dated “10·3·2019,” as shown below:

                             9

                            10
TELEPHONE (951) 888-3300
 2900 ADAMS ST STE C225




                            11
   RIVERSIDE, CA 92504
       TALKOV LAW




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                                  DEFENDANT’S REQUEST FOR JUDICIAL NOTICE OF KARL AVETOOM PLEADINGS SHOWING
                                 THAT AN ADDITIONAL, SUBSTANTIVE DOCUMENT IN KARL AVETOOM’S SUMMARY JUDGMENT
                                    WAS A FABRICATION; SUPPORTING DECLARATIONS OF SCOTT TALKOV AND LEILANI
                                                                    CASPILLO
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                                                       Document PagePage65
                                                                         4 of 56
                                                                              117



                             1 (Ex. 1 (Adv. Doc. 25), p. 45.) As Mr. Avetoom had previously attached this same document to

                             2 Claim 7-1, counsel for Defendant had attempted to disprove the document by calling Herbert

                             3 Conrad, who doubled down that the document was legitimate. (Decl. Talkov, ¶¶ 3-7; Adv. Doc.

                             4 71, p. 29 at ¶ 8 and p. 148.)

                             5          However, as shown by Mr. Avetoom’s own declarations and pleadings in his motion to set

                             6 aside, he claims to have met Herbert Conrad for the first time sometime after July 2020.

                             7 Specifically, the motion attached a declaration of Karl Avetoom, who declares in Paragraph 7 that

                             8 he received a “July 2020 envelope” from the LAPD with documents that proved his innocence

                             9 signed by “an LAPD Officer named B. Brooks” and another LAPD Officer “H. Conrad,” as

                            10 shown below:
TELEPHONE (951) 888-3300
 2900 ADAMS ST STE C225




                            11
   RIVERSIDE, CA 92504
       TALKOV LAW




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                            17 (Ex. 5 at Declaration of Karl Avetoom, ¶¶ 7-8.)

                            18          The declaration of Karl Avetoom goes on explain his alleged struggles to contact retired
                            19 LAPD Officer Herbert Conrad sometime after July 2020 in Paragraph 9 as follows:

                            20

                            21

                            22

                            23

                            24
                                 (Ex. 5, Declaration of Karl Avetoom, ¶ 9.)
                            25
                                        The story told under penalty of perjury by Mr. Avetoom and corroborated by two “retired”
                            26
                                 LAPD officers was simple: That Mr. Avetoom first learned in July 2020 of the existence of
                            27
                                  DEFENDANT’S REQUEST FOR JUDICIAL NOTICE OF KARL AVETOOM PLEADINGS SHOWING
                                 THAT AN ADDITIONAL, SUBSTANTIVE DOCUMENT IN KARL AVETOOM’S SUMMARY JUDGMENT
                                    WAS A FABRICATION; SUPPORTING DECLARATIONS OF SCOTT TALKOV AND LEILANI
                                                                    CASPILLO
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                                8:21-ap-01023-ES Doc
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                                                       Document PagePage66
                                                                         5 of 56
                                                                              117



                             1 Herbert Conrad in discovering that he had signed official government documents in 1996, that

                             2 proved the innocence of Karl Avetoom.

                             3          By contrast, the alleged “Contract” supposedly signed by Herbert Conrad dated 2019

                             4 appears below the phone number “714-853-0761,” despite Mr. Avetoom’s claim under penalty of

                             5 perjury that he was “having difficulty contacting Mr. Conrad” after he supposedly received the

                             6 envelope in July 2020. (Ex. 5, Declaration of Karl Avetoom, ¶ 9.)

                             7          Further, Herbert Conrad himself doubled down on the authenticity of his signature dated

                             8 October 3, 2019, in his declaration under penalty of perjury in the 2021 bankruptcy of Rosa

                             9 Fridman attached hereto as Exhibit 3 at page 77 and shown below:

                            10
TELEPHONE (951) 888-3300
 2900 ADAMS ST STE C225




                            11
   RIVERSIDE, CA 92504
       TALKOV LAW




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                            16          Given that Mr. Avetoom has declared under penalty of perjury that he did not have the

                            17 phone number for and had no prior association with Herbert Conrad, there is only one conclusion

                            18 to be drawn about the “Contract” supposedly signed by Rosa Fridman and witnessed by Herbert

                            19 Conrad on October 3, 2019: it is fraudulent.

                            20          In reality, these documents are pure works of fiction bearing no relationship to the truth,

                            21 just as the Defendant has alleged in her pending motion for terminating sanctions.

                            22          Accordingly, the Defendant respectfully request that the Court take judicial notice of these

                            23 pleadings submitted by Karl Avetoom in the state court proceedings and this bankruptcy, and

                            24 consider them in connection with the Defendant’s pending motion for terminating sanctions and

                            25 Plaintiff’s motion to strike. Judges exist to apply real evidence to the law, not to play cat and

                            26

                            27
                                  DEFENDANT’S REQUEST FOR JUDICIAL NOTICE OF KARL AVETOOM PLEADINGS SHOWING
                                 THAT AN ADDITIONAL, SUBSTANTIVE DOCUMENT IN KARL AVETOOM’S SUMMARY JUDGMENT
                                    WAS A FABRICATION; SUPPORTING DECLARATIONS OF SCOTT TALKOV AND LEILANI
                                                                    CASPILLO
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                                                       Document PagePage67
                                                                         6 of 56
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                             1 mouse with document forgers. This brazen disregard for the American system of justice cannot be

                             2 allowed.

                             3 Date: December 9, 2021                         TALKOV LAW CORP

                             4

                             5                                                Scott Talkov
                                                                              Attorney for Defendant Rosa Fridman
                             6

                             7

                             8

                             9

                            10
TELEPHONE (951) 888-3300
 2900 ADAMS ST STE C225




                            11
   RIVERSIDE, CA 92504
       TALKOV LAW




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                                  DEFENDANT’S REQUEST FOR JUDICIAL NOTICE OF KARL AVETOOM PLEADINGS SHOWING
                                 THAT AN ADDITIONAL, SUBSTANTIVE DOCUMENT IN KARL AVETOOM’S SUMMARY JUDGMENT
                                    WAS A FABRICATION; SUPPORTING DECLARATIONS OF SCOTT TALKOV AND LEILANI
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                                                       Document PagePage68
                                                                         7 of 56
                                                                              117



                             1                               DECLARATION OF SCOTT TALKOV

                             2          I, Scott Talkov, declare:

                             3          1.      I am an Attorney with and the President of Talkov Law Corp, attorneys of record

                             4 for Defendant in this matter. The facts set forth herein are of my own personal knowledge and if

                             5 sworn I could and would testify competently thereto.

                             6          2.      Attached as Exhibit 1 is a true and correct copy of certain portions of Karl

                             7 Avetoom’s reply to opposition to summary judgment filed in this adversary case as Adv. Doc. 25.

                             8          3.      Attached as Exhibit 2 is a true and correct copy of the email I sent to Herbert

                             9 Conrad on August 24, 2021, during my call with him. The email accurately recites that up to that

                            10 point in the call, Mr. Conrad “indicated having no recollection of anyone by the name of Karl
TELEPHONE (951) 888-3300




                                 Avetoom or having witnessed any document that he may have asked you to witness.”
 2900 ADAMS ST STE C225




                            11
   RIVERSIDE, CA 92504




                                        4.      After Mr. Conrad indicated that he received the email and reviewed the attachment,
       TALKOV LAW




                            12
                                 he then informed me that he vaguely remembered being at court that day and witnessing an older
                            13
                                 female sign a document.
                            14
                                        5.      I made the call to Mr. Conrad on August 24, 2021, based on information that had
                            15
                                 been provided to me suggesting that the “Contract” was a forgery.
                            16
                                        6.      Attached as Exhibit 3 is a true and correct copy of portions of Karl Avetoom’s
                            17
                                 objection to Rosa Fridman’s homestead filed in the underling bankruptcy case as BK Doc. 93,
                            18
                                 which attaches both the alleged “Contract” and a declaration of Herbert Conrad attesting to the
                            19
                                 August 24, 2021, phone call with my office relating to the “Contract.”
                            20
                                        7.      The declaration of Herbert Conrad referenced above sets forth in Paragraph 4, inter
                            21
                                 alia, that he “emailed the attorney back and told him that his email representations were not
                            22
                                 accurate of what I had said.”
                            23

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                                  DEFENDANT’S REQUEST FOR JUDICIAL NOTICE OF KARL AVETOOM PLEADINGS SHOWING
                                 THAT AN ADDITIONAL, SUBSTANTIVE DOCUMENT IN KARL AVETOOM’S SUMMARY JUDGMENT
                                    WAS A FABRICATION; SUPPORTING DECLARATIONS OF SCOTT TALKOV AND LEILANI
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                           Case8:21-bk-10513-ES
                                8:21-ap-01023-ES Doc
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                                                 Main
                                                  MainDocument
                                                       Document PagePage69
                                                                         8 of 56
                                                                              117



                             1         8.      On December 9, 2021, I confirmed that I have not received any email from Herbert

                             2 Conrad < hconrad67@gmail.com>, meaning I have not received any email claiming that the

                             3 representations in my email were not accurate of what Mr. Conrad said.

                             4         I declare under penalty of perjury under the laws of the State of California that the

                             5 foregoing is true and correct.

                             6                 Executed on December 9, 2021, at Riverside, California.

                             7
                                                                                     Scott Talkov
                             8

                             9

                            10
TELEPHONE (951) 888-3300
 2900 ADAMS ST STE C225




                            11
   RIVERSIDE, CA 92504
       TALKOV LAW




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                                  DEFENDANT’S REQUEST FOR JUDICIAL NOTICE OF KARL AVETOOM PLEADINGS SHOWING
                                 THAT AN ADDITIONAL, SUBSTANTIVE DOCUMENT IN KARL AVETOOM’S SUMMARY JUDGMENT
                                    WAS A FABRICATION; SUPPORTING DECLARATIONS OF SCOTT TALKOV AND LEILANI
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                                                       Document PagePage70
                                                                         9 of 56
                                                                              117



                             1                             DECLARATION OF LEILANI CASPILLO

                             2          I, Leilani Caspillo, declare:

                             3          1.     I am a Paralegal with Talkov Law Corp, attorneys of record for Defendant in this

                             4 matter. The facts set forth herein are of my own personal knowledge and if sworn I could and

                             5 would testify competently thereto.

                             6          2.     On Tuesday, November 23, 2021, I received a copy of Karl Avetoom’s motion to

                             7 vacate a judgment portions of which are attached as Exhibit 5 hereto from a court running service

                             8 as shown in the email attached as Exhibit 4.

                             9          I declare under penalty of perjury under the laws of the State of California that the

                            10 foregoing is true and correct.
TELEPHONE (951) 888-3300




                                               Executed on December 9, 2021, at Riverside, California.
 2900 ADAMS ST STE C225




                            11
   RIVERSIDE, CA 92504
       TALKOV LAW




                            12
                                                                                      Leilani Caspillo
                            13

                            14

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                                  DEFENDANT’S REQUEST FOR JUDICIAL NOTICE OF KARL AVETOOM PLEADINGS SHOWING
                                 THAT AN ADDITIONAL, SUBSTANTIVE DOCUMENT IN KARL AVETOOM’S SUMMARY JUDGMENT
                                    WAS A FABRICATION; SUPPORTING DECLARATIONS OF SCOTT TALKOV AND LEILANI
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Case8:21-bk-10513-ES
     8:21-ap-01023-ES Doc
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                            Document Page
                                        Page71
                                             10of
                                                of117
                                                   56




                             Exhibit 1
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Case8:21-bk-10513-ES
     8:21-ap-01023-ES Doc
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                                             11of
                                                of117
                                                   56

     Case 8:21-ap-01023-ES         Doc 25 Filed 08/27/21 Entered 08/27/2116:49:40          Desc
                                   Main Document    Page 1 of 150



 1   Karl A vetoom
 2   1100 Rutland Road # 9
     Newport Beach, CA 92660
 3   (949) 929-4787
     Email kia002@att.net
 4

 5
     Creditor and Plaintiff, In Pro Per
 6

 7

 8                                UNITED STATES BANKRUPTCY COURT

 9                   CENTRAL DISTRICT OF CALIFORNIA- SANTA ANA DIVISION

10                                                              8:21-bk-10513-ES
     In re:
11   Rosa Fridman                                  Adversary Case No: 8:21-ap-01023-ES
12                                     Debtor      Hon: Erithe A. Smith
13
                                                   Chapter 7
14   Karl A vetoom
                                                   PLAINTIFF'S REPLY TO DEFENDANT'S
15                         Plaintiff               OPPOSITION TO MOTION FOR SUMMARY
16                                                 JUDGMENT. SUPPORTING DECLARATIONS
                     v.                            OF CHARLES L. MURRAY AND KARL
17   Rosa Fridman                                  AVETOOM
18                         Defendant               Hearing Info:
19                                                 September 9, 2021 2:00 p.m.
                                                   Crtrm. SA 411 W. Fourth St. Santa Ana CA 92701
20
     TO THE HONORABLE ERITHE A. SMITH, FEDERAL BANKRUPTCY JUDGE, TO
21
     DEFENDANT ROSA FRIDMAN AND HER ATTORNEY OF RECORD, AND TO ALL
22
     OTHER INTERESTED PARTIES AND THEIR ATTORNEYS OF RECORD: Plaintiff KARL
23
     AVETOOM ("Plaintiff') hereby submits his Reply to Defendant's Opposition to Plaintiffs Motion for
24
     Summary Judgment pursuant to 11 U.S.C. § 523(a)(10).
25

26

27

28




                   PLAINTIFF ' S REPLY TO OPPOSITION TO MOTION FOR SUMMARY JUDGMENT.
Case
Case8:21-bk-10513-ES
     8:21-ap-01023-ES Doc
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                                        Page73
                                             12of
                                                of117
                                                   56

     Case 8:21-ap-01023-ES           Doc 25 Filed 08/27/21 Entered 08/27/2116:49:40                    Desc
                                     Main Document    Page 6 of 150



 1           In addition, the State Court ruled on February 13, 2020 that the Trust cannot legally own any assets.

 2   ECF 9, page 249 ,r 1.

 3
                     To the extent that any party is suggesting that a trust can hold title to
 4
                     assets this is not the law. The law is clear, a trust is not a person or
 5                   legal entity that can hold title to assets, nor can it sue, or be sued.
                     Therefore, assets of the trust are held in the name of the trustee, as is the
 6                   case herein. (See Galdjie v. Darwish (2003) 113 Cal.App.4th 1331, 1344;
                     Greenspan v. LADT, LLC (2010) 191 Cal.App.4th 486, 496; Portico
 7
                     Mgmt. Group, LLC v. Harrison (2011) 202 Cal.App.4th 464, 474.)
 8           Again, Defendant's representations that the Trust would be liable is soundly rejected by
 9   Defendant's prior representation under oath that she remains liable individually and in her capacity as a
10
     Trustee, not the Trust. Unless Defendant is now admitting that she intended to defraud Plaintiff into
11
     entering into a Settlement, a contract under California law, that offered no consideration to escape liability
12
     for the fraudulent transfer case.
13
             The Fridmans and their attorneys have still not learned that they cannot change stories from one
14   court to another. This Court admonished Defendant's counsel in 2015 for doing so. The Court of Appeal
15   did so in Fridman v. Beach Crest where Defendant's attorney claimed the Fridmans retained an interest in
16   the same judgment that this Court previously ruled the Fridmans had no legal or equitable interest in. Now
17
     the Debtor lists a claim against these attorneys after threatening them with a lawsuit for breach of fiduciary
18
     duty. See ECF Doc 9, pg. 222.
19           The 2020 Judgment arose from the July 9, 2019 Settlement where Debtor agreed under oath
20
     that the 2011 Judgment was still enforceable and that the Settlement and its terms, including the 1542
21   waiver, only applied to the 2015 fraudulent transfer case. Defendant can only rely on her continued
22
     "sham" offerings which are contradicted by years of her sworn testimony and pleadings affirming her
23
     belief that the 2011 Judgment remains independently enforceable.
24
             Defendant signed a contract on October 3, 2019 affirming her position that the 2011 judgment
25   remains independently enforceable, conveying a consensual lien in exchange for Plaintiff not initiating
26
     judicial foreclosure proceedings on her to satisfy part of his unpaid debt.
27
     II
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     II


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                    PLAINTIFF ' S REPLY TO OPPOSITION TO MOTION FOR SUMMARY JUDGMENT.
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                                        Page74
                                             13of
                                                of117
                                                   56

     Case 8:21-ap-01023-ES        Doc 25 Filed 08/27/21 Entered 08/27/2116:49:40                  Desc
                                  Main Document    Page 8 of 150



 1   case no. 30-2010-00345490. On August 20, 2021 Defendant and her Bankruptcy attorney Scott
 2   Talkov appeared before the State Court in the 2011 judgment enforcement proceedings and again
 3   never claimed that the 2011 Judgment was not enforceable.
 4          Debtor's conduct, attending numerous Judgment Debtor Exams for the 2011 State Court
 5   judgment since 2019 through 2021, Defendant's January 2021 "Notice of Compliance" filed in the
 6   State Court containing nineteen answers stating she has complied with producing records for the
 7   enforcement of the 2011 Judgment never once stated the judgment was waived, substituted, erased by
 8   a novation, or no longer enforceable. Defendant, supported by Scott Talkov, filed an Answer to the
 9   Order to Show cause, again failing to raise at any time the 2011 Judgment was no longer enforceable.
10          On August 20, 2021 Defendant and Scott Talkov appeared for Defendant's arraignment for two
11   counts of contempt. Again, no mention that the court was conducting a contempt proceeding
12   stemming from an unenforceable judgment.
13          The biggest problems are Defendant's stipulation that the 2011 Judgment against her remains
14   enforceable against her as demonstrated in her 2019 stipulation under oath before the State Court, and
15   in the 2020 incarnation of the relating Judgment (Avetoom declaration Exhibit "l", Reporter's
16   Transcript July 9, 2015 Avetoom v. Risbrough, et al).
17          In addition on October 3, 2019 after Defendant now desperately and fraudulently claims she
18   didn't believe the 2011 judgment was enforceable, Defendant signed a contract with Plaintiff affirming
19   the continued enforceability of the 2011 judgment, exchanging a consensual lien for Plaintiffs promise
20   not to initiate foreclosure proceedings against Defendant (Avetoom declaration Exhibit "2").
21          In addition, Defendant continues to appear for enforcement proceedings for the 2011 Judgment
22   (OCSC Case No. 30-2010-00345390). And Defendant was served with a judgment debtor
23   examination Order for the 2015 case, relating to the separate 2020 judgment (Exhibit "3").
24          Defendant Rosa Fridman falsely asserts in her Declaration in Opposition that she opined the
25   2011 judgment was no longer enforceable (Rosa Fridman Deel. ,r,r 3, 4).
26          However, Defendant has acted to the contrary by participating, testifying under oath and by
27   submitting documents for the enforcement of the 2011 Judgment in Avetoom v. Arce, Fridman OCSC
28   Case No. 30-2010-00345490 for over two years.


                                                        4
                  PLAINTIFF ' S REPLY TO OPPOSITION TO MOTION FOR SUMMARY JUDGMENT.
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Case8:21-bk-10513-ES
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                            Document Page
                                        Page75
                                             14of
                                                of117
                                                   56

     Case 8:21-ap-01023-ES         Doc 25 Filed 08/27/21 Entered 08/27/2116:49:40                  Desc
                                   Main Document    Page 17 of 150



 1        The Supreme Court has explained that the "[s]ummary judgment procedure is properly regarded

 2   not as a disfavored procedural shortcut, but rather as an integral part of the Federal Rules as a whole,
 3   which are designed to secure the just, speedy and inexpensive determination of every action." Celotex

 4   Corp. v. Catrett, 477 U.S. 317,327 (1986) (internal quotation marks omitted). Some form of the sham
 5   affidavit rule is necessary to maintain this principle. This is because, as we have explained, "if a party

 6   who has been examined at length on deposition could raise an issue of fact simply by submitting
 7   an affidavit contradicting his own prior testimony, this would greatly diminish the utility of
 8   summary judgment as a procedure for screening out sham issues of fact." Kennedy, 952 F.2d at

 9   266 (quoting Foster v. Arcata Assocs., Inc., 772 F.2d 1453, 1462 (9th Cir.1985)). See Van Asdale v.
10   International Game Technology (9th Cir. 2009) 577 F.3d 989, 998.
11          Defendant's Opposition offers Defendant's declaration new illogical claim that she believed the

12   2011 Judgment was no longer enforceable (Declaration Rosa Fridman ,r,r 3, 4).
13          Rosa Fridman's claim of "I was under the impression . . . "is a sham, another fraudulent

14   statement that contrdicts her prior sworn testimony in a 2019 Settlement proceeding, her 2019 through
15   2020 debtor exams under oath, and Defendant's numerous pleadings in the 2011 judgment

16   enforcement proceedings, all of which affirmed she understood the proceedings where she represented
17   she was complying with her obligations in enforcement proceedings relative to the 2011 judgment.

18          Defendant's last-minute amendment to her schedules, to now "dispute" the 2011 Judgment,
19   demonstrates that the Defendant and her attorney are willing to offer false evidence in a vain attempt to

20   overcome all of the Defendant's prior testimony under oath in the State Court.
21          Defendant's "sham" affidavit and sham amendments are insufficient to overcome her prior
22   sworn testimony, her filings under oath, and her October 3, 2019 Contract that affirms Defendant knew
23   the 2011 Judgment remained enforceable.

24

25     IX. DEFENDANT HAS NOT JUSTIFIED HER NEED FOR DISCOVERY THAT

26          W ARRARNTS DENIAL OF PLAINTIFF'S MOTION. RATHER HER NEED

27          DEMONSTRATES HER PROPENSITY FOR DISCOVERY ABUSE.

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                   PLAINTIFF'S REPLY TO OPPOSITION TO MOTION FOR SUMMARY JUDGMENT.
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                                                of117
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     Case 8:21-ap-01023-ES        Doc 25 Filed 08/27/21 Entered 08/27/2116:49:40                  Desc
                                  Main Document    Page 20 of 150



 1                                DECLARATION OF KARL A VETOOM
 2       I, Karl Avetoom, hereby declare as follows:
 3             1.   I am the Plaintiff in the above entitled adversary proceeding, a creditor to the main

 4   bankruptcy case and Defendant's former bankruptcy case. I have personal knowledge of the following

 5   facts and if called upon to testify under oath, I could and would do so competently to the following

 6   facts.

 7             2.   I make this declaration in support of my Reply to Defendant's Opposition to my motion
 8   for summary judgment pending before this Court.

 9             3.   Attached to my declaration as Exhibit "1" is a true and correct copy of the Repoter' s

10   Transcript of proceedings for July 9, 2019 before Hon. Theodore Howard inAvetoom v. Risbrough.

11             4.   Attached to my declaration as Exhibit "2" is a true and correct copy of a Contract
12   executed by Defendant and myself on October 3, 2019 that affirms Defendant's knowledge that the
13   2011 Judgment remains enforceable by consenting to a lien against her property to satisfy the unpaid

14   balance on the 2011 State Court judgment in OCSC case no 30-2010-00345490.

15             5.   Attached to my declaration as Exhibit "3" is a true and correct copy of an August 29,

16   2019 Minute Order for a Judgment Debtor Exam for the 2011 Judgment.

17             6.   Attached to my declaration as Exhibit "4" is a true and correct copy of an October 3,

18   2019 Minute Order for a Judgment Debtor Exam for 2011 Judgment.

19             7.   Attached to my declaration as Exhibit " 5" is a true and correct copy of an October 31,

20   2019 Minute Order for a Judgment Debtor Exam for 2011 Judgment.

21             8.   Attached to my declaration as Exhibit "6" is a true and correct copy of an August 31 ,

22   2020 Minute Order for a Judgment Debtor Exam for the 2011 Judgment.

23             9.   Attached to my declaration as Exhibit "7" is a true and correct copy of a September 21,

24   2020 Minute Order for a Judgment Debtor Exam for 2011 Judgment.
25             10. Attached to my declaration as Exhibit "8" is a true and correct copy of a November 16,

26   2020 Minute Order for a Judgment Debtor Exam for the 2011 Judgment & Motion to Compel
27   Production of Documents to Enforce the 2011 Judgment.

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                    PLAINTIFF ' S REPLY TO OPPOSITION TO MOTION FOR SUMMARY JUDGMENT.
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     Case 8:21-ap-01023-ES            Doc 25 Filed 08/27/21 Entered 08/27/2116:49:40              Desc
                                      Main Document    Page 22 of 150



 1   to help him get out of the case because of problems with the Defendant's sons. At a later hearing in

 2   2021 Mr. Mokri was informed that I was still able to independently pursue collection of my 2011
 3   Judgment as the 2019 Settlement only resolved the 2015 case, and did not stop the enforcement of the

 4   2011 judgment separately.
 5             21. Since the 2019 Settlement which gave rise to the 2020 Judgment, Defendant has

 6   attended numerous judgment enforcement proceedings, testified under oath on numerous occasions
 7   and represented to the Court that she is complying with enforcement of the 2011 judgment. Defendant
 8   has even filed a Notice of Compliance after the 2020 judgment was entered, stating that she is
 9   complying with the State Court proceedings for enforcement of the 2011 judgment. At no time has

10   Defendant/Debtor or her attorney claimed the 2011 Judgment was no longer enforceable.

11

12              I declare under penalty of perjury under the laws of the State of California that the
13   foregoing is true and correct.
14   Executed August 27, 2021 in Newport Beach, CA

15

16                                                        By:     Isl Karl Avetoom
17                                                                Karl Avetoom

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                   PLAINTIFF'S REPLY TO OPPOSITION TO MOTION FOR SUMMARY JUDGMENT.
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     Case 8:21-ap-01023-ES   Doc 25 Filed 08/27/21 Entered 08/27/2116:49:40      Desc
                             Main Document    Page 44 of 150



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                                                of117
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    Case 8:21-ap-01023-ES         Doc 25 Filed 08/27/21 Entered 08/27/2116:49:40                   Desc
                                 Main Document    Page 149 of 150
                            DECLARATION OF CHARLES L. MURRAY


    I, Charles L. Murray, hereby declare as follows :

             1.    I am an attorney duly licensed to practice law before the California Courts, and
    admitted to the Federal District Federal and Bankruptcy Courts for the central district of

    California. I have personal knowledge of the following facts and if called upon to testify under

    oath, I could and would do so competently to the following facts.
             2.    I was the attorney ofrecord for Plaintiff Karl Avetoom inAvetoom v. Risbrough,

    et al. OCSC Case No. 30-2015-00820760-CU-FR-NJC.
             3.    On or around July 9, 2019 I was counsel ofrecord for Karl Avetoom and present

    when the parties, Plaintiff Karl Avetoom and Defendant Rosa Fridman, placed their Settlement
    on the record, under oath, before the Court. Both parties agreed that the 2011 Judgment in

    Avetoom v. Arce, Fridman, OCSC Case No. 30-2010-00345490 would remain enforceable by
    Karl A vetoom. The Trial Court, Hon. Theodore Howard, clarified that the Settlement including
    the Section 1542 waiver applied only to claims in the 2015 matter of Avetoom v. Risbrough, et

    al. I confirmed with the Trial Court that my client, Mr. A vetoom, was not waiving his right to
    individually enforce the 2011 Judgment inAvetoom v. Arce.

             4.    Between August 30, 2019 and September 13, 2019 at a continued Order to Show
    Cause Re: Dismissal, the Trial Court informed the parties and their counsel that Mr. A vetoom
    was free to continue enforcement of his 2011 Judgment before Judge Honer in Avetoom v. Arce,
    Fridman 30-2010-00345490, including continued judgment debtor examinations, as the 2015

    case and its 2019 Settlement did not prevent Mr. A vetoom from continuing his judgment
    enforcement of the 2011 judgment. The Trial Court informed the parties, including Defendant's
    counsel, that the 2019 Settlement did not affect enforcement of Plaintiffs 2011 Judgment
             5.    I have personal knowledge the Defendant Rosa Fridman has continued to attend

    judgment enforcement proceedings for the 2011 Judgment in case no. 30-2010-00345490.
           I declare under penalty of perjury under the laws of the State of California that the

    foregoing is true and correct.
                                                                ~ L ~ c1c1c1
    Executed August 26, 2021 in Los Angeles         CA    By:

                                                                 Charles L. Murray III.
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                                                                                            Scott Talkov <scott@talkovlaw.com>



  Document Indicating That You Witnessed a Signature
  Scott Talkov <scott@talkovlaw.com>                                                                  Tue, Aug 24, 2021 at 5:38 PM
  To: hconrad67@gmail.com

    Hi Herbert,

    It was a pleasure to speak with you today where you indicated having no recollection of anyone by the name of Karl
    Avetoom, or having witnessed any document that he may have asked you to witness. The document is attached for your
    reference.

    All the best,


                                Scott Talkov | Attorney, Talkov Law
                                e: scott@talkovlaw.com | w: www.talkovlaw.com
                                p: (951) 888-3300



     2 attachments
         7-1- Claim 7 filed by Karl Avetoom Amount claimed 270000 00 (Electronic.pdf
         54K
         7-1_2- Claim 7 filed by Karl Avetoom Amount claimed 270000 00 (Electronic.pdf
         1871K




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                                        Page83
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     8:21-ap-01023-ES Doc
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     Case 8:21-bk-10513-ES         Doc 93 Filed 09/30/21 Entered 09/30/2118:0l:16             Desc
                                   Main Document    Page 1 of 151



 1   Karl Avetoom
 2   1100 Rutland Road # 9
     Newport Beach, CA 92660
 3   (949) 929-4787
     Email kia002@att.net
 4

 5
     Creditor and Plaintiff, In Pro Per
 6

 7

 8                                UNITED STATES BANKRUPTCY COURT

 9                   CENTRAL DISTRICT OF CALIFORNIA- SANTA ANA DIVISION

10                                                     ) CaseNo:       8:21-bk-10513-ES
     Inre:
11   Rosa Fridman                                          Hon: Erithe A. Smith
12
13

14
                                                       I   Chapter 7

                                                           CREDITOR KARL AVETOOM'S NOTICE
                                                           OF AND OBJECTION AND AFFIRMATIVE
                                                           DEFENSES TO ROSA FRIDMAN'S
15

16
                                                       I   CLAIMED HOMESTEAD EXEMPTION.

                                                           Hearing Info:


                                                       l
17                                                         Date:       January 20, 2022
                                                           Time:       2:00 P.M.
18
                                                           Location: Virtual Hearing via Zoom.gov
19                                                     )
     ----------------
     TO THE HONORABLE ERITHE A. SMITH, FEDERAL BANKRUPTCY JUDGE, TO ROSA
20
     FRIDMAN AND HER ATTORNEY OF RECORD, AND TO ALL INTERESTED PARTIES:
21
             PLEASE TAKE NOTICE that on January 20, 2022, at 2:00 p.m., in Courtroom 5A in the
22
     above-entitled Court located at 411 W. Fourth Street, Santa Ana, California, the Court will conduct a
23
     hearing on the Objection to Debtor's Claimed Homestead Exemptions ("Objection") filed by Karl
24
     A vetoom, in his capacity as a Creditor ("Creditor") of the bankruptcy estate of Rosa Fridman
25
     ("Debtor"). *Hearing to be conducted remotely via Zoom.gov Supplemental Notice attached.
26
             This Objection is based upon the Notice of Objection and Objection to the Debtor's Claimed
27
     Homestead Exemptions; Memorandum of Points and Authorities; the Declaration of Karl A vetoom,
28




                      NOTICE OF OBJECTION TO ROSA FRIDMAN'S HOMESTEAD EXEMPTION
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Case8:21-bk-10513-ES
     8:21-ap-01023-ES Doc
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                                                of117
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     Case 8:21-bk-10513-ES          Doc 93 Filed 09/30/21 Entered 09/30/2118:01:16                  Desc
                                    Main Document    Page 8 of 151



 1   But an Article 5 exemption applies only to 'voluntary sales,' and not to 'forced sales' such as the filing

 2   of a bankruptcy petition at issue here. See, e.g. , Kelley v. Locke (In re Kelley), 300 B.R. 11, 20-21
 3   (B.A.P. 9th Cir.2003); Katz v. Pike (In re Pike), 243 B.R. 66, 70 (B.A.P. 9th Cir.1999)." In re

 4   Showalter (9th Cir. 2015) 617 Fed.Appx. 709, 710.

 5          As a matter of 9th Circuit law and 9th Circuit BAP law, Rosa Fridman's election of a "declared"
 6   homestead does not afford her an exemption in the bankruptcy arena.

 7          Rosa Fridman will mistakenly rely on factually opposite case law ofln re Zall. No. BAP.EC-
 8   05-1476-MOSB, 2006 WL 6811022, at *4 (B.A.P. 9th Cir., Sept. 5, 2006) applied to an automatic

 9   homestead, not a declared homestead. ["Unlike the present case, neither In re Morgan nor Bernhanu
10   pertained to the automatic homestead exemption statute."]. In re Mayer, 167 B.R. 186 (B.A.P. 9th Cir.

11   1994) again is an automatic homestead case. ["Mayer claimed a homestead exemption of $100,000 in
12   the property under Calif.Civ.Proc.Code §§ 704.710 and 704.730(a)(3)(C)."] Id. at 187.
13          As a matter oflaw Rosa Fridman can obtain any declared homestead exemption that give her

14   any benefit in the bankruptcy context of a "forced sale."

15     IV. A DEBTOR CANNOT EXEMPT REAL PROPERTY SHE HAS FULLLY IMPAIRED

16          VOLUNTARILY.
17          On October 3, 2019 Movant/Creditor and Rosa Fridman, in her personal capacity and in her

18   capacity as Trustee for The Fridman Family Trust Established April 14, 2000, entered into a written
19   contract. The terms of the Contract were such that Creditor Karl A vetoom agreed not to initiate any

20   foreclosure proceeding against Debtor's real property, in exchange, Debtor agreed to give Creditor a
21   lien against her undivided 68.3% real property. The Contract was executed and witnessed. On August
22   24, 2021 Debtor's attorney, Scott Talkov, contacted one of the witnesses who verified he had
23   witnessed the signing of the October 3. Scott Talkov then attempted to get the witness to change his

24   testimony (Declaration of Herbert Conrad ,r,r 2-4). See also declaration of Karl Avetoom at ,r 9 who
25   was in the courtroom when Rosa Fridman accepted his offer to enter into a contract to assuage her

26   complaints that Creditor Karl A vetoom would force Debtor out of her home.
27          Under California Civil Code § 2881 a lien is created by contract. See also Hill v. Fricke (1936)

28   5 Cal.2d 320, 323 where the Court held a lien existed against real property by contract. "Section 2872



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                      NOTICE OF OBJECTION TO ROSA FRIDMAN'S HOMESTEAD EXEMPTION
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Case8:21-bk-10513-ES
     8:21-ap-01023-ES Doc
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                                        Page86
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                                                of117
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     Case 8:21-bk-10513-ES          Doc 93 Filed 09/30/21 Entered 09/30/2118:0l:16                 Desc
                                    Main Document    Page 13 of 151



 1   the Settlement Agreement. As this bankruptcy court agreed in September 2021, the 2020 Judgment

 2   gives nothing to Creditor. Put another way, Rosa Fridman concealed her intent to file for bankruptcy
 3   during the Settlement, she had already signed up for a bankruptcy educational class establishing

 4   knowledge of her intent to use bankruptcy to void the Settlement. Rosa Fridman concealed her intent

 5   to induce Creditor to dismiss the fraudulent transfer case against her. Creditor justifiably relied on the

 6   Settlement Agreement entered on the record by Rosa Fridman, under oath. The Settlement Agreement
 7   resulted in an anticipated judgment in exchange for a dismissal of liability against Rosa Fridman.

 8   Creditor was harmed by Rosa Fridman's conduct in dismissing a fraudulent transfer liability case
 9   which is non-dischargeable under bankruptcy law.

10             As iterated by Judge Howard in 2021, Rosa Fridman's conduct will lead to additional litigation
11   as a result of the now disputed Settlement.

12
13     VI. CONCLUSION.
14        Based upon the foregoing objection and state based affirmative defenses, this Court on equity

15   should:

16                    1. Sustain this Objection; and

17

18                    2. Disallow the Real Property Schedule "C" Exemption in its entirety; or

19
20                    3. Set an evidentiary hearing on Creditor's affirmative defenses, and
21

22                    4. For such other and further relief as the Court deems just and proper.

23

24   Dated: September 30, 2021                         By:    Isl Karl Avetoom
25
                                                              Karl Avetoom, Creditor and Moving party.
26
27
28


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                        NOTICE OF OBJECTION TO ROSA FRIDMAN'S HOMESTEAD EXEMPTION
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Case8:21-bk-10513-ES
     8:21-ap-01023-ES Doc
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                                                of117
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     Case 8:21-bk-10513-ES         Doc 93 Filed 09/30/21 Entered 09/30/2118:01:16                  Desc
                                   Main Document    Page 14 of 151



 1                                 DECLARATION OF KARL A VETOOM
 2   I, Karl Avetoom, hereby declare as follows:
 3         1.        I am a creditor in the above entitled bankruptcy case of Rosa Fridman and Plaintiff and

 4   Judgment creditor in the State cases. I have personal knowledge of the following facts and if called

 5   upon to testify under oath, I could and would do so competently.

 6         2.        I make this declaration in support of my motion to dismiss Rosa Fridman's bankruptcy

 7   case currently pending before this Court.

 8         3.        Attached to my declaration as Exhibit "l" is a true and correct copy of the November

 9   18, 2011 State Court judgment in Avetoom v. Arce, et al 30-2010-00345490.

10         4.        Attached to my declaration as Exhibit "2" is a true and correct copy of the Chapter 7

11   Trustee's Section 727 Complaint against Rosa Fridman.

12         5.        Attached to my declaration as Exhibit "3" is a true and correct copy of Rosa Fridman's
13   stipulation to denial of discharge on all counts in the Chapter 7 Trustee's Section 727 Complaint.

14         6.        Attached to my declaration as Exhibit "4" is a true and correct copy of this Court's
15   Judgment deny Rosa Fridman discharge under Section 727.

16         7.        Attached to my declaration as Exhibit "5" is a true and correct copy of the Reporter's
17   Transcript from July 9, 2019 in the Avetoom v. Risbrough, et al state fraudulent transfer action.

18         8.        Attached to my declaration as Exhibit "6" is a true and correct copy of the August 15,
19   2020 Judgment in the Avetoom v. Risbrough fraudulent transfer action, the caption changed by the

20   Court to Avetoom v. Fridman after the Risbrough defendants were dismissed after settling the case

21   before trial.
22         9.        Attached to my declaration as Exhibit "7" is a true and correct copy of the Contract
23   entered into between myself and Rosa Fridman on or around October 3, 2019 after Rosa Fridman

24   complained to Judge Sherri Honer that I was going to foreclose on her property and kick her out. I
25   entered into this Contract that created a consensual lien promising not to initiate foreclosure

26   proceedings in exchange for Rosa Fridman maintaining the property, not transferring the property and
27   agreeing to give me a voluntary consensual lien against the Blackbeard Lane property as security

28   towards the unpaid balance on the 2011 State Court judgment, Avetoom v. Arce, et al 30-2010-



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                      NOTICE OF OBJECTION TO ROSA FRIDMAN'S HOMESTEAD EXEMPTION
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Case8:21-bk-10513-ES
     8:21-ap-01023-ES Doc
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                                        Page88
                                             27of
                                                of117
                                                   56

     Case 8:21-bk-10513-ES         Doc 93 Filed 09/30/21 Entered 09/30/2118:01:16                 Desc
                                   Main Document    Page 15 of 151



 1   00345490. On that day, Rosa Fridman's son, who had been banned from attending the Debtor

 2   Examinations due to his interference, demanded he take the "Contract" for two weeks, without
 3   explaining why. I refused to give the Contract to him due to his ongoing interference with my rights to

 4   collect on my outstanding 2011 judgment.

 5        10.       Attached to my declaration as Exhibit "8" is a true and correct copy of Rosa Fridman's
 6   Schedule "C" declaring her real property at Blackbeard Lane as exempt.

 7        11.       Attached to my declaration as Exhibit "9" is a true and correct copy of the Declared
 8   Homestead declaration filed in Rosa Fridman's Lien Avoidance Motion.

 9        12.       Attached to my declaration as Exhibit "10" is a true and correct copy of Rosa Fridman's

10   Notice of Errata, substituting in a recorded copy of Rosa Fridman's Declaration of Homestead.

11        13.       Attached to my declaration as Exhibit "11" is a true and correct copy of Scott Talkov's
12   blog, published a few days after the Court granted the Lien Avoidance Motion explaining how using
13   Section 522(f) could avoid liability under state court fraudulent transfer law. Rosa Fridman had

14   repeatedly stated in the State Court proceedings that she wanted the Property to go to Alex Fridman,
15   aka Alex Theory, because he is broke. Alex Theory /Fridman is listed on the initial title report used in

16   Rosa Fridman's LAM. And blind copied on emails from Scott Talkov relating to the lien avoidance.

17        14.       On June 29, 2021 Rosa Fridman testified in her Section 341 exam that no one had filed
18   any action to foreclose on her real property (Avetoom decl. Exh. "12" RT 25). Attached to my
19   declaration as Exhibit "12" are true and correct copies of the relevant Reporter's Transcript of that day.

20        15.       Attached to my declaration as Exhibit "13" is a true and correct copy of Rosa Fridman's

21   Appellee's brief relevant pages establishing she asserted a declared homestead.

22        16.       Attached to my declaration as Exhibit "14" is the Reporter's Transcript pages from
23   Rosa Fridman's "341" examination relating to how she claimed to have taken the pre-bankruptcy

24   educational class herself and gave her attorney a $50,000 deed of trust that she remains liable to repay.

25        17.       I contacted several debtor education businesses, one reported that in early July 2019

26   Rosa Fridman enrolled for a pre-bankruptcy course.
27   I declare under penalty of perjury under the laws of the United States that the foregoing is true and

28   correct to the best of my knowledge.



                                                         13
                      NOTICE OF OBJECTION TO ROSA FRIDMAN'S HOMESTEAD EXEMPTION
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Case8:21-bk-10513-ES
     8:21-ap-01023-ES Doc
                      Doc114
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                                                of117
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     Case 8:21-bk-10513-ES      Doc 93 Filed 09/30/21 Entered 09/30/2118:0l:16   Desc
                                Main Document    Page 16 of 151



 1   Executed September 30, 2021 in Newport Beach, Ca.
 2                                                   By:   Isl Karl Avetoom
 3
                                                           Karl Avetoom
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                    NOTICE OF OBJECTION TO ROSA FRIDMAN'S HOMESTEAD EXEMPTION
Case
Case8:21-bk-10513-ES
     8:21-ap-01023-ES Doc
                      Doc114
                           78 Filed
                               Filed12/09/21
                                    01/27/22 Entered
                                              Entered12/09/21
                                                      01/27/2218:28:08
                                                              15:41:21 Desc
                                                                       Desc
                      Main
                       MainDocument
                            Document Page
                                        Page90
                                             29of
                                                of117
                                                   56

     Case 8:21-bk-10513-ES   Doc 93 Filed 09/30/21 Entered 09/30/2118:0l:16   Desc
                             Main Document    Page 76 of 151



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 2
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 4
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27                                    EXHIBIT "7"
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                                             21
                  NOTICE OF OBJECTION TO ROSA FRIDMAN'S HOMESTEAD EXEMPTION
Case
Case8:21-bk-10513-ES
     8:21-ap-01023-ES Doc
                      Doc114
                           78 Filed
                               Filed12/09/21
                                    01/27/22 Entered
                                              Entered12/09/21
                                                      01/27/2218:28:08
                                                              15:41:21 Desc
                                                                       Desc
                      Main
                       MainDocument
                            Document Page
                                        Page91
                                             30of
                                                of117
                                                   56




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Case8:21-bk-10513-ES
     8:21-ap-01023-ES Doc
                      Doc114
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                               Filed12/09/21
                                    01/27/22 Entered
                                              Entered12/09/21
                                                      01/27/2218:28:08
                                                              15:41:21 Desc
                                                                       Desc
                      Main
                       MainDocument
                            Document Page
                                        Page92
                                             31of
                                                of117
                                                   56

    Case 8:21-bk-10513-ES         Doc 93 Filed 09/30/21 Entered 09/30/2118:01:16                        Desc
                                 Main Document    Page 148 of 151




                              DICLA'.R:AT10N OP DR.BERT CONRAD
     I, Herbert Gonrad,.hereby declare as follows:
               1.   I am. ovenhe age of.eighteen and have personal knowledge of the foUowing facts.
     If called upon to testify under oa:th, I collld ~d would do so eompetently.
               2.   On August 24, 2021 I rec.civoo .a phone caJl from an attorney by the name ofScott
    Tallrov. This attorney askedme ifl had wnnessed the signing of.a,document..at,theOrange
    County Superfor Court on or around Octob~ 3, 2019'.; The attorney was f;eying to put words in
    my mouth,. a.tteinpting to have be. state that. I did not know the people and did not witness the
    document being signed. The attorney was trying to feed answers to me to get me to take a
    position onadocument from 20 l9. I even~lly asked him to ~nd roe by email a copy of the
    d®untent which he did. But his email was already filled out falsely representing my statements.
               3.   I reviewed the document and recalled that I had be.en asked by two people at the
    Orange. County Superior Court to bea witness to the signing of a document'" the s~e documents:
    :tit1m "'Coot,act" that the attomeybaa ~ tQ mt: via ~iJ. l :r~cm be.mg- a.skcm tD be a
    witness and agreed to be a witness to the signing of this document. I explained to attorney Scott
    Taklov that I had witnessed an older woman ~gn the doeummit,thmi followed by two other.
    parties. l ti~ the d . ~ 1-t~ The attorney did not seem too ~PPY tc, hear this and sllortly
    ended the phone call,
               4.   I felt uncomfortable by the attorney trying to influence me into answering how he
    wanted. basically putting words in my mau.th and falsely representing my prior statements. I
    emailed the attorney back and told him that his email representations. were not accurate of what I
    had said.
    l declmunder·penaUy ofpeljuzy •unaeF the Jaws of the United States that the a@v~ it tnJe and
    oorrect.
    Executed September 30,. 2Q21 in. FuUenon, Califontia
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Case8:21-bk-10513-ES
     8:21-ap-01023-ES Doc
                      Doc114
                           78 Filed
                               Filed12/09/21
                                    01/27/22 Entered
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                                                      01/27/2218:28:08
                                                              15:41:21 Desc
                                                                       Desc
                      Main
                       MainDocument
                            Document Page
                                        Page93
                                             32of
                                                of117
                                                   56




                             Exhibit 4
       Case
       Case8:21-bk-10513-ES
            8:21-ap-01023-ES Doc
                             Doc114
                                  78 Filed
                                      Filed12/09/21
                                           01/27/22 Entered
                                                     Entered12/09/21
                                                             01/27/2218:28:08
                                                                     15:41:21 Desc
                                                                              Desc
                             Main
                              MainDocument
                                   Document Page
                                               Page94
                                                    33of
                                                       of117
                                                          56

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Case8:21-bk-10513-ES
     8:21-ap-01023-ES Doc
                      Doc114
                           78 Filed
                               Filed12/09/21
                                    01/27/22 Entered
                                              Entered12/09/21
                                                      01/27/2218:28:08
                                                              15:41:21 Desc
                                                                       Desc
01234                 Main
                       MainDocument
                            Document Page
                                        Page95
                                             34of
                                                of117
                                                   56
Case
Case8:21-bk-10513-ES
     8:21-ap-01023-ES Doc
                      Doc114
                           78 Filed
                               Filed12/09/21
                                    01/27/22 Entered
                                              Entered12/09/21
                                                      01/27/2218:28:08
                                                              15:41:21 Desc
                                                                       Desc
                      Main
                       MainDocument
                            Document Page
                                        Page96
                                             35of
                                                of117
                                                   56




                             Exhibit 5
Case
Case8:21-bk-10513-ES
     8:21-ap-01023-ES Doc
                      Doc114
                           78 Filed
                               Filed12/09/21
                                    01/27/22 Entered
                                              Entered12/09/21
                                                      01/27/2218:28:08
                                                              15:41:21 Desc
                                                                       Desc
                      Main
                       MainDocument
                            Document Page
                                        Page97
                                             36of
                                                of117
                                                   56




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                                                                         SUPERIOR COURT OF CALIFORNIA
        Law Otlices of Sandra Nassar. A Professional Corporation                COUNTY OF ORANGE
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        19200 Von Karman Ave. Suite 400                                     CENTRALJUSTICECENll:R
    3   Irvine, CA 92612
        Office: 949-622-5442                                                     OCT 13 2021
   4    sandra@:snassarla\\. ,com                                        DAVID H. YAMASAKI, Clerk ol lhl COUii
        Allorneyfor Pe1iticmer:D~fe11Jant Karl /V<m A1·etoo111           BY: B 5ANCHFZ·YEGA DEPUTY
    6

    7                  THE SUPERIOR COURT OF THE STATE OF CALIFORNIA

               IN AND FOR THE COUNTY OF ORANGE, CENTRAL JUSTICE CENTER
    9
        PEOPLE OF THE STATE OF CALIFORNIA.                  Case No.: 96IIF 0016
   10
                       Plaintiff.
   II
        vs.                                                 MOTION TO VACATE A JUDGEMENT
   12                                                       PURSUANT TO PENAL CODE SECTION
        KARL IV All: AVETOOM.                               1473.6: POINTS AND AUTHORITIES IN
  13                                                        SUPPORT THEREOF
  14                   Defondant


  16

  17            PLEASE TAKE NOTICE THAT on November 12. 2021, at 9:00 a.m .• or as soon
  II
        !horea!kr as the mailer may be heard in Dcpanmem C5. or the assigned depamnem. of the
  19
        above-entitled court. Defendant KARL IV AN AVETOOM. by and through attorneys. will move
  20
        the Court for an order to vacate his 1997 convictions in this case pursuant to Penal Code Section
  21
        1473.6. based upon newly discovered evidence. The newly discovered evidence demonstrates

  23    fraud by a member of the prosecution team that completely undermines the prosecution's case.
  24    that is conclusiw. and points unerringly to his innocence. The newly discovered evidence proves

        that a member of the prosecution team testified falsely at trial. resulting in the conviction. and
  26
        that the testimony of the government official was substantially probative on the issue of guilt or
  27
  28    punishment. The newly discovered evidence establishes that misconduct by a member of the

        MOTION TO VACATE JUDGMENT• I
Case
Case8:21-bk-10513-ES
     8:21-ap-01023-ES Doc
                      Doc114
                           78 Filed
                               Filed12/09/21
                                    01/27/22 Entered
                                              Entered12/09/21
                                                      01/27/2218:28:08
                                                              15:41:21 Desc
                                                                       Desc
                      Main
                       MainDocument
                            Document Page
                                        Page98
                                             37of
                                                of117
                                                   56




        prosecution team was commined in the underlying case that resulted in fabrication of evidence

        substantially material and probative on the issue of guilt or pwtishment.
    J
                The Motion will be based upon this Notice of Motion and Motion for relief under Penal
    4
        Code Section 1473.6. Declaration of Karl Avetoom. Declaration of Barry Brooks. Declaration o

    6   Luke Loy. Declaration of Herbert Conrad. other exhibits. the Memorandum of Points and

    7   Authorities. all pleadings and records on tile hen:in. and any other documentary or testimonial
    8
        evidence submilled at the hearing of this Motion. It is respectfully requested that this Court take
    9
        judicial notice of the transcripts. tiles. briefs. motions. appellate decisions, and records in this
   10
        case. (Evid. Code sections 452. subdivision (d)(l ). 453. and 459.)
   II

   12

   13

  14
        Dated this 12th day of October. 2021
  I~

  16

  17                                                            ,7
  II                                                            Sandra Nassar
  19                                                            Charles L. Murray Ill
  20
                                                                H. G. Robert Fong
  21
                                                                Patricia Gitre. Pro Hae Vice
  22
                                                                Anorneys for Karl Jvan Ave1oom

  24
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        MOTION TO VACATF. JUDGMENT· 2
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Case8:21-bk-10513-ES
     8:21-ap-01023-ES Doc
                      Doc114
                           78 Filed
                               Filed12/09/21
                                    01/27/22 Entered
                                              Entered12/09/21
                                                      01/27/2218:28:08
                                                              15:41:21 Desc
                                                                       Desc
                      Main
                       MainDocument
                            Document Page
                                        Page99
                                             38of
                                                of117
                                                   56




                                                        TABLE OF CONTENTS

        I.     TABLE OF EXHIBITS .....................................................................................................
   3

   4    II.    11\TRODUCTION .............................................................................................................
    5
        Ill.   PROCEDURAL HISTORY ........................................................................................... 1.
   6

    7   IV.    STATEMENT OF THE CASE ...................................................................................... I
   8
        V.     1473.6 PC MOTION BROUGHT IN 20I0 .................................................................... 1
   9

   10   VI.    NEWLY DISCOVERED EVIDENCE .......................................................................... !

   II
                 A.     LETTER FROM DOT/ NHTSA AND DECLARATION FROM Lui;i; LOY ....................... 2
   12
                 B.    VIN VERIFICATION AND DECLARATION FROM FORMER LAPD OFFICER BARRY
   13
                       BROOKS ••••••••••••••.•••••.••••••...•••..••••..•..••.•.•.....•..••..••.••••...•.•.•••.••.•••.•..••.•..••••••••••••.•••••• 2
   14

   IS            C.    VIN VERIFICATION A:-D DECLARATION FROM FORMER LAPD OFFICER HERBERT

   16                  CONRAD AND VIN ASSIST. ······················································································2
   17
                 D.    OCA TT DETECTIVE ADMISSION OF DESTRUCTION OF EVIDENC'E. OBLITERATING
   18
                       THE VIN ................................................................................................................... 2
   19

  20    VII. MEMORANDUM OF POINTS AND AUTHORITIES AND ARGUMENT ............ 2
  21
                 E.    ALL OF TiiE EVIDENCE Is NEWLY DISC'OVERED •.•••..•••••••••••••.•.•••.•••....•.•....•.•••....•.•. 2
  22
                 F.    THE NEWLY DISCOVERED EVIDE:-iCE OF FRAUD BY A GoVERNMENT OFFICIAL
  23
  24                   COMPLETELY UNDERMINES THE PROSECUTI0J,;·s CASE. Is CONCLUSIVE. AND

  25                   POINTS UNERRl:-.IGLYTO MR. AVETooM·s INNOCENCE .......................................... 2

  26             G.    THE NEWLY DISCOVERED EVIDENCE DEMONSTRATES THAT A GOVERNMENT
  27
                       OFFlnAL TESTIFIED FALSELY AT THE TRIAL THAT RESL:L TED IN THE CONVICTIONS
  28


        MOTION TO VACATE JUDGMENT· S
Case
Case8:21-bk-10513-ES
     8:21-ap-01023-ES Doc
                       Doc114
                           78 Filed
                               Filed12/09/21
                                    01/27/22 Entered
                                              Entered12/09/21
                                                       01/27/2218:28:08
                                                               15:41:21 Desc
                                                                        Desc
                      Main
                       MainDocument
                            Document Page
                                        Page100
                                             39 of 117
                                                   56




                                    I. TABLE OF EXHIBITS
    2
        EXHIBIT                          DESCRIPTION
    3
                                         Declaration of Karl A\"ctoom
    4
        2                                Declaration of Barry Brooks
    5
    6   3                                Declaration of Luke Loy
    7   4                                Declaration of Herbcn Conrad
    8
        5                                Email from Eli1.abeth Molfetta (09/15/10)
    Q

        6                                Felony Complaint in case 95IIF0561
   IO
        7                                Information in case 96HF0016
   II

   12   8                                Lener from Los Angeles Police Dcpanmcnt (08/06/19)

   IJ   9                                Lener from OCATT to Alfonso Gayton (09/06/95)
   14
        JO                               Picture of motorcycle frame with 380 VIN
   15
        11                               Picture of motorcycle frame with 880 VIN
  16
        12                               Picture of obliterated VIN
   17
  18    13                               Expen"s repon comparing both motorcycle VINs

  19    14                               VIN Assist
  20

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        MOTION TO VACA TE JUDGMENT - 8
Case
Case8:21-bk-10513-ES
     8:21-ap-01023-ES Doc
                       Doc114
                           78 Filed
                               Filed12/09/21
                                    01/27/22 Entered
                                              Entered12/09/21
                                                       01/27/2218:28:08
                                                               15:41:21 Desc
                                                                        Desc
                      Main
                       MainDocument
                            Document Page
                                        Page101
                                             40 of 117
                                                   56




                2. A DMV '"Verification ofa Vehicle·· form that was perlormed and signed by I.APO

                   Ofliccr llrooks in Dcccmb.:r   199➔   in which he verities the existence of a Suzuki
    3
                   motorcycle with an intact VIN and it is the exact same VIN that ends in 880. LAPD
    4
                   Officer Brooks inspected this 880 VIN Suzuki before it supposedly came into
    5

    6              existence according to the prosecution"s theory. because the date of the inspection
    7              was prior to when Cruz·s motorcycle was stolen and supposedly altered.
    8
               3. Another DMV ··Veritication ofa Vehicle"" fom1 that was performed and signed by
    9
                   I.APO Ollicer Herbert Conrad in August 1996 in which he verifies the existence of a
   10
                    J990   Suzuki motorcycle with an intact VIN and it is the exact same VIN that ends in
   II

   12              380. which is Cruz" s motorcycle. LAPD Oflicer Conrad inspected this 380 VIN
   13              Suzuki alier it supposedly no long.er existed according to the prosecution·s theory.
  14
                   because the date of the inspection was atier Cruz"s motorcycle was stolen and
   15
                   supposedly permanently altered. This is compelling evidence that law enforcement
   16
                   did not seize the Cruz motorcycle. especially considering the VIN on the motorcycle
   17

   18              that law enforcement possessed was obliterated by them, causinl! the VIN to be
   19              unreadable. almost a year before this inspection found the 380 VIN intact and
  20
                   unaltered.
  21
        Mr. Avetoom could not have altered the Cruz motorcycle VIN as the evidence demonstrates it
  :?2
        was never altered. Further. the evidence proves the existence of a 1990 Suzuki with a VIN that
  23

  24    ends in 880. In light of this newly discovered evidence. the People cannot still maintain their
  25    theory that the 880 VIN motorcycle never existed but was only the altered 380 VIN motorcycle.
  26
        There are government documents and law enforcement witnesses that pmve otherwis.:. Worse
  27
        for the prosecution. the newly discovered evidence was in the possession of the prosecution team
  28


        MOTION TO VACA TE JUDGMENT. 11
Case
Case8:21-bk-10513-ES
     8:21-ap-01023-ES Doc
                       Doc114
                           78 Filed
                               Filed12/09/21
                                    01/27/22 Entered
                                              Entered12/09/21
                                                       01/27/2218:28:08
                                                               15:41:21 Desc
                                                                        Desc
                      Main
                       MainDocument
                            Document Page
                                        Page102
                                             41 of 117
                                                   56




       altered atier it was stolen to the 880 VIN is now pro\'en impossible because the motorcycle wilh
   2
       the 880 VIN   \\Us   observed lo exist before Duane Cruz's motorcycle was stolen amt supposedly
   3
       altered. This evidence also proves that the LAPD I LA TRAP, which was pan of the prosecution
   4
       team. had this evidence and failed to provide it to Mr. Avetoom or his legal defense team. Even
   5

   6   more damning is the fact that Detective Wiseman went 10 see LAPD Officer Brooks and

   7   discussed his VIN \'erification with him. So not only did the prosecution team have knowledge
   8
       of this evidence hut the main investigator on the case and the designated investigating otlicer at
   Q
       trial. Detecti\'c Wiseman. personally knew. Appallingly. this evidence was never provided to the
  10
       defense, Again. this misconduct rises 10 Constitutional levels and deprived Mr. A,·etoom ofa
  II

  12   fair trial. allowing the judge and jury to be deceived by fraudulent evidence and false testimony.

              c.   VIN Verification and Declaration from Former LAPD Officer Herbert Conrad
  14
                   and VIN Assist.
  15
              The VIN Verification and corresponding declaration from former Los Angeles Police
  16
       Oflicer Herben Conrad demonstrates that the 1990 Suzuki motorcycle with VIN 380 was
  17

  18   observed with a VI~ intact in August JQQ6, (EXHIBIT 4.) This is significant because August

  19   1996 is months atier Detective Wiseman said he observed the supposedly true 380 VIN
  w    motorcycle to be pem1anently altered to 880. lltis is als,, almost a year after an OCA TI
  21
       detective obliterated the VIN number on that motorcycle so that the VIN was unreadable. This
  22
       e,idence conclusively demonstrates that the 380 motorcycle was still in existence. even alter the
  23
  24   prosecution's evidence supposedly rendered that impossible.

  25          Even more telling is <11her newly discovered evidence. that the People pro,·ided to the
  26
       defense for the lirst time on March 4. 2011. the VIN Assist. (EXHIBIT 14.) The VIN Assist
  27
       shows the engine that belongs to VIN 380 is V710 I06071. which is what Otliccr Conrad listed.
  28

       MOTION   TO VACATE JUDGMENT· 23
Case
Case8:21-bk-10513-ES
     8:21-ap-01023-ES Doc
                       Doc114
                           78 Filed
                               Filed12/09/21
                                    01/27/22 Entered
                                              Entered12/09/21
                                                       01/27/2218:28:08
                                                               15:41:21 Desc
                                                                        Desc
                      Main
                       MainDocument
                            Document Page
                                        Page103
                                             42 of 117
                                                   56




       This establishes the ,wacit> of'the Conrad verification and that the 380 VIN motorcycle was
   2
       never altered. including the engine. The VIN and engine arc consistent with each other. At trial,
   3
       the evidence indicated the engine in the Suzuki motorcycle was a dillcrcnt type and number.
   4
       The engine and 380 VIN could only match years later if the motorcycle seized by the prosecutio
   $

   6   team was not the 380 VIN.
   7          The logical cunclusion is thal the OC'ATT detectives did not observe an altered 380
   8
       motorcycle or obliterate the VIN on the 380 motorcycle. but instead observed the true 880 VIN
   q
       motorcycle and then obliterated its VIN which is why the 380 motorcycle still existed. This also
  10
       explains wh>· Mr. Avetoom was able to find the frame of'the 380 VIN motorcycle years later
  II

  12   with it appearing unaltered. Shockingly. this evidence. that exonerates Mr. Avetoom was in the
  13   possession of the prosecution team a year bdore Mr. Avetoom ·s jury trial. This evidence alone,
  14
       much less combined "ith the other evidence. proves that Detectives Wiseman and Thrasher"s
  IS
       testimony al trial was false and untrue.
  16
              d. OCATT Detective Admission of Destruction of E,·idence, Obliterating the VIN
  17

  18          In 1995. a detective with OCA TT ohliteratcd the VIN on the motorcycle and 11ave it to
  Jq   State !'arm Insurance. This was done prior lo any hearings being held on the case. It prevented
  20
       any real investigation of the alleged altered VIN by the defense. It further prevented any fact
  21
       finders. such as the judge or jury. from observing the VIN for themselves. Instead. they had to

       rely on Detective Wiseman and Detectiw Thrasher and their opinion about it being altered. The
  23

  24   only other evidence was a picture of the 880 VIN that did not appear altered. (EXHIBIT 11.)

       However. at the time. the prosecutor never revealed that the motorcycle VIN was obliterated or
  26
       even that the motorcycle was no longer in law enforcement custody. It is unclear if the
  27
       prosecutor was aware of the actions b) the prosecution team·s law enforcementa. The
  28


       MOTION TO VACA TE JUDGMENT. 24
Case
Case8:21-bk-10513-ES
     8:21-ap-01023-ES Doc
                       Doc114
                           78 Filed
                               Filed12/09/21
                                    01/27/22 Entered
                                              Entered12/09/21
                                                       01/27/2218:28:08
                                                               15:41:21 Desc
                                                                        Desc
                      Main
                       MainDocument
                            Document Page
                                        Page104
                                             43 of 117
                                                   56




         put into e, iJencc the DMV history of the 880 VIN motorcycle to show that it was a non•
    2
         confom1ing VIN. rl1e prosecution"s them, ufthe case. that a true 880 VIN motorcycle never
    .l
         existed but was instead a 380 VIN motorcycle that had been altered lo depict 880. is completely
    4
         undem1ine<l by the ne\\ ly disco,·ere<l evidence. It is conclusi\e and points lo Mr. Avctoom"s
    5

    6    innocence. The prosecution"s theory is wrong and refuted by the evidence thal was in their
    7    possession the entire time.
    8
                We now know without a doubt that a motorcycle with the 880 VIN did exist and that the
    9
         motorcycle that Detective Wiseman observed and quickly obliterated the VIN of could not have
   10
         been the 380 Vl:--1 motorcycle but was in fact the real 880 Vil\" motorcycle. Because Detective
   II

   12    Wiseman obliterated the VIN and gave the motorcycle to Slate Furm Insurance company in
   13    January 1996. no one involved in the prosecution or defense of the case. other than Detective
   14
         Wiseman and Detective Thrasher. ever saw the motorcycle. The defense never had an
   IS
         opportunily to inspect the motorcycle as it was no longer in the possession of law enforcement.
   16
         This also meant that no trier of fact such as a judge or jwy ever saw or inspected the motorcycle.
   17

   18           The Department of TransJ'Ortation lener and declaration of Luke Loy explains that the
   19    880 VIN motorcycle existed. The VIN verification by LAPD OITicer Brooks shows thal the 880
  20
         VIN motorcycle was observed and was in existence in the Los Angeles area before the 380 VIN
  21
         motorcycle "as ever stolen. And the existence of the 380 VIN motorcycle alter the VIN was

         supposedly altered w1d then obliterated. as e,·idenced by the VIN verification done in I996 by

         then LAPD Ollicer Herbert Conrad. shows that the real 380 VIN motorcycle was not the

  25     motorcycle that Detectives Wiseman and Thrasher observed. This evidence undermines the
  26
         prosecution ca~e. is conclusive. and points to Mr. Avetoom's innocence. The evidence proves
  27
         that the motorcycle that Detectives Wiseman and Thrasher observed was in fact the 880 VIN
  28

         MOTION TO VACATE JUDGMENT· 30
Case
Case8:21-bk-10513-ES
     8:21-ap-01023-ES Doc
                       Doc114
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                                    01/27/22 Entered
                                              Entered12/09/21
                                                       01/27/2218:28:08
                                                               15:41:21 Desc
                                                                        Desc
                      Main
                       MainDocument
                            Document Page
                                        Page105
                                             44 of 117
                                                   56




                                          DECLARATIOl'I: OF KARL AVETOOM

          I. Karl Al'etoom, hereby declare as follows:
    2             I.     I have personal knowledge of1he following facts and if called upon to testify under
     3   oath, I could and would do so to the following facts. I was the defendant in lhe mailer of People v.
    ➔    Karl Avetoom, Orange County Superior Court case number 96HF0016. I make this declaration in
     5   support ofmy Penal Code§ 1473.6 Motion.
    6                     In or around August 2019, I was contacted from an employee of the office ofmy.
    7    former attorney. William Kopeny, who was deceased at the time. I was informed that Mr. Kopeny
    8    received a letter indicating that a law enforcement agency had a file related to my case. I was not
    9    given any further details. I was told that another attorney was handling Mr. Kopeny·s cases.
   IO    Arrangemcms were made for me to meet with that attorney. I do not recall his name at this time. A
   11    few weeks later I met the attorney at Harbor Jusucc Center in Newport Beach. CA. I w3:-s given a letter
   12    that was from the Los Angeles Police Department and written to William Kopeny, The letter indicated
   13    there was a .1omt investigation file related to me. The letter statc'd that the cont<.-nts of the file were
   1-1   going to be destroyed and if lhe contents of the file were wanted then I request would need to be made
   15    withm a certam timeframe.
   16                    I wrote to the Los Angeles Police Department and inforn1ed them that Mr. Kopcny had
   17    passed away. but any documents they had could be sent to my home address. I also called the Los
   J8    Angeles Police Ot!partmenl Discovery Unit to in'luire about the document~. I recall ,pcuking on the

   19    telephone with a gentleman who worked for the discovery unit. He informed me that the documents
   20    appeared to be related to motorcycles.
   21                    In or around the last week of October 2019, I received a brown thick en,·elope
   22    addressed lo me from Los Angeles Police Department. I had been assisting attorneys Charles L.
   23    Murray and former Los Angeles District Auorney Steve Cooley on an insurance appeal board ca.se for
   24    a member oflaw enforcement and upon meeting for lunch with Mr. Cooley and the client. I showed
   25    Mr. Cooley the envelope. I asked him to be a witness to opening the em·elope and inspecting the
   26    contents. On or about November 18. 2019. after lunch. Mr. Cooley unsealed the envelope and we
   27    inspected the contents which included a complete executed search warrant signed by Detective Eric
   28    Wiseman, and Hon, Suzanne Shaw (Ret.) complete with a copy ofa return to the search warrant, I




                                          DECLARATION OF KARL A VETOOM
Case
Case8:21-bk-10513-ES
     8:21-ap-01023-ES Doc
                       Doc114
                           78 Filed
                               Filed12/09/21
                                    01/27/22 Entered
                                              Entered12/09/21
                                                       01/27/2218:28:08
                                                               15:41:21 Desc
                                                                        Desc
                      Main
                       MainDocument
                            Document Page
                                        Page106
                                             45 of 117
                                                   56




                                            DECLARAT ION OF KARL AVETOOl\1

             Entwistle only to learn that he no longer worked for NHTSA. I had a private investigator try and
        2    locate Mr. Entwistle. Of the several phone numbers I received only one was related to Mr. Entwistle.
        3    It wus the phone numhcr of his son. I spoke with him. He told me that he would pass on my

     *       infonnation to his father and if his lather wanted anything to do with NHTSA. he would contact me.
        5   never heard back from Mr. George Entwistle. I was finally able to locate another person that worked
     6      at DOT/l\HTSA at that time the letter was written and still worked for them. Mr. Luke Loy. who at
        7   the time was working for another department ofNHTSA. told me that he worked with George
     8      Entwisle in the department that oversaw vehicle importation. I e,plained to Mr. Loy that I was trying
     9      to authenticate the letter I possessed from DOT/NHTSA. Mr. Loy said he could do that as he worked
    10      in the department that approved importation of vehicles. He stated that he actually wrote the letters
    II      approving importation of vehicles and then he would have Mr. Entwistle sign them. I emailed the
    12      letter to Mr. Loy who read the contellls and verified his ollice would ha,·e written the letter and that it
    13      was Mr. Entwistlc's authentic signature on the ktter.
    14             6.      Based on the infon11ation we discussed. I sent a declaration to Mr. Loy iu or around
    15      December 2019. for him to sign. The declaration was to authenticate the NIITSA letter for the
    16      importation of the 1990 Suzuki motorcycle with VIN JSIGV78AML2100880. I received the
   17       declaration back from Mr. Loy. It was signed but contained no place of execution. So. I had to wait
    IX      for Mr. Loy 10 r~tum from his vacation to have the location of cxc'°ution adJc<l to the ,fodaration.

   19              7.      In or around May 2020 and July 2020 I received additional correspondence lrom Los
   20       Angeles Police Depanment Disco\'c1y Unit. Within the July 2020 envelope was a copy of a V[N
   21       verification perfonned by an LAPD Officer named B. Brooks. The envelope also contained a VIN .
            verification perfi.,rmed by an H. Conrad. I learned. both LAPD Ollicers B. Brooks and H Conrad.
   23       were retired and no longer working for LAPD.
   24              8.      I contacted Mr. Barry Brooks through a pnvatc investigator who ga>e me his home
   25       address. I had been unable to contact Mr. Brooks for several weeks and learned that he had some
   26       health conditions. Mr. Brooks was not able to meet with me because he was hospitalized due to a
   27       medical condition and then because of the COVID-19 pandemic risk. I had to wait for his health to
   28       improve before he could review the VIN verification of a 1990 Suzuki motocycle that was completed


                                                                 3
                                           DECLARATION OF KARL AVETOOM
Case
Case8:21-bk-10513-ES
     8:21-ap-01023-ES Doc
                       Doc114
                           78 Filed
                               Filed12/09/21
                                    01/27/22 Entered
                                              Entered12/09/21
                                                       01/27/2218:28:08
                                                               15:41:21 Desc
                                                                        Desc
                      Main
                       MainDocument
                            Document Page
                                        Page107
                                             46 of 117
                                                   56




                                             DECLARATIOS OF KARL AVETOOM

             in December 1994 confim1ing an unaltered VIN of JSIGV7RA8L2100880 in Los Angeles, California.
        2    Mr. Brooks contact<d me and stated the documenl contained his sii,'11ature and handwriting on the VIN
        3    verification. In addition. Mr. Brooks slaled 1ha1 he kept records of his work and had looked through
        4    them and found a business card from Eric Wisemon. Mr. Brooks informed me he recalled being asked
        5    about the VIN verification by a law enforcement member in or around early 1997 and collecled the
     6       business card as part of his habia and custom. I obtained Mr. Brooks declaraaion au1hen1ica1ing ahe
        7   documem on or around October 3, 2020.
     8              Y.       I was hanng difficuhy comacamg :I-Ir. Conrad. Exhausaing my other avenues. I asked
     9      Mr. Brooks if he could ossisr me in contacting Mr. Conrad. In or around March or April 2021. Mr.
    IO      Brooks in l<mned me 1ha1 he was able 10 conaacl Herben Conrad. Shortly thereafter, he arranged for
    11      me 10 m«r with Mr. Conrad at The Yard House for lunch. During the meeting, Mr. Conrad was able
    12      tu au1hentica1e the VIN verification document that was perfonmed on August 15. 1996. Mr. Conrad
    13      also had health issues and had been unavailable due to a medical condition and had been recovering
    14      from surgery. During this time. I was waiting to get a declaration supporting the authenlicaling of the
    15      document: however, he was nor available lo meet with me due ro C:OVID-19 issues.
    16              Io.      In 2020. rhc Orange Counay Superior Courts were closed to the public because of lhe
    17      world-wide pandemic due tu COVID-19. On or about August 2020 through October 2020, I tried
    IR      s~ver.il tim~s tn get in co1t1ac1 with thl;'" Or,mg~ County Supi:rior Court crimino.l opcrution:j w in'iuirc

    19      about how 10 tile a morion pursuant lo Penal Code §§ 1473.6 andior 14 73. 7. I eventually was able lo
   20       speak to a clerk in depanment C-5 who infonmed me that they were not taking any filings oflhose
   21       motions al that time. The clerk said I needed to till our a Covid Felony Requesl fonm and send it in
   22       and they would contact me when they could accept them. I did so on or about September 16. 2020 and
   23       sena it to the email address COVIDFelReques1CJC(!!;OCcourts.org. (See Attachment I to my
   24       Declaralion. I
   25               11.      Several momhs later on December 23, 2020. I received a message on my cell phone
   26       from a Criminal Operations Supervisor who asked me to call her back. I did so and was infom1ed lhat
   27       the court was now hearing these motions, which had been delayed due lo COVID, in department C-37
   28       and I would have 10 con1ae1 that department lo set up a dare and time with the department. I forwarded


                                                                  4
                                            DECLARATION OF KARL AVETOOM
Case
Case8:21-bk-10513-ES
     8:21-ap-01023-ES Doc
                       Doc114
                           78 Filed
                               Filed12/09/21
                                    01/27/22 Entered
                                              Entered12/09/21
                                                       01/27/2218:28:08
                                                               15:41:21 Desc
                                                                        Desc
                      Main
                       MainDocument
                            Document Page
                                        Page108
                                             47 of 117
                                                   56




                                            DECLARATIOS OF KARL AVETOOI\I

             the vuicemail from Orunge County Superior t'ourt·s criminal operations division to Attorney Charles
        2    L. Murray and we began preparing a Penal Code section 1-173.7 motion to file as soon as possible.
        3    Because there is no actual fim1 statutory deadline IO file such a motion and in order to avoid a claim of
        4    untnnelincss. we tiled a brief on December 30. 2020 and calendared it for January 29. 2021.
        5            12.    On or around March 4. 2021 my anomeys recei\'cd additional documentation from the
        6    People which they forwarded    10   me. Included in this emailed production was a "VIN assist'' document
        7    that contained several pages relating to the JS IGV73A8L2 I 00380 Suzuki motorcycle. The VIN Assist
     X       also listed this Suzuki being shipp.:d with an engine number of V7 IO I 06071. This engine number
     9      matches the exact engine number on the VIN vcrifieauon performed by Officer Conrad in or around
    IO       August 19%. The People had previously claimed that the engine number contained on Mr. Cruz's title
    11      and registration was not a legitimate number. March 4. 2021 is the first time the People disclosed the
    12      true ending number of \'710 I0607 I.
    13              13.     On oraround March 16. 202 I. the People sent a copy of their Opposition to my motion
    14      which contained an admission that an OC"ATT detecti,c had destroyed the VIN on the 1990 Suzuki
   15       motorcycle before it was given to State Farm Insurance in January 1996. At no prior time had the
   16       People ever di,closed that law enforcement investigating the ca.,e had obliterated and destroyed the
   17       VIN on the motorcycle I was charged with possessing and selling with an altered VIN. In the motion.
   I8       the P~oplc also includ¢J photographti of the VIN thc:y obli1cn1tcd in or around tht: t:nd of 199.:S ur

   19       January 1996. This was done prior to the refiling of the complaint in case number 96HF00I 6. but after
   20       the People had disclosed in an August 14. 1995 preliminary hearing conducted during the first filing in
   21       case 95HF0561. when they mentioned and knew of this Suzuki motorcycle. This was also prior to that
   22       Suzuki motorcycle being charged. as it was not included in the first prosecution. My auomey at that
   23       time, Mr. Todd Langren. had made repeated requests 10 inspect the VJNs and engine numbers on the
   24       motorcycles in the case. The People always had an excuse why they could not show them to us.
   25       Eventually Judge Tumer instructed Deputy District Attorney Tomas Crofoot to allow us to inspect the
   26       motorcycles. The People showed Mr. Landgren and I two motorcycles: however. they were unrelated
   27       to my case. The People. then represented by Mr. Tomas Crofoot. said that they would produce all of
   28       the motorcycles at trial. Mr. Crofoot futthcr represented that the People would not release any


                                                                 5
                                           DECLARATION OF KARL A VETOOM
Case
Case8:21-bk-10513-ES
     8:21-ap-01023-ES Doc
                       Doc114
                           78 Filed
                               Filed12/09/21
                                    01/27/22 Entered
                                              Entered12/09/21
                                                       01/27/2218:28:08
                                                               15:41:21 Desc
                                                                        Desc
                      Main
                       MainDocument
                            Document Page
                                        Page109
                                             48 of 117
                                                   56




                                           DECLARA TIOS OF KARL AVETOOM

            VIN and disposed of the Suzuki motorcycle before my indictment, depriving me and any fact finder of
        2   ever viewing Lhe daimed evidence agains1 me
        3           13.     I attended law school wilh a young lady who interned at the Orange C'ounly District
     4      Attorney's ofiice. I was informed by this OC'DA intern that around the time ofmy last Penal Code
        5   1473.6 motion. Detective Wiseman would routinely meet with Deputy District Anomey Molfena and
     6      he would argue against her providing any form ofrolieffor me. She relayed to me 1ha1 she heard
     7      Detective Wiseman tell Deputy Dislricl Attorney Molfetta thal if the OCDA ·s office were 10 give me
     8      relief, the fallout would affect other cases he 1es1ilied in for the OCDA ·s office, including the ··Han"
     9      case.


    11              I dcclan, under penalty of perjury under the Jaws of the State of California that the foregoing is
    12      lrue and correct.

    I3              Executed October 11. 2021 in Ncwpon Beach, California
    14
    15
    16
    17                                                              By:    kzlhJtw
                                                                          fKarJ Avetoom

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                                           DECLARATION OF KARL AVETOOM
Case
Case8:21-bk-10513-ES
     8:21-ap-01023-ES Doc
                       Doc114
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                               Filed12/09/21
                                    01/27/22 Entered
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                                                       01/27/2218:28:08
                                                               15:41:21 Desc
                                                                        Desc
                      Main
                       MainDocument
                            Document Page
                                        Page110
                                             49 of 117
                                                   56




                            EXHIBIT



                             EXHIBIT 4
Case
Case8:21-bk-10513-ES
     8:21-ap-01023-ES Doc
                       Doc114
                           78 Filed
                               Filed12/09/21
                                    01/27/22 Entered
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                                                       01/27/2218:28:08
                                                               15:41:21 Desc
                                                                        Desc
                      Main
                       MainDocument
                            Document Page
                                        Page111
                                             50 of 117
                                                   56




                                          DECLARATION OF HERBERT CONRAD
         2

         J
             I, Herbert Conrad, hereby declare as follows:
      4

         s
      6          I. I have personal knowledge of the following facts and if called upon to testify under oath,
      7             I could and would do so to the following racls.
      8
                2. I was a sworn peace otnccr wilh lhc Los Angeles Police Dcpartment from J995 to 2006.
      9
                    From about 1995 to 1997, I was assigned to the Northeast Siation as a patrol officer. P
     10
                    of my duties included doing verifications of vehicles.
     II

     12         3. During my time as a peace officer, I received training in how to do a verification of a
     I)             vehicle and how to complete the DMV paperwork related to that verification. Over the
     14
                   years, I would estimate I conducted over a hundred verifications of vehicles, including
     15
                   motorcycles.
     16
                4. Around April 2021, I was coniact by a former Los Angeles Police Department officer
     17

     18            named Barry Brooks regarding a verification ofa vehicle I completed in August 1996
     19            while I wa< a peace officer with Los Angeles Police Department
    20
                S. I was ,hown a document that was a DMV form titled "Verification of Vehicle" lhat was
    21
                   verification of a 1990 Suzuki GSX I 100 wilh a VIN of JSIGV73A8L2100380 that was
    22
    2)
                   dated August 15. 1996 and had my name H. Conrad and my badge number on it. I

    24             recognized the writing as my own. I recognized the signature as mine, as well. In
    25             addition, the information on the document, such as my badge number and work address,
    26
                   were correct. This was the type of form that I completed routinely many times while I
    27
                   was a peace officer.

             DECLARATION OF HERBERT CONRAD· I
Case
Case8:21-bk-10513-ES
     8:21-ap-01023-ES Doc
                       Doc114
                           78 Filed
                               Filed12/09/21
                                    01/27/22 Entered
                                              Entered12/09/21
                                                       01/27/2218:28:08
                                                               15:41:21 Desc
                                                                        Desc
                      Main
                       MainDocument
                            Document Page
                                        Page112
                                             51 of 117
                                                   56




      2      6. On August IS, IQQ6, I believe I conducted a VIN (Vehicle identification number)
      J
                 verification ofa vehicle on 1990 Suzuki GSX 1100 with a VIN of JSIGV73A8L2100380
      4
                 that appeared unaltered. Atta.bed to my declaration as "Exhibit I" is a lruo and correct
      5
                copy of the Verification of Vehicle fonn I pcrfonned .
      •
      7      7. I would have created 1hat docwnon1 only if I ac1ually observed the molorcyclc with that

      K          VIN and I would have documented my observations at the time as a true and accurate
      9
                reflection ofmy observalion,i,
     lO
             8, On the documen~ it is marked that the VIN ond engine "appears okny." I would have
    II

    12
                only marked this if, after personally observing the VIN and engine, they appeared to be

    13          intact and unaltered. I would have made a notation and marked a different box if I made
    14          observations that the VIN or engine was altered, damaged, illegible, missing, or anything
    15
                other than okay.
    16
             9. In addition to physically observing the vehicle, it was my practice to also run a OMV
    17

     IK
                computer history search of tho vehicle in conjunction with filling out the Verification of

    19          Vehicle form. Had this vehicle come back as Slolen, I would not have performed a VIN
    20          verification.
    21
             10. I also observed on the second page of the OMV form under "Remarks" is my writing that
    22
                says "OCATT- Det. Wiseman 714-634-1385". My practice would have been to note in
    23
    24          the Remarlui of the Vcrificution of Vehicle if then, w.. paperwork with Oetective

    25          Wiscman's information on it or ifl •poke to him peuoruuly about the vehicle, It Wll¥ my
    26          practice to write any significant information about a vehicle or an interaction on the form
    27
                to assist me in recalling the information al a later time. However, given the twenty-five
    28
          DECLARATION OF HERBERT CONRAD, 2
Case
Case8:21-bk-10513-ES
     8:21-ap-01023-ES Doc
                       Doc114
                           78 Filed
                               Filed12/09/21
                                    01/27/22 Entered
                                              Entered12/09/21
                                                       01/27/2218:28:08
                                                               15:41:21 Desc
                                                                        Desc
                      Main
                       MainDocument
                            Document Page
                                        Page113
                                             52 of 117
                                                   56




                  year delay in lime, I do not recall specifically if I spoke with Dctcctivc Wiseman or if
      2
                  dierc wus paperworlc with his infom1a1ion on i~ but I do know that I documented it
      l
                  because ii wa• significant 10 me al the time and wanted lo memorialized it and Mr.
      4
                  Wiseman 1 5 a$sociation with the vehicle relative to my VIN vcrilicotion.

      6

      7   I declare under penalty of perjury under the law of the Stale of California that the foregoing i•
      8
          true and correct.
      9



          Executed on October 4, 2021 in Fullcnon, Californi3.
     II

     12

    IJ

    14
                                 By:
     IS
                                                Herbert Conrad
    16

    17

    18
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Case8:21-bk-10513-ES
     8:21-ap-01023-ES Doc
                       Doc114
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                                    01/27/22 Entered
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                                                       01/27/2218:28:08
                                                               15:41:21 Desc
                                                                        Desc
                      Main
                       MainDocument
                            Document Page
                                        Page114
                                             53 of 117
                                                   56




                          EXHIBIT4




            ATTACHMENT TO EXHIBIT 4 -
                             EXHIBIT I
Case
Case8:21-bk-10513-ES
     8:21-ap-01023-ES Doc
                       Doc114
                           78 Filed
                               Filed12/09/21
                                    01/27/22 Entered
                                              Entered12/09/21
                                                       01/27/2218:28:08
                                                               15:41:21 Desc
                                                                        Desc
                      Main
                       MainDocument
                            Document Page
                                        Page115
                                             54 of 117
                                                   56



 ill!!!.-                        VERIFICATION OF VEHICLE
 THIS FORM MUST IE COMPLETED IN FIIU - On/'f by ■utharind OMV
 npn1Mntathlff , C.lifomla licensed whlde wr1t1ar1. or peaoe offi...,._
 WAIININll: Altantio,_ 0< . . - w l l l void thia form,




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      raet wltti VIN            □ lllllgibla/Darnapd        □ Non-NA
        IND with VIN            □ MiN.ing                   □ S.. REMARK$

==:R 1 1 1J1J1zW,[¾1 'i ....                                          □~-
~~                              □ s.. REVERSE ~ □ See REMAAKS
15'"b-•• wrth VIN
     Olfl.AULIHmCArll.
                                □   None                    □     No VIN on document,
  VRhicle fflNIS IJS EPA aan::lll'da
     hicle fflNh US EPA llll"ldard1 and Cabfotnla fllll'ldllrd1
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     8:21-ap-01023-ES Doc
                       Doc114
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                               Filed12/09/21
                                    01/27/22 Entered
                                              Entered12/09/21
                                                       01/27/2218:28:08
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                                                                        Desc
                      Main
                       MainDocument
                            Document Page
                                        Page116
                                             55 of 117
                                                   56




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  ,,M Ii .....,                   STATEMENT OF FACTS
                            CONCERNING IOENTIFICA110N NUMBER
                                OR ENGINE NUMBER ERROR
       TO BE USED WITH NON RESI DEN T APPL
                                                              ICATION ONLV
  The undeni51nld hereby certifie■ to be owner
  now regiaten.d in tha State of _ _ _ _ _ (■)   of Mike _ _ _ _ __
                                               _ _ _ _ _ _ _ _ undtr
  ,s_. __ _          Licarll ■   Plata No. _ _ _ _ _ _ _ _ _ _ _ __

 That the -==         ==fmF1CA----,  .:..,; ;;-;=  lll.l.=== =-lh °"" ld1ntiftcatlon/or
          1VG1si'iii.ii0frila    T1 fl1U Nltl,'Dll
 Engine No. _ _ _ _ _ _ _ _ _ _   Ml.I                   01'
                                ____                  _ _ but on verifytng
 the ducri bed v■ htele, the Identification/or
                                               Engine Number prow1 1 to be


 CHECK ONE:
 D    That the under aignld had no knowledge of tha
                                                  difference in the Engine
     Number •nd that no change whatlOWer haa bHn
      Number a■ If.Imped on the frame or II ahown on made in the Engine
     long a the vehicl                                the Engine Bfock, u
                         e h11 bNn in my Pol,IN,8ion.

 D   That the undersJgned had no knowl edge of
                                                       the difference in the
     ldenlification Number and that no chang a whate
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                                                                       Main Document   Page 117 of 117



                                          1                                 PROOF OF SERVICE OF DOCUMENT

                                          2 I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
                                              address is: 2900 Adams Street, Suite C225, Riverside, CA 92504
                                          3
                                              A true and correct copy of the foregoing document entitled (specify): DEBTOR’S OPPOSITION TO
                                          4 AVETOOM’S OBJECTION TO HOMESTEAD EXEMPTION; DECLARATIONS OF SCOTT
                                              TALKOV AND ROSA FRIDMAN will be served or was served (a) on the judge in chambers in the form
                                          5 and manner required by LBR 5005-2(d); and (b) in the manner stated below:

                                          6 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant
                                              to controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
                                          7 hyperlink to the document. On (date) January 27, 2022, I checked the CM/ECF docket for this bankruptcy
                                              case or adversary proceeding and determined that the following persons are on the Electronic Mail Notice
                                          8 List to receive NEF transmission at the email addresses stated below:

                                          9 Karl T Anderson (TR)     2edansie@gmail.com, kanderson@ecf.axosfs.com
                                            Michael J Hauser michael.hauser@usdoj.gov
                                         10 Melissa Davis Lowe mlowe@shulmanbastian.com, avernon@shulmanbastian.com
                                            Charles L Murray cmurray@cm3law.com, cm3esquire@gmail.com
             TELEPHONE (951) 888-3300
              2900 ADAMS ST STE C225




                                         11 Scott Talkov scott@talkovlaw.com, talkovlaw@ecf.courtdrive.com
                RIVERSIDE, CA 92504
TALKOV LAW




                                            United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
                                         12
                                                              Service information continued on attached page
                                         13
                                              2. SERVED BY UNITED STATES MAIL:
                                         14 On (date) ____, I served the following persons and/or entities at the last known addresses in this
                                              bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in
                                         15 the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
                                              constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
                                         16 document is filed.
                                                              Service information continued on attached page
                                         17
                                            3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
                                         18
                                            EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
                                         19 on (date) January 27, 2022, I served the following persons and/or entities by personal delivery, overnight
                                            mail service, or (for those who consented in writing to such service method), by facsimile transmission
                                         20 and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or
                                            overnight mail to, the judge will be completed no later than 24 hours after the document is filed.
                                         21
                                            Karl Avetoom, 1100 Rutland Rd #9, Newport Beach, CA 92660-4607
                                         22 Victor Balakin, 101 N Ocean Dr Ste 132, Hollywood, CA 33019
                                                            Service information continued on attached page
                                         23
                                              I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
                                         24
                                               January 27, 2022      Leilani Caspillo
                                         25    Date                Printed Name                                                    Signature

                                         26

                                         27

                                                      DEBTOR’S OPPOSITION TO AVETOOM’S OBJECTION TO HOMESTEAD EXEMPTION;
                                                                DECLARATIONS OF SCOTT TALKOV AND ROSA FRIDMAN
                                                                                                    23
